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                     Exhibit 1
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                   NAV-02409967       NAV-02411989        NAV-02416684
                   NAV-02410250       NAV-02411995        NAV-02416793
 BATES_BEGIN       NAV-02410533       NAV-02412131        NAV-02416803
                   NAV-02410535       NAV-02412169        NAV-02416810
                   NAV-02410540       NAV-02412170        NAV-02416812
NAV-02371892       NAV-02410559       NAV-02412175        NAV-02416834
NAV-02375481       NAV-02410628       NAV-02412180        NAV-02416836
NAV-02407547       NAV-02410633       NAV-02412192        NAV-02416838
NAV-02407594       NAV-02410647       NAV-02412255        NAV-02416840
NAV-02407615       NAV-02410711       NAV-02412299        NAV-02416842
NAV-02407632       NAV-02410713       NAV-02412301        NAV-02416844
NAV-02407639       NAV-02410719       NAV-02412303        NAV-02416849
NAV-02407651       NAV-02410724       NAV-02412305        NAV-02416863
NAV-02407760       NAV-02410821       NAV-02412307        NAV-02417021
NAV-02407765       NAV-02410824       NAV-02412308        NAV-02417175
NAV-02407768       NAV-02410830       NAV-02412314        NAV-02417308
NAV-02407778       NAV-02410861       NAV-02412316        NAV-02417397
NAV-02407891       NAV-02410868       NAV-02412318        NAV-02417445
NAV-02407901       NAV-02410882       NAV-02412324        NAV-02417465
NAV-02407904       NAV-02410959       NAV-02412335        NAV-02417477
NAV-02407911       NAV-02410984       NAV-02412337        NAV-02417578
NAV-02407923       NAV-02411035       NAV-02412339        NAV-02417678
NAV-02407928       NAV-02411191       NAV-02412341        NAV-02417792
NAV-02408042       NAV-02411240       NAV-02412343        NAV-02417828
NAV-02408054       NAV-02411287       NAV-02412393        NAV-02417919
NAV-02408057       NAV-02411349       NAV-02412991        NAV-02417923
NAV-02408059       NAV-02411355       NAV-02413648        NAV-02417952
NAV-02408451       NAV-02411361       NAV-02414553        NAV-02417980
NAV-02409392       NAV-02411364       NAV-02414742        NAV-02417984
NAV-02409458       NAV-02411375       NAV-02415383        NAV-02418036
NAV-02409482       NAV-02411723       NAV-02415385        NAV-02418060
NAV-02409496       NAV-02411725       NAV-02415412        NAV-02418318
NAV-02409527       NAV-02411727       NAV-02415432        NAV-02418616
NAV-02409530       NAV-02411733       NAV-02415441        NAV-02418654
NAV-02409534       NAV-02411758       NAV-02415448        NAV-02418658
NAV-02409537       NAV-02411824       NAV-02415450        NAV-02418670
NAV-02409600       NAV-02411851       NAV-02415616        NAV-02418768
NAV-02409651       NAV-02411905       NAV-02415764        NAV-02418774
NAV-02409942       NAV-02411923       NAV-02415972        NAV-02418800
NAV-02409949       NAV-02411935       NAV-02415980        NAV-02418923
    Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 3 of 73



NAV-02418976       NAV-02419235       NAV-02421061        NAV-02422461
NAV-02418980       NAV-02419259       NAV-02421086        NAV-02422488
NAV-02418983       NAV-02419369       NAV-02421105        NAV-02422499
NAV-02418987       NAV-02419423       NAV-02421112        NAV-02422696
NAV-02418990       NAV-02419442       NAV-02421126        NAV-02422762
NAV-02418996       NAV-02419455       NAV-02421133        NAV-02422785
NAV-02418998       NAV-02419494       NAV-02421140        NAV-02422917
NAV-02419004       NAV-02419551       NAV-02421400        NAV-02422921
NAV-02419010       NAV-02419583       NAV-02421428        NAV-02422982
NAV-02419013       NAV-02419623       NAV-02421435        NAV-02422996
NAV-02419016       NAV-02419711       NAV-02421444        NAV-02423056
NAV-02419019       NAV-02419728       NAV-02421605        NAV-02423067
NAV-02419023       NAV-02419865       NAV-02421660        NAV-02423104
NAV-02419030       NAV-02419882       NAV-02421812        NAV-02423240
NAV-02419032       NAV-02419988       NAV-02421818        NAV-02423246
NAV-02419037       NAV-02420082       NAV-02421824        NAV-02423251
NAV-02419043       NAV-02420096       NAV-02421828        NAV-02423258
NAV-02419049       NAV-02420210       NAV-02421841        NAV-02423274
NAV-02419056       NAV-02420324       NAV-02421857        NAV-02423327
NAV-02419061       NAV-02420386       NAV-02421862        NAV-02423346
NAV-02419067       NAV-02420391       NAV-02422038        NAV-02423366
NAV-02419073       NAV-02420414       NAV-02422042        NAV-02423392
NAV-02419075       NAV-02420437       NAV-02422085        NAV-02423406
NAV-02419077       NAV-02420441       NAV-02422102        NAV-02423503
NAV-02419081       NAV-02420442       NAV-02422104        NAV-02424117
NAV-02419084       NAV-02420474       NAV-02422107        NAV-02424184
NAV-02419086       NAV-02420479       NAV-02422166        NAV-02424537
NAV-02419091       NAV-02420484       NAV-02422189        NAV-02424565
NAV-02419095       NAV-02420505       NAV-02422197        NAV-02424615
NAV-02419104       NAV-02420526       NAV-02422210        NAV-02424625
NAV-02419107       NAV-02420531       NAV-02422215        NAV-02424631
NAV-02419109       NAV-02420536       NAV-02422266        NAV-02424637
NAV-02419112       NAV-02420541       NAV-02422274        NAV-02424646
NAV-02419116       NAV-02420667       NAV-02422313        NAV-02424674
NAV-02419120       NAV-02420686       NAV-02422340        NAV-02424684
NAV-02419128       NAV-02420782       NAV-02422363        NAV-02424715
NAV-02419169       NAV-02420789       NAV-02422370        NAV-02424721
NAV-02419175       NAV-02420854       NAV-02422386        NAV-02424780
NAV-02419204       NAV-02421033       NAV-02422409        NAV-02424794
NAV-02419206       NAV-02421039       NAV-02422426        NAV-02424827
    Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 4 of 73



NAV-02424834       NAV-02427520       NAV-02429546        NAV-02429886
NAV-02424840       NAV-02427686       NAV-02429554        NAV-02429892
NAV-02424846       NAV-02428038       NAV-02429562        NAV-02429927
NAV-02424879       NAV-02428280       NAV-02429571        NAV-02429935
NAV-02424893       NAV-02428407       NAV-02429577        NAV-02429940
NAV-02425144       NAV-02428569       NAV-02429584        NAV-02429946
NAV-02425302       NAV-02428846       NAV-02429591        NAV-02429951
NAV-02425460       NAV-02429054       NAV-02429598        NAV-02429958
NAV-02425475       NAV-02429223       NAV-02429604        NAV-02429963
NAV-02425489       NAV-02429227       NAV-02429611        NAV-02429968
NAV-02425503       NAV-02429235       NAV-02429619        NAV-02429979
NAV-02425698       NAV-02429274       NAV-02429627        NAV-02429987
NAV-02425810       NAV-02429287       NAV-02429635        NAV-02429999
NAV-02425820       NAV-02429300       NAV-02429644        NAV-02430015
NAV-02425839       NAV-02429328       NAV-02429653        NAV-02430023
NAV-02425913       NAV-02429349       NAV-02429661        NAV-02430028
NAV-02425924       NAV-02429359       NAV-02429669        NAV-02430033
NAV-02425930       NAV-02429363       NAV-02429677        NAV-02430051
NAV-02425936       NAV-02429366       NAV-02429683        NAV-02430060
NAV-02425952       NAV-02429379       NAV-02429689        NAV-02430068
NAV-02425974       NAV-02429388       NAV-02429695        NAV-02430077
NAV-02426125       NAV-02429403       NAV-02429701        NAV-02430084
NAV-02426214       NAV-02429408       NAV-02429707        NAV-02430092
NAV-02426223       NAV-02429449       NAV-02429718        NAV-02430100
NAV-02426305       NAV-02429456       NAV-02429727        NAV-02430106
NAV-02426378       NAV-02429464       NAV-02429736        NAV-02430113
NAV-02426487       NAV-02429474       NAV-02429745        NAV-02430121
NAV-02426496       NAV-02429479       NAV-02429754        NAV-02430127
NAV-02426563       NAV-02429485       NAV-02429763        NAV-02430132
NAV-02426623       NAV-02429490       NAV-02429770        NAV-02430137
NAV-02426625       NAV-02429491       NAV-02429779        NAV-02430141
NAV-02426697       NAV-02429496       NAV-02429788        NAV-02430145
NAV-02426762       NAV-02429501       NAV-02429797        NAV-02430150
NAV-02426773       NAV-02429502       NAV-02429816        NAV-02430155
NAV-02426775       NAV-02429507       NAV-02429848        NAV-02430160
NAV-02426790       NAV-02429513       NAV-02429851        NAV-02430165
NAV-02426801       NAV-02429521       NAV-02429858        NAV-02430169
NAV-02426892       NAV-02429527       NAV-02429868        NAV-02430173
NAV-02426903       NAV-02429529       NAV-02429878        NAV-02430177
NAV-02427019       NAV-02429539       NAV-02429881        NAV-02430180
    Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 5 of 73



NAV-02430183       NAV-02431496       NAV-02432444        NAV-02433587
NAV-02430186       NAV-02431501       NAV-02432528        NAV-02433590
NAV-02430189       NAV-02431505       NAV-02432531        NAV-02433604
NAV-02430193       NAV-02431509       NAV-02432550        NAV-02433615
NAV-02430197       NAV-02431513       NAV-02432582        NAV-02433691
NAV-02430248       NAV-02431517       NAV-02432612        NAV-02433700
NAV-02430304       NAV-02431521       NAV-02432646        NAV-02433718
NAV-02430527       NAV-02431525       NAV-02432651        NAV-02433779
NAV-02430608       NAV-02431537       NAV-02432656        NAV-02433784
NAV-02430998       NAV-02431541       NAV-02432678        NAV-02433788
NAV-02431306       NAV-02431552       NAV-02432682        NAV-02433851
NAV-02431331       NAV-02431556       NAV-02432703        NAV-02433868
NAV-02431336       NAV-02431558       NAV-02432768        NAV-02433877
NAV-02431340       NAV-02431584       NAV-02432773        NAV-02433882
NAV-02431345       NAV-02431604       NAV-02432778        NAV-02433907
NAV-02431348       NAV-02431628       NAV-02432829        NAV-02433913
NAV-02431353       NAV-02431629       NAV-02432921        NAV-02433916
NAV-02431358       NAV-02431685       NAV-02432945        NAV-02433918
NAV-02431363       NAV-02431707       NAV-02432953        NAV-02433927
NAV-02431367       NAV-02431730       NAV-02433001        NAV-02433930
NAV-02431371       NAV-02431760       NAV-02433018        NAV-02433932
NAV-02431387       NAV-02431802       NAV-02433042        NAV-02433934
NAV-02431392       NAV-02431837       NAV-02433057        NAV-02433937
NAV-02431396       NAV-02431895       NAV-02433108        NAV-02433939
NAV-02431400       NAV-02431925       NAV-02433167        NAV-02433943
NAV-02431406       NAV-02431979       NAV-02433246        NAV-02433965
NAV-02431410       NAV-02431992       NAV-02433264        NAV-02433979
NAV-02431415       NAV-02431997       NAV-02433312        NAV-02433994
NAV-02431425       NAV-02432022       NAV-02433353        NAV-02434011
NAV-02431434       NAV-02432062       NAV-02433395        NAV-02434013
NAV-02431439       NAV-02432084       NAV-02433398        NAV-02434015
NAV-02431444       NAV-02432126       NAV-02433401        NAV-02434020
NAV-02431448       NAV-02432130       NAV-02433417        NAV-02434045
NAV-02431452       NAV-02432135       NAV-02433439        NAV-02434049
NAV-02431462       NAV-02432149       NAV-02433452        NAV-02434053
NAV-02431466       NAV-02432169       NAV-02433472        NAV-02434056
NAV-02431469       NAV-02432207       NAV-02433493        NAV-02434059
NAV-02431473       NAV-02432274       NAV-02433517        NAV-02434063
NAV-02431477       NAV-02432292       NAV-02433531        NAV-02434066
NAV-02431486       NAV-02432346       NAV-02433581        NAV-02434069
    Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 6 of 73



NAV-02434089       NAV-02435582       NAV-02437022        NAV-02438390
NAV-02434108       NAV-02435676       NAV-02437056        NAV-02438394
NAV-02434126       NAV-02435755       NAV-02437080        NAV-02438401
NAV-02434144       NAV-02435830       NAV-02437174        NAV-02438416
NAV-02434162       NAV-02435849       NAV-02437218        NAV-02438484
NAV-02434171       NAV-02435854       NAV-02437253        NAV-02438508
NAV-02434178       NAV-02435867       NAV-02437345        NAV-02438529
NAV-02434181       NAV-02435889       NAV-02437418        NAV-02438578
NAV-02434191       NAV-02436078       NAV-02437482        NAV-02438594
NAV-02434197       NAV-02436176       NAV-02437537        NAV-02438971
NAV-02434201       NAV-02436283       NAV-02437547        NAV-02439012
NAV-02434206       NAV-02436299       NAV-02437571        NAV-02439027
NAV-02434210       NAV-02436345       NAV-02437597        NAV-02439045
NAV-02434305       NAV-02436348       NAV-02437662        NAV-02439111
NAV-02434416       NAV-02436416       NAV-02437695        NAV-02439373
NAV-02434426       NAV-02436426       NAV-02437723        NAV-02439687
NAV-02434431       NAV-02436436       NAV-02437745        NAV-02439728
NAV-02434447       NAV-02436461       NAV-02437779        NAV-02439732
NAV-02434450       NAV-02436486       NAV-02437793        NAV-02439802
NAV-02434452       NAV-02436510       NAV-02437812        NAV-02439805
NAV-02434456       NAV-02436518       NAV-02437868        NAV-02439872
NAV-02434464       NAV-02436536       NAV-02437883        NAV-02439882
NAV-02434512       NAV-02436561       NAV-02437912        NAV-02439933
NAV-02434514       NAV-02436568       NAV-02437914        NAV-02440085
NAV-02434518       NAV-02436597       NAV-02437916        NAV-02440092
NAV-02434520       NAV-02436616       NAV-02437921        NAV-02440107
NAV-02434524       NAV-02436641       NAV-02438002        NAV-02440164
NAV-02434526       NAV-02436679       NAV-02438013        NAV-02440231
NAV-02434637       NAV-02436687       NAV-02438024        NAV-02440235
NAV-02434723       NAV-02436705       NAV-02438032        NAV-02440592
NAV-02434883       NAV-02436720       NAV-02438038        NAV-02440595
NAV-02435029       NAV-02436725       NAV-02438052        NAV-02440597
NAV-02435120       NAV-02436788       NAV-02438106        NAV-02440925
NAV-02435280       NAV-02436814       NAV-02438157        NAV-02440930
NAV-02435410       NAV-02436838       NAV-02438202        NAV-02440934
NAV-02435539       NAV-02436867       NAV-02438215        NAV-02440940
NAV-02435543       NAV-02436892       NAV-02438277        NAV-02440944
NAV-02435547       NAV-02436918       NAV-02438310        NAV-02440946
NAV-02435558       NAV-02436945       NAV-02438379        NAV-02440948
NAV-02435577       NAV-02436994       NAV-02438385        NAV-02440956
    Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 7 of 73



NAV-02440963       NAV-02442221       NAV-02445511        NAV-02448169
NAV-02440966       NAV-02442301       NAV-02445526        NAV-02448420
NAV-02440976       NAV-02442402       NAV-02445626        NAV-02448561
NAV-02440980       NAV-02442499       NAV-02445811        NAV-02448737
NAV-02440984       NAV-02442789       NAV-02445815        NAV-02448746
NAV-02440987       NAV-02442794       NAV-02445874        NAV-02448749
NAV-02440991       NAV-02442829       NAV-02446030        NAV-02448778
NAV-02440994       NAV-02442953       NAV-02446182        NAV-02449318
NAV-02440996       NAV-02442999       NAV-02446199        NAV-02449338
NAV-02441000       NAV-02443017       NAV-02446207        NAV-02449340
NAV-02441001       NAV-02443283       NAV-02446338        NAV-02449937
NAV-02441005       NAV-02443285       NAV-02446342        NAV-02451475
NAV-02441026       NAV-02443479       NAV-02446362        NAV-02451559
NAV-02441030       NAV-02443511       NAV-02446442        NAV-02451619
NAV-02441033       NAV-02443526       NAV-02446522        NAV-02451643
NAV-02441036       NAV-02443539       NAV-02446583        NAV-02451699
NAV-02441039       NAV-02443618       NAV-02446610        NAV-02451768
NAV-02441073       NAV-02443620       NAV-02446617        NAV-02451785
NAV-02441075       NAV-02443627       NAV-02446661        NAV-02451863
NAV-02441076       NAV-02443630       NAV-02446669        NAV-02452047
NAV-02441079       NAV-02443686       NAV-02446677        NAV-02452057
NAV-02441082       NAV-02443692       NAV-02446693        NAV-02452060
NAV-02441084       NAV-02443701       NAV-02446716        NAV-02452338
NAV-02441086       NAV-02443706       NAV-02446751        NAV-02452350
NAV-02441119       NAV-02443713       NAV-02446758        NAV-02453427
NAV-02441150       NAV-02443717       NAV-02446775        NAV-02453777
NAV-02441157       NAV-02443920       NAV-02446827        NAV-02453779
NAV-02441160       NAV-02444015       NAV-02446838        NAV-02453821
NAV-02441162       NAV-02444025       NAV-02446863        NAV-02453835
NAV-02441164       NAV-02444029       NAV-02446874        NAV-02453838
NAV-02441168       NAV-02444067       NAV-02446941        NAV-02453867
NAV-02441171       NAV-02444084       NAV-02446964        NAV-02453890
NAV-02441175       NAV-02444102       NAV-02447101        NAV-02453898
NAV-02441296       NAV-02444109       NAV-02447144        NAV-02454028
NAV-02441387       NAV-02444125       NAV-02447452        NAV-02454031
NAV-02441600       NAV-02444132       NAV-02447526        NAV-02454034
NAV-02441716       NAV-02444136       NAV-02447687        NAV-02454303
NAV-02441781       NAV-02444625       NAV-02447739        NAV-02454313
NAV-02441796       NAV-02445355       NAV-02447835        NAV-02454338
NAV-02441805       NAV-02445407       NAV-02447936        NAV-02454530
    Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 8 of 73



NAV-02454537       NAV-02460667       NAV-02461940        NAV-02463521
NAV-02454601       NAV-02460727       NAV-02461944        NAV-02463531
NAV-02454618       NAV-02460754       NAV-02461949        NAV-02463564
NAV-02454621       NAV-02460803       NAV-02461952        NAV-02463588
NAV-02454626       NAV-02460845       NAV-02461960        NAV-02463633
NAV-02454707       NAV-02460879       NAV-02461963        NAV-02463635
NAV-02454772       NAV-02460911       NAV-02461970        NAV-02463773
NAV-02455373       NAV-02460951       NAV-02461983        NAV-02463790
NAV-02455377       NAV-02460993       NAV-02462001        NAV-02463808
NAV-02455420       NAV-02461034       NAV-02462006        NAV-02463817
NAV-02455807       NAV-02461040       NAV-02462013        NAV-02463832
NAV-02455811       NAV-02461146       NAV-02462028        NAV-02463874
NAV-02455846       NAV-02461233       NAV-02462035        NAV-02463886
NAV-02455916       NAV-02461254       NAV-02462041        NAV-02464040
NAV-02455920       NAV-02461329       NAV-02462044        NAV-02464051
NAV-02455943       NAV-02461435       NAV-02462047        NAV-02464294
NAV-02455947       NAV-02461489       NAV-02462067        NAV-02464321
NAV-02455966       NAV-02461629       NAV-02462079        NAV-02464333
NAV-02456342       NAV-02461682       NAV-02462094        NAV-02464354
NAV-02456372       NAV-02461689       NAV-02462150        NAV-02464520
NAV-02456471       NAV-02461694       NAV-02462262        NAV-02465240
NAV-02456666       NAV-02461696       NAV-02462307        NAV-02465258
NAV-02456777       NAV-02461718       NAV-02462435        NAV-02465263
NAV-02457004       NAV-02461724       NAV-02462456        NAV-02465371
NAV-02457083       NAV-02461745       NAV-02462478        NAV-02465455
NAV-02457428       NAV-02461827       NAV-02462486        NAV-02465473
NAV-02457714       NAV-02461831       NAV-02462492        NAV-02465479
NAV-02457797       NAV-02461833       NAV-02462501        NAV-02465786
NAV-02457849       NAV-02461838       NAV-02462502        NAV-02466179
NAV-02457866       NAV-02461840       NAV-02462538        NAV-02466192
NAV-02457870       NAV-02461845       NAV-02462796        NAV-02466218
NAV-02457935       NAV-02461847       NAV-02462809        NAV-02466222
NAV-02457939       NAV-02461851       NAV-02462815        NAV-02466255
NAV-02457988       NAV-02461888       NAV-02462836        NAV-02466261
NAV-02457990       NAV-02461907       NAV-02462846        NAV-02466266
NAV-02459505       NAV-02461910       NAV-02462850        NAV-02466287
NAV-02459525       NAV-02461918       NAV-02462879        NAV-02466291
NAV-02460094       NAV-02461921       NAV-02462931        NAV-02466298
NAV-02460143       NAV-02461929       NAV-02463034        NAV-02466301
NAV-02460551       NAV-02461935       NAV-02463040        NAV-02466323
    Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 9 of 73



NAV-02466423       NAV-02476406       NAV-02485224        NAV-04357637
NAV-02466431       NAV-02476748       NAV-02485319        NAV-04357642
NAV-02466463       NAV-02477472       NAV-02485468        NAV-04358454
NAV-02466484       NAV-02477528       NAV-02485558        NAV-04358523
NAV-02466487       NAV-02477611       NAV-02487146        NAV-04358542
NAV-02466504       NAV-02477692       NAV-02487205        NAV-04358987
NAV-02466510       NAV-02477821       NAV-02487329        NAV-04359141
NAV-02466516       NAV-02477939       NAV-02487388        NAV-04359153
NAV-02466532       NAV-02477992       NAV-02487796        NAV-04359193
NAV-02466555       NAV-02478068       NAV-02487802        NAV-04359200
NAV-02466559       NAV-02478144       NAV-02489662        NAV-04359260
NAV-02466594       NAV-02478227       NAV-02489726        NAV-04359276
NAV-02466622       NAV-02478424       NAV-02489740        NAV-04359313
NAV-02466627       NAV-02478455       NAV-02489744        NAV-04359398
NAV-02468728       NAV-02478492       NAV-02489753        NAV-04359592
NAV-02468862       NAV-02478552       NAV-02489754        NAV-04359774
NAV-02469805       NAV-02478574       NAV-02489774        NAV-04359816
NAV-02470112       NAV-02478688       NAV-05855446        NAV-04359892
NAV-02470155       NAV-02478749       NAV-05855453        NAV-04360059
NAV-02470338       NAV-02480721       NAV-05853661        NAV-04360309
NAV-02470405       NAV-02480797       NAV-05853847        NAV-04360481
NAV-02470813       NAV-02481885       NAV-05854235        NAV-04360589
NAV-02471401       NAV-02482144       NAV-05854543        NAV-04360636
NAV-02472780       NAV-02483164       NAV-04348988        NAV-04360671
NAV-02473679       NAV-02483191       NAV-04348996        NAV-04360684
NAV-02473780       NAV-02483266       NAV-04348999        NAV-04361007
NAV-02473900       NAV-02483433       NAV-04349023        NAV-04361104
NAV-02473980       NAV-02483480       NAV-04349061        NAV-04361385
NAV-02474258       NAV-02483693       NAV-04353119        NAV-04361394
NAV-02475142       NAV-02483921       NAV-04354139        NAV-04361476
NAV-02475266       NAV-02484079       NAV-04354259        NAV-04362646
NAV-02475325       NAV-02484227       NAV-04354502        NAV-04363030
NAV-02475328       NAV-02484276       NAV-04354509        NAV-04363220
NAV-02475422       NAV-02484343       NAV-04354791        NAV-04363281
NAV-02475426       NAV-02484620       NAV-04354864        NAV-04363402
NAV-02475737       NAV-02484702       NAV-04355022        NAV-04364122
NAV-02475820       NAV-02484908       NAV-04356113        NAV-04364166
NAV-02476158       NAV-02485023       NAV-04356404        NAV-04364244
NAV-02476211       NAV-02485089       NAV-04357615        NAV-04364396
NAV-02476267       NAV-02485156       NAV-04357632        NAV-04366174
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 10 of 73



NAV-04366264      NAV-04376986        NAV-04385062       NAV-04397602
NAV-04366483      NAV-04377086        NAV-04385829       NAV-04397617
NAV-04366487      NAV-04377099        NAV-04386161       NAV-04398142
NAV-04366493      NAV-04377680        NAV-04386164       NAV-04398597
NAV-04366503      NAV-04377684        NAV-04386595       NAV-04398996
NAV-04366589      NAV-04377703        NAV-04386618       NAV-04399073
NAV-04366685      NAV-04377768        NAV-04386631       NAV-04399074
NAV-04368073      NAV-04377773        NAV-04387733       NAV-04399401
NAV-04368280      NAV-04377896        NAV-04387868       NAV-04399763
NAV-04369179      NAV-04378037        NAV-04388649       NAV-04399768
NAV-04370218      NAV-04378120        NAV-04388680       NAV-04399893
NAV-04370269      NAV-04378278        NAV-04388844       NAV-04400043
NAV-04370340      NAV-04378321        NAV-04388864       NAV-04400084
NAV-04370503      NAV-04378516        NAV-04388955       NAV-04401278
NAV-04370614      NAV-04380277        NAV-04389326       NAV-04402983
NAV-04370799      NAV-04380348        NAV-04389629       NAV-04403288
NAV-04371420      NAV-04380461        NAV-04389800       NAV-04404174
NAV-04371535      NAV-04380735        NAV-04389832       NAV-04404179
NAV-04371580      NAV-04380782        NAV-04389876       NAV-04404230
NAV-04371643      NAV-04381260        NAV-04390193       NAV-04404282
NAV-04371796      NAV-04381503        NAV-04391998       NAV-04404550
NAV-04372033      NAV-04381519        NAV-04392116       NAV-04404580
NAV-04372075      NAV-04381525        NAV-04392236       NAV-04404665
NAV-04372240      NAV-04381530        NAV-04392729       NAV-04404669
NAV-04372588      NAV-04382611        NAV-04393152       NAV-04406041
NAV-04372591      NAV-04382807        NAV-04393264       NAV-04410268
NAV-04372604      NAV-04382835        NAV-04393525       NAV-04410324
NAV-04372619      NAV-04383180        NAV-04393528       NAV-04410806
NAV-04372818      NAV-04383181        NAV-04393536       NAV-04410885
NAV-04372947      NAV-04383260        NAV-04393581       NAV-04410930
NAV-04373125      NAV-04383321        NAV-04393589       NAV-04411089
NAV-04374759      NAV-04383345        NAV-04393603       NAV-04411093
NAV-04375379      NAV-04383365        NAV-04393613       NAV-04411472
NAV-04375491      NAV-04383662        NAV-04393624       NAV-04411561
NAV-04375501      NAV-04383712        NAV-04393752       NAV-04411567
NAV-04375503      NAV-04383718        NAV-04393988       NAV-04411572
NAV-04375506      NAV-04383800        NAV-04397078       NAV-04411576
NAV-04376588      NAV-04384189        NAV-04397290       NAV-04411634
NAV-04376978      NAV-04384584        NAV-04397325       NAV-04411664
NAV-04376982      NAV-04384878        NAV-04397537       NAV-04411675
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 11 of 73



NAV-04411678      NAV-04412186        NAV-04412625       NAV-04415236
NAV-04411682      NAV-04412199        NAV-04412677       NAV-04415242
NAV-04411703      NAV-04412209        NAV-04412698       NAV-04415244
NAV-04411778      NAV-04412213        NAV-04412718       NAV-04415248
NAV-04411789      NAV-04412222        NAV-04412724       NAV-04415267
NAV-04411794      NAV-04412241        NAV-04412735       NAV-04415269
NAV-04411801      NAV-04412246        NAV-04412752       NAV-04415271
NAV-04411842      NAV-04412253        NAV-04412764       NAV-04415379
NAV-04411862      NAV-04412259        NAV-04412768       NAV-04415424
NAV-04411872      NAV-04412262        NAV-04412793       NAV-04415655
NAV-04411881      NAV-04412282        NAV-04412808       NAV-04415704
NAV-04411907      NAV-04412304        NAV-04412830       NAV-04415857
NAV-04411926      NAV-04412310        NAV-04412833       NAV-04416058
NAV-04411943      NAV-04412317        NAV-04412836       NAV-04416135
NAV-04411960      NAV-04412332        NAV-04412855       NAV-04416166
NAV-04411964      NAV-04412336        NAV-04412862       NAV-04416220
NAV-04411973      NAV-04412346        NAV-04412868       NAV-04416269
NAV-04411982      NAV-04412354        NAV-04412903       NAV-04416277
NAV-04411992      NAV-04412372        NAV-04412920       NAV-04416357
NAV-04411996      NAV-04412389        NAV-04413149       NAV-04416388
NAV-04412012      NAV-04412392        NAV-04413231       NAV-04416475
NAV-04412020      NAV-04412411        NAV-04413650       NAV-04416479
NAV-04412030      NAV-04412421        NAV-04413658       NAV-04416488
NAV-04412034      NAV-04412436        NAV-04413678       NAV-04416519
NAV-04412038      NAV-04412469        NAV-04413994       NAV-04416560
NAV-04412068      NAV-04412477        NAV-04414020       NAV-04416592
NAV-04412075      NAV-04412490        NAV-04414177       NAV-04416603
NAV-04412084      NAV-04412495        NAV-04414235       NAV-04416644
NAV-04412098      NAV-04412511        NAV-04414382       NAV-04416729
NAV-04412102      NAV-04412515        NAV-04414437       NAV-04416739
NAV-04412109      NAV-04412523        NAV-04414835       NAV-04416770
NAV-04412117      NAV-04412534        NAV-04415008       NAV-04416780
NAV-04412124      NAV-04412546        NAV-04415035       NAV-04416822
NAV-04412132      NAV-04412556        NAV-04415050       NAV-04416990
NAV-04412138      NAV-04412567        NAV-04415059       NAV-04416993
NAV-04412148      NAV-04412573        NAV-04415209       NAV-04417027
NAV-04412154      NAV-04412577        NAV-04415211       NAV-04417064
NAV-04412165      NAV-04412588        NAV-04415217       NAV-04417087
NAV-04412172      NAV-04412602        NAV-04415224       NAV-04417090
NAV-04412178      NAV-04412610        NAV-04415230       NAV-04417142
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 12 of 73



NAV-04417181      NAV-04418787        NAV-04422378       NAV-04441373
NAV-04417243      NAV-04418795        NAV-04422452       NAV-04441658
NAV-04417673      NAV-04418821        NAV-04422456       NAV-04441700
NAV-04417933      NAV-04418829        NAV-04422948       NAV-04441796
NAV-04417944      NAV-04418840        NAV-04423396       NAV-04442513
NAV-04417977      NAV-04418912        NAV-04427226       NAV-04442520
NAV-04417988      NAV-04418922        NAV-04427596       NAV-04442622
NAV-04418062      NAV-04418928        NAV-04427961       NAV-04442786
NAV-04418064      NAV-04418951        NAV-04428024       NAV-04442812
NAV-04418068      NAV-04418962        NAV-04428035       NAV-04442848
NAV-04418107      NAV-04418977        NAV-04428808       NAV-04442857
NAV-04418118      NAV-04418986        NAV-04429075       NAV-04442893
NAV-04418124      NAV-04418989        NAV-04429136       NAV-04443138
NAV-04418147      NAV-04419012        NAV-04429222       NAV-04443243
NAV-04418203      NAV-04419023        NAV-04429336       NAV-04444155
NAV-04418210      NAV-04419054        NAV-04429588       NAV-04444462
NAV-04418250      NAV-04419064        NAV-04429594       NAV-04444466
NAV-04418264      NAV-04419071        NAV-04429599       NAV-04444472
NAV-04418278      NAV-04419103        NAV-04429615       NAV-04445062
NAV-04418286      NAV-04419110        NAV-04430559       NAV-04445104
NAV-04418329      NAV-04419133        NAV-04431548       NAV-04445105
NAV-04418341      NAV-04419186        NAV-04431561       NAV-04445710
NAV-04418375      NAV-04419214        NAV-04432154       NAV-04446408
NAV-04418394      NAV-04419220        NAV-04432159       NAV-04446441
NAV-04418398      NAV-04419239        NAV-04434489       NAV-04446684
NAV-04418479      NAV-04419251        NAV-04434500       NAV-04446712
NAV-04418483      NAV-04419253        NAV-04435460       NAV-04446757
NAV-04418495      NAV-04419262        NAV-04436080       NAV-04446760
NAV-04418512      NAV-04419268        NAV-04437360       NAV-04446782
NAV-04418519      NAV-04419719        NAV-04438229       NAV-04446923
NAV-04418552      NAV-04419731        NAV-04438349       NAV-04447130
NAV-04418571      NAV-04419742        NAV-04438451       NAV-04447717
NAV-04418575      NAV-04421309        NAV-04438557       NAV-04447735
NAV-04418582      NAV-04421312        NAV-04438633       NAV-04447786
NAV-04418593      NAV-04421451        NAV-04438742       NAV-04447792
NAV-04418596      NAV-04421523        NAV-04440295       NAV-04448371
NAV-04418599      NAV-04421603        NAV-04440328       NAV-04448440
NAV-04418660      NAV-04421840        NAV-04440648       NAV-04448483
NAV-04418693      NAV-04422267        NAV-04440708       NAV-04448493
NAV-04418757      NAV-04422360        NAV-04441212       NAV-04448506
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 13 of 73



NAV-04448694      NAV-04454445        NAV-04470593       NAV-03562743
NAV-04449395      NAV-04454498        NAV-04470715       NAV-03562746
NAV-04449528      NAV-04454879        NAV-04471280       NAV-03562750
NAV-04449597      NAV-04454888        NAV-04471284       NAV-03562761
NAV-04449956      NAV-04454910        NAV-04472213       NAV-03562781
NAV-04449984      NAV-04454922        NAV-04473645       NAV-03562790
NAV-04450003      NAV-04456095        NAV-04474938       NAV-03562794
NAV-04450106      NAV-04456124        NAV-04475165       NAV-03562814
NAV-04450111      NAV-04456131        NAV-04475206       NAV-03562821
NAV-04450118      NAV-04456143        NAV-04476912       NAV-03562829
NAV-04450141      NAV-04456464        NAV-04476990       NAV-03562833
NAV-04450150      NAV-04456499        NAV-04477010       NAV-03562836
NAV-04450164      NAV-04457128        NAV-04477206       NAV-03562842
NAV-04450183      NAV-04457168        NAV-04477221       NAV-03562851
NAV-04450201      NAV-04457315        NAV-04477694       NAV-03562856
NAV-04450218      NAV-04457574        NAV-03555999       NAV-03562859
NAV-04450224      NAV-04457592        NAV-03558293       NAV-03562876
NAV-04450336      NAV-04457931        NAV-04478333       NAV-03562880
NAV-04450350      NAV-04459096        NAV-03558884       NAV-03562884
NAV-04450466      NAV-04459830        NAV-03559340       NAV-03562887
NAV-04450512      NAV-04460244        NAV-03559410       NAV-03562899
NAV-04450967      NAV-04460388        NAV-03560023       NAV-03562908
NAV-04451005      NAV-04460391        NAV-03560026       NAV-03562912
NAV-04451684      NAV-04460394        NAV-03560028       NAV-03562916
NAV-04451685      NAV-04460453        NAV-03560030       NAV-03562920
NAV-04451767      NAV-04460598        NAV-03560032       NAV-03562923
NAV-04451990      NAV-04462085        NAV-03560038       NAV-03562947
NAV-04452055      NAV-04462096        NAV-03560040       NAV-03562964
NAV-04452437      NAV-04462318        NAV-03560264       NAV-03562979
NAV-04452451      NAV-04463417        NAV-03560354       NAV-03562982
NAV-04452494      NAV-04464829        NAV-03561049       NAV-03562987
NAV-04453550      NAV-04464882        NAV-03561054       NAV-03562991
NAV-04453589      NAV-04467025        NAV-04478705       NAV-03563003
NAV-04454127      NAV-04467945        NAV-03562557       NAV-03563010
NAV-04454177      NAV-04467959        NAV-03562678       NAV-03563018
NAV-04454194      NAV-04468101        NAV-03562690       NAV-03563025
NAV-04454209      NAV-04469235        NAV-03562701       NAV-03563036
NAV-04454222      NAV-04469240        NAV-03562715       NAV-03563045
NAV-04454238      NAV-04469284        NAV-03562719       NAV-03563049
NAV-04454266      NAV-04469556        NAV-03562728       NAV-03563056
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 14 of 73



NAV-03563069      NAV-03565018        NAV-03565500       NAV-03565926
NAV-03563072      NAV-03565026        NAV-03565506       NAV-03565936
NAV-03563078      NAV-03565034        NAV-03565515       NAV-03565957
NAV-03563082      NAV-03565044        NAV-03565520       NAV-03565965
NAV-03563097      NAV-03565057        NAV-03565526       NAV-03565971
NAV-03563105      NAV-03565065        NAV-03565530       NAV-03565981
NAV-03563109      NAV-03565088        NAV-03565538       NAV-03565985
NAV-03563116      NAV-03565112        NAV-03565556       NAV-03565992
NAV-03563120      NAV-03565124        NAV-03565576       NAV-03566037
NAV-03563123      NAV-03565129        NAV-03565604       NAV-03566054
NAV-03563126      NAV-03565148        NAV-03565607       NAV-03566070
NAV-03563140      NAV-03565159        NAV-03565611       NAV-03566074
NAV-03563167      NAV-03565164        NAV-03565621       NAV-03566081
NAV-03563179      NAV-03565168        NAV-03565637       NAV-03566085
NAV-03563182      NAV-03565180        NAV-03565659       NAV-03566094
NAV-03563186      NAV-03565184        NAV-03565668       NAV-03566097
NAV-03563189      NAV-03565191        NAV-03565676       NAV-03566114
NAV-03563193      NAV-03565198        NAV-03565684       NAV-03566247
NAV-03563200      NAV-03565202        NAV-03565694       NAV-03566435
NAV-03563207      NAV-03565209        NAV-03565703       NAV-03566439
NAV-03563214      NAV-03565224        NAV-03565707       NAV-03566607
NAV-03563223      NAV-03565256        NAV-03565715       NAV-03566666
NAV-03563239      NAV-03565259        NAV-03565731       NAV-03566880
NAV-03563243      NAV-03565272        NAV-03565735       NAV-03566910
NAV-03563272      NAV-03565279        NAV-03565745       NAV-03567329
NAV-03563276      NAV-03565315        NAV-03565754       NAV-03568047
NAV-03563307      NAV-03565348        NAV-03565762       NAV-03568217
NAV-03563361      NAV-03565369        NAV-03565772       NAV-03568496
NAV-03563416      NAV-03565373        NAV-03565811       NAV-03568513
NAV-03563434      NAV-03565382        NAV-03565819       NAV-03568692
NAV-03563759      NAV-03565390        NAV-03565828       NAV-03568860
NAV-03564767      NAV-03565406        NAV-03565832       NAV-03569059
NAV-03564793      NAV-03565423        NAV-03565875       NAV-03569163
NAV-03564814      NAV-03565460        NAV-03565882       NAV-03569207
NAV-03564836      NAV-03565467        NAV-03565886       NAV-03569213
NAV-03564843      NAV-03565471        NAV-03565892       NAV-03569435
NAV-03564878      NAV-03565475        NAV-03565899       NAV-03569482
NAV-03564881      NAV-03565486        NAV-03565908       NAV-03569532
NAV-03564968      NAV-03565490        NAV-03565912       NAV-03569542
NAV-03564993      NAV-03565496        NAV-03565916       NAV-03569558
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 15 of 73



NAV-03569572      NAV-03571424        NAV-03572219       NAV-03586098
NAV-03569634      NAV-03571440        NAV-03572252       NAV-03586186
NAV-03569642      NAV-03571444        NAV-03572259       NAV-03586223
NAV-03569644      NAV-03571486        NAV-03572291       NAV-03586251
NAV-03569677      NAV-03571492        NAV-03572319       NAV-03586262
NAV-03569742      NAV-03571514        NAV-03572341       NAV-03586888
NAV-03569817      NAV-03571520        NAV-03572465       NAV-03586910
NAV-03569839      NAV-03571534        NAV-03573408       NAV-03587000
NAV-03569928      NAV-03571578        NAV-03573957       NAV-03587114
NAV-03569996      NAV-03571584        NAV-03574343       NAV-03587232
NAV-03570100      NAV-03571587        NAV-03574350       NAV-03587247
NAV-03570104      NAV-03571616        NAV-03574356       NAV-03587299
NAV-03570111      NAV-03571632        NAV-03574424       NAV-03587324
NAV-03570210      NAV-03571642        NAV-03578098       NAV-03587362
NAV-03570223      NAV-03571665        NAV-03578109       NAV-03588003
NAV-03570242      NAV-03571683        NAV-04481367       NAV-03589023
NAV-03570247      NAV-03571699        NAV-03580667       NAV-03590416
NAV-03570254      NAV-03571718        NAV-03580935       NAV-03591567
NAV-03570302      NAV-03571736        NAV-03580936       NAV-03593261
NAV-03570409      NAV-03571742        NAV-03580938       NAV-03593424
NAV-03570417      NAV-03571776        NAV-03580950       NAV-03593497
NAV-03570444      NAV-03571817        NAV-03580955       NAV-03593532
NAV-03571152      NAV-03571825        NAV-03580959       NAV-03593537
NAV-03571165      NAV-03571890        NAV-03580963       NAV-03593713
NAV-03571177      NAV-03571897        NAV-03580967       NAV-03593850
NAV-03571226      NAV-03571943        NAV-03581108       NAV-03593854
NAV-03571230      NAV-03571963        NAV-03581596       NAV-03593858
NAV-03571260      NAV-03571971        NAV-03582200       NAV-03593864
NAV-03571278      NAV-03572012        NAV-03582252       NAV-03593870
NAV-03571283      NAV-03572025        NAV-03582407       NAV-03594241
NAV-03571288      NAV-03572033        NAV-03582502       NAV-03594612
NAV-03571317      NAV-03572044        NAV-03584214       NAV-03595048
NAV-03571335      NAV-03572050        NAV-03585041       NAV-03595484
NAV-03571346      NAV-03572057        NAV-03586064       NAV-03596256
NAV-03571367      NAV-03572065        NAV-03586067       NAV-03597001
NAV-03571392      NAV-03572134        NAV-03586070       NAV-03597564
NAV-03571405      NAV-03572176        NAV-03586073       NAV-03598146
NAV-03571407      NAV-03572180        NAV-03586082       NAV-03598359
NAV-03571418      NAV-03572200        NAV-03586084       NAV-03598551
NAV-03571420      NAV-03572211        NAV-03586094       NAV-03598693
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 16 of 73



NAV-03598877      NAV-03602585        NAV-03604855       NAV-03605418
NAV-03599350      NAV-03602744        NAV-03604862       NAV-03605421
NAV-03599356      NAV-03602937        NAV-03604871       NAV-03605960
NAV-03599412      NAV-03603115        NAV-03604880       NAV-03606589
NAV-03599678      NAV-03603251        NAV-03604887       NAV-03607001
NAV-03599684      NAV-03603644        NAV-03604894       NAV-03607265
NAV-03599716      NAV-03603817        NAV-03604908       NAV-03607572
NAV-03599844      NAV-03604038        NAV-03604911       NAV-03608149
NAV-03600101      NAV-03604269        NAV-03604919       NAV-03608752
NAV-03600108      NAV-03604478        NAV-03604928       NAV-03608936
NAV-03600156      NAV-03604536        NAV-03604937       NAV-03609120
NAV-03600198      NAV-03604572        NAV-03604947       NAV-03609291
NAV-03600206      NAV-03604584        NAV-03604956       NAV-03610235
NAV-03600215      NAV-03604603        NAV-03604962       NAV-03610594
NAV-03600232      NAV-03604619        NAV-03604967       NAV-03610608
NAV-03600239      NAV-03604626        NAV-03604975       NAV-03610656
NAV-03600248      NAV-03604631        NAV-03604981       NAV-03610718
NAV-03600268      NAV-03604637        NAV-03604986       NAV-03610736
NAV-03600299      NAV-03604643        NAV-03605004       NAV-03610757
NAV-03600307      NAV-03604648        NAV-03605009       NAV-03610779
NAV-03600318      NAV-03604656        NAV-03605014       NAV-03610833
NAV-03600331      NAV-03604662        NAV-03605079       NAV-03610855
NAV-03600574      NAV-03604668        NAV-03605091       NAV-03610882
NAV-03600798      NAV-03604688        NAV-03605165       NAV-03610949
NAV-03600824      NAV-03604705        NAV-03605230       NAV-03610991
NAV-03601067      NAV-03604714        NAV-03605255       NAV-03611075
NAV-03601092      NAV-03604721        NAV-03605262       NAV-03611115
NAV-03601398      NAV-03604731        NAV-03605268       NAV-03611130
NAV-03601410      NAV-03604739        NAV-03605282       NAV-03611147
NAV-03601430      NAV-03604755        NAV-03605291       NAV-03611164
NAV-03601442      NAV-03604761        NAV-03605305       NAV-03611181
NAV-03601504      NAV-03604768        NAV-03605314       NAV-03611243
NAV-03601513      NAV-03604777        NAV-03605317       NAV-03611340
NAV-03601551      NAV-03604783        NAV-03605324       NAV-03611386
NAV-03601613      NAV-03604789        NAV-03605334       NAV-03611390
NAV-03601620      NAV-03604798        NAV-03605343       NAV-03611399
NAV-03601646      NAV-03604807        NAV-03605352       NAV-03611406
NAV-03601915      NAV-03604815        NAV-03605359       NAV-03611410
NAV-03601931      NAV-03604841        NAV-03605367       NAV-03611414
NAV-03601982      NAV-03604848        NAV-03605375       NAV-03611419
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 17 of 73



NAV-03611423      NAV-03623329        NAV-03639833       NAV-03648331
NAV-03611428      NAV-03623434        NAV-03640029       NAV-03648337
NAV-03611453      NAV-03623551        NAV-03640031       NAV-03648342
NAV-03611476      NAV-03623593        NAV-03640508       NAV-03648350
NAV-03611502      NAV-03626971        NAV-03641092       NAV-03649769
NAV-03611506      NAV-03627110        NAV-03641479       NAV-03649773
NAV-03611548      NAV-03627188        NAV-03641999       NAV-03649784
NAV-03611773      NAV-03627268        NAV-03642102       NAV-03649800
NAV-03612049      NAV-03627301        NAV-03642185       NAV-03649803
NAV-03612266      NAV-03627350        NAV-03645315       NAV-03649815
NAV-03612387      NAV-03627377        NAV-03645353       NAV-03649884
NAV-03612502      NAV-03627384        NAV-03645419       NAV-03649893
NAV-03612636      NAV-03628477        NAV-03645485       NAV-03649922
NAV-03612721      NAV-03629275        NAV-03645549       NAV-03650010
NAV-03612729      NAV-04482643        NAV-03645559       NAV-03650026
NAV-03612780      NAV-03633781        NAV-03645580       NAV-03650048
NAV-03612914      NAV-04482911        NAV-03645676       NAV-03650129
NAV-03613206      NAV-04483201        NAV-03645711       NAV-03650576
NAV-03613596      NAV-04483205        NAV-03645740       NAV-03650705
NAV-03613646      NAV-03636909        NAV-03645782       NAV-03651887
NAV-03613648      NAV-03637067        NAV-03645943       NAV-04484292
NAV-03613662      NAV-03637211        NAV-03646145       NAV-03652894
NAV-03613677      NAV-03637296        NAV-03646184       NAV-03652986
NAV-03613683      NAV-03637342        NAV-03646201       NAV-03654134
NAV-03617103      NAV-03637421        NAV-03646239       NAV-03655899
NAV-03617112      NAV-03637499        NAV-03646627       NAV-03659205
NAV-03617125      NAV-03637576        NAV-03646633       NAV-03659487
NAV-03617135      NAV-03637652        NAV-03646636       NAV-03659597
NAV-03617143      NAV-03637696        NAV-03646643       NAV-03659811
NAV-03622602      NAV-03637732        NAV-03646717       NAV-03660273
NAV-03622613      NAV-03637762        NAV-03646752       NAV-03660502
NAV-03622636      NAV-03637771        NAV-03646844       NAV-03660517
NAV-03622651      NAV-03637820        NAV-03646905       NAV-03661000
NAV-03622691      NAV-03637979        NAV-03646919       NAV-03661110
NAV-03622725      NAV-03638177        NAV-03648249       NAV-03661391
NAV-03622743      NAV-03638272        NAV-03648275       NAV-03661427
NAV-03622903      NAV-03638290        NAV-03648296       NAV-03661484
NAV-03622921      NAV-03638308        NAV-03648304       NAV-03662153
NAV-03622967      NAV-03638957        NAV-03648325       NAV-03662272
NAV-03623001      NAV-03639115        NAV-03648328       NAV-03662288
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 18 of 73



NAV-03662325      NAV-03671030        NAV-03693035       NAV-03697792
NAV-03662353      NAV-03671139        NAV-03693209       NAV-03697847
NAV-03662495      NAV-03671800        NAV-03693350       NAV-03698697
NAV-03662948      NAV-03672196        NAV-03694295       NAV-03698816
NAV-03663053      NAV-03672281        NAV-03694311       NAV-03700469
NAV-03663176      NAV-03672334        NAV-03694344       NAV-03701602
NAV-03663255      NAV-03672421        NAV-03694349       NAV-03701683
NAV-03663599      NAV-03672627        NAV-03694396       NAV-03701756
NAV-03663703      NAV-03673015        NAV-03694411       NAV-03701809
NAV-03663743      NAV-03673059        NAV-03695003       NAV-03701890
NAV-03663746      NAV-03673285        NAV-03695220       NAV-03701966
NAV-03663812      NAV-03673956        NAV-03695222       NAV-03701981
NAV-03663835      NAV-04497585        NAV-03695394       NAV-03702386
NAV-03664022      NAV-03679497        NAV-03695400       NAV-03702542
NAV-03664179      NAV-03679514        NAV-03695408       NAV-03702577
NAV-03664298      NAV-03680666        NAV-03695455       NAV-04499239
NAV-03664388      NAV-03682163        NAV-03695505       NAV-03702626
NAV-03664446      NAV-03682716        NAV-03695534       NAV-03702640
NAV-03664611      NAV-03682892        NAV-03695549       NAV-03702721
NAV-03666030      NAV-03685407        NAV-03696000       NAV-03702748
NAV-03666033      NAV-03685766        NAV-03696003       NAV-03702789
NAV-03666465      NAV-04497622        NAV-03696024       NAV-03704483
NAV-03667614      NAV-04497711        NAV-03696115       NAV-03704558
NAV-03667913      NAV-04497715        NAV-03696221       NAV-03704685
NAV-04496634      NAV-04497727        NAV-03696225       NAV-03704699
NAV-03668321      NAV-03686332        NAV-03696559       NAV-03704826
NAV-03668376      NAV-03686336        NAV-03696597       NAV-03704874
NAV-03668394      NAV-03686554        NAV-03696630       NAV-03705137
NAV-03669177      NAV-03687200        NAV-03696634       NAV-03705171
NAV-03669183      NAV-03687883        NAV-03696638       NAV-03705178
NAV-03669396      NAV-03688462        NAV-03696662       NAV-03705331
NAV-03669419      NAV-03688545        NAV-03696675       NAV-03705569
NAV-03669712      NAV-03688550        NAV-03696729       NAV-03705604
NAV-03669855      NAV-03688586        NAV-03696771       NAV-03705636
NAV-03670010      NAV-03688892        NAV-03696776       NAV-03705722
NAV-03670505      NAV-03690591        NAV-03696804       NAV-03707766
NAV-03670738      NAV-03690770        NAV-03696843       NAV-03707875
NAV-03670774      NAV-03690820        NAV-03696943       NAV-03707936
NAV-03671009      NAV-03691717        NAV-03697043       NAV-03708162
NAV-03671025      NAV-03692981        NAV-03697541       NAV-03708303
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 19 of 73



NAV-03708682      NAV-03724640        NAV-03728799       NAV-03729131
NAV-03708991      NAV-03724741        NAV-03728802       NAV-03729144
NAV-03709079      NAV-03724880        NAV-03728812       NAV-03729150
NAV-03712226      NAV-03724959        NAV-03728816       NAV-03729157
NAV-03712972      NAV-03725084        NAV-03728820       NAV-03729163
NAV-03713026      NAV-03725782        NAV-03728825       NAV-03729179
NAV-03716533      NAV-03725790        NAV-03728832       NAV-03729190
NAV-03716608      NAV-03725897        NAV-03728835       NAV-03729193
NAV-03716635      NAV-03726215        NAV-03728838       NAV-03729196
NAV-03717184      NAV-03726469        NAV-03728854       NAV-03729200
NAV-03717493      NAV-03726472        NAV-03728868       NAV-03729207
NAV-03717520      NAV-03726536        NAV-03728883       NAV-03729224
NAV-03717576      NAV-03726569        NAV-03728886       NAV-03729227
NAV-03718428      NAV-03726570        NAV-03728890       NAV-03729231
NAV-03718758      NAV-03726581        NAV-03728894       NAV-03729234
NAV-03718925      NAV-03726725        NAV-03728907       NAV-03729253
NAV-03719380      NAV-03726846        NAV-03728913       NAV-03729257
NAV-03719548      NAV-03726946        NAV-03728918       NAV-03729261
NAV-03719636      NAV-03727226        NAV-03728922       NAV-03729271
NAV-03719893      NAV-03727338        NAV-03728933       NAV-03729275
NAV-03720019      NAV-03727474        NAV-03728943       NAV-03729558
NAV-03720030      NAV-03727501        NAV-03728955       NAV-03729618
NAV-03720170      NAV-03727620        NAV-03728963       NAV-03729740
NAV-03720185      NAV-03727717        NAV-03728967       NAV-03729745
NAV-03720366      NAV-03728082        NAV-03728971       NAV-03729775
NAV-03720993      NAV-03728483        NAV-03728975       NAV-03729784
NAV-03723013      NAV-03728512        NAV-03728979       NAV-03729798
NAV-03723371      NAV-03728529        NAV-03728990       NAV-03729835
NAV-03723376      NAV-03728590        NAV-03729003       NAV-03729852
NAV-03723389      NAV-03728676        NAV-03729010       NAV-03729858
NAV-03723472      NAV-03728691        NAV-03729055       NAV-03729970
NAV-03723741      NAV-03728694        NAV-03729060       NAV-03730068
NAV-03724017      NAV-03728700        NAV-03729071       NAV-03730150
NAV-03724043      NAV-03728717        NAV-03729074       NAV-03730200
NAV-03724068      NAV-03728737        NAV-03729087       NAV-03731497
NAV-03724188      NAV-03728748        NAV-03729091       NAV-03731603
NAV-03724285      NAV-03728752        NAV-03729099       NAV-03731687
NAV-03724436      NAV-03728763        NAV-03729102       NAV-03731699
NAV-03724475      NAV-03728769        NAV-03729105       NAV-03731851
NAV-03724509      NAV-03728791        NAV-03729109       NAV-03732344
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 20 of 73



NAV-03732412      NAV-04501941        NAV-04503414       NAV-04505785
NAV-03732415      NAV-04501954        NAV-04503420       NAV-04506015
NAV-03732436      NAV-04502169        NAV-04503421       NAV-03740077
NAV-03732770      NAV-04502173        NAV-04503524       NAV-03740572
NAV-03733201      NAV-04502231        NAV-04503526       NAV-03741026
NAV-03733212      NAV-04502239        NAV-04503529       NAV-04506179
NAV-03733392      NAV-03736657        NAV-04503929       NAV-04506187
NAV-03733402      NAV-03736667        NAV-04503932       NAV-04506189
NAV-03733584      NAV-03736874        NAV-04503935       NAV-04506277
NAV-03733811      NAV-03736974        NAV-04503944       NAV-04506380
NAV-03733887      NAV-03737001        NAV-04504204       NAV-04506396
NAV-03734090      NAV-03737192        NAV-04504304       NAV-04506500
NAV-03734135      NAV-03737292        NAV-04504314       NAV-04506508
NAV-03734171      NAV-03737337        NAV-04504390       NAV-04508590
NAV-03734634      NAV-03737419        NAV-04504463       NAV-04508996
NAV-03734761      NAV-03737551        NAV-04504466       NAV-04509086
NAV-03734977      NAV-03737577        NAV-03738246       NAV-03741488
NAV-03734980      NAV-03738202        NAV-03738354       NAV-03741491
NAV-03734994      NAV-04502286        NAV-03738435       NAV-03741495
NAV-03735031      NAV-04502402        NAV-03738439       NAV-03742263
NAV-03735044      NAV-04502408        NAV-03738442       NAV-03742270
NAV-03735049      NAV-04502418        NAV-03738471       NAV-04509534
NAV-03735329      NAV-04502420        NAV-03738681       NAV-03742660
NAV-03735437      NAV-04502434        NAV-03738702       NAV-04509653
NAV-03735511      NAV-04502457        NAV-03739076       NAV-04509717
NAV-03735659      NAV-04502470        NAV-04504542       NAV-04509829
NAV-03735673      NAV-04502557        NAV-04504573       NAV-04509912
NAV-03735798      NAV-04502701        NAV-04504586       NAV-04509922
NAV-03735853      NAV-04502843        NAV-04504611       NAV-04509931
NAV-03735872      NAV-04502848        NAV-04504615       NAV-03744710
NAV-03736087      NAV-04502863        NAV-04504626       NAV-03744733
NAV-03736283      NAV-04503183        NAV-04504639       NAV-04510135
NAV-03736286      NAV-04503194        NAV-04504701       NAV-04510193
NAV-03736309      NAV-04503212        NAV-03739255       NAV-04510251
NAV-03736398      NAV-04503240        NAV-03739757       NAV-04510374
NAV-03736411      NAV-04503258        NAV-03739818       NAV-04510398
NAV-03736424      NAV-04503277        NAV-03739832       NAV-03745495
NAV-03736440      NAV-04503299        NAV-03739943       NAV-03745541
NAV-03736482      NAV-04503325        NAV-03740009       NAV-04510437
NAV-04501936      NAV-04503331        NAV-04505783       NAV-04510509
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 21 of 73



NAV-04510539      NAV-03747856        NAV-03753907       NAV-04560155
NAV-04510748      NAV-03747862        NAV-03754407       NAV-04560161
NAV-04510883      NAV-03747897        NAV-03754472       NAV-04560167
NAV-04511010      NAV-03747901        NAV-03754850       NAV-04560175
NAV-04511037      NAV-04525505        NAV-03754875       NAV-04560179
NAV-04511064      NAV-04525636        NAV-03754923       NAV-04560189
NAV-04511078      NAV-04525647        NAV-03754928       NAV-04560195
NAV-04511101      NAV-03748245        NAV-03755202       NAV-04560205
NAV-04511183      NAV-03750140        NAV-03755203       NAV-04560209
NAV-04511212      NAV-03750302        NAV-03755224       NAV-04560218
NAV-04511942      NAV-03750451        NAV-03755614       NAV-04560224
NAV-04511949      NAV-03750734        NAV-03755635       NAV-04560228
NAV-04512006      NAV-03750738        NAV-03755828       NAV-04560249
NAV-04512059      NAV-03750759        NAV-03755894       NAV-04560270
NAV-04512077      NAV-03750775        NAV-03755958       NAV-04560326
NAV-04512538      NAV-03750778        NAV-03755978       NAV-04560329
NAV-04512549      NAV-04529722        NAV-03756171       NAV-03756500
NAV-04513532      NAV-04529724        NAV-03756225       NAV-04560845
NAV-03745769      NAV-04529749        NAV-03756353       NAV-04560874
NAV-04514631      NAV-03751004        NAV-03756357       NAV-04560919
NAV-04517124      NAV-03751007        NAV-03756438       NAV-04560934
NAV-04517149      NAV-03751168        NAV-03756442       NAV-04560959
NAV-04517470      NAV-04530284        NAV-03756461       NAV-04561296
NAV-04517889      NAV-04530569        NAV-04559784       NAV-04563148
NAV-04517922      NAV-04530712        NAV-04559804       NAV-04563405
NAV-03745883      NAV-04530717        NAV-04559807       NAV-03756554
NAV-03745915      NAV-04530725        NAV-04559944       NAV-03756907
NAV-03746010      NAV-04530901        NAV-04559953       NAV-03756996
NAV-03746176      NAV-04530980        NAV-04559957       NAV-03757486
NAV-03746198      NAV-03751380        NAV-04559966       NAV-03757680
NAV-03746541      NAV-03751841        NAV-04559974       NAV-03757768
NAV-03746676      NAV-03751861        NAV-04559999       NAV-04563741
NAV-03746721      NAV-03752142        NAV-04560013       NAV-04563783
NAV-03746929      NAV-03752163        NAV-04560024       NAV-04563801
NAV-03747200      NAV-03752241        NAV-04560052       NAV-03758755
NAV-04525330      NAV-03752365        NAV-04560085       NAV-03758778
NAV-04525394      NAV-03753245        NAV-04560091       NAV-03759171
NAV-03747240      NAV-03753450        NAV-04560094       NAV-03759254
NAV-03747794      NAV-04532169        NAV-04560104       NAV-03759272
NAV-03747846      NAV-03753675        NAV-04560139       NAV-03759378
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 22 of 73



NAV-03759453      NAV-03763562        NAV-03766794       NAV-03771756
NAV-03759467      NAV-03763775        NAV-03766844       NAV-03771831
NAV-03759481      NAV-03764028        NAV-03766859       NAV-04576026
NAV-03759560      NAV-03764206        NAV-03766875       NAV-04576112
NAV-03759643      NAV-03764883        NAV-03766966       NAV-04576115
NAV-03759957      NAV-04571528        NAV-03767014       NAV-04576159
NAV-04563937      NAV-04571829        NAV-03767072       NAV-04576166
NAV-03760307      NAV-04571859        NAV-03767182       NAV-04576179
NAV-03760358      NAV-04571877        NAV-03767468       NAV-04576188
NAV-03760463      NAV-04572011        NAV-03767519       NAV-04576201
NAV-03760623      NAV-04572013        NAV-03767997       NAV-04576209
NAV-03760664      NAV-04572149        NAV-03768003       NAV-04576460
NAV-03760682      NAV-04572960        NAV-03768066       NAV-04576481
NAV-03760749      NAV-04572988        NAV-03768113       NAV-03772305
NAV-03760969      NAV-04573015        NAV-03768145       NAV-03772353
NAV-03761438      NAV-04573028        NAV-03768508       NAV-03772390
NAV-03761449      NAV-04573034        NAV-03768513       NAV-03772556
NAV-04565450      NAV-03764956        NAV-03768521       NAV-03772609
NAV-04566707      NAV-03765057        NAV-03768611       NAV-03772854
NAV-04567189      NAV-03765106        NAV-03768647       NAV-03772867
NAV-03761677      NAV-03765163        NAV-03768770       NAV-03772898
NAV-03761695      NAV-03765174        NAV-03768877       NAV-03772904
NAV-03761709      NAV-03765623        NAV-04575701       NAV-03772910
NAV-03761824      NAV-03765634        NAV-03769666       NAV-03772971
NAV-03762156      NAV-03765663        NAV-03770096       NAV-03772985
NAV-03762187      NAV-03765665        NAV-03770479       NAV-03773139
NAV-03762475      NAV-03765674        NAV-03770640       NAV-03773359
NAV-03762773      NAV-03765695        NAV-03770646       NAV-03773376
NAV-03763095      NAV-03765699        NAV-03770662       NAV-03773532
NAV-03763271      NAV-03765746        NAV-03770748       NAV-03773572
NAV-03763368      NAV-03766513        NAV-03770762       NAV-03773698
NAV-04567428      NAV-03766554        NAV-03770880       NAV-03773714
NAV-04567443      NAV-03766572        NAV-03771026       NAV-03774536
NAV-04567445      NAV-03766644        NAV-03771292       NAV-03774467
NAV-04567450      NAV-03766767        NAV-03771337       NAV-03774248
NAV-04567616      NAV-04574285        NAV-03771352       NAV-03774116
NAV-04569563      NAV-04574731        NAV-03771407       NAV-03774100
NAV-04569567      NAV-04574877        NAV-03771463       NAV-03774098
NAV-04569611      NAV-04574924        NAV-03771490       NAV-03774058
NAV-04570436      NAV-04575036        NAV-03771562       NAV-03774037
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 23 of 73



NAV-03774028      NAV-03775311        NAV-03776181       NAV-03780391
NAV-03773983      NAV-03775314        NAV-03776266       NAV-03780593
NAV-04580437      NAV-03775318        NAV-03776319       NAV-03781114
NAV-04580552      NAV-03775335        NAV-04581537       NAV-03781249
NAV-03774818      NAV-03775342        NAV-03776637       NAV-03781774
NAV-03774887      NAV-03775351        NAV-03776744       NAV-04584952
NAV-03774919      NAV-03775354        NAV-03776860       NAV-04584960
NAV-03774939      NAV-03775373        NAV-03776949       NAV-04585012
NAV-03775061      NAV-03775390        NAV-03776972       NAV-04585106
NAV-03775064      NAV-03775395        NAV-03777003       NAV-04585180
NAV-03775075      NAV-03775399        NAV-03777008       NAV-04586027
NAV-03775078      NAV-03775419        NAV-03777074       NAV-04586049
NAV-03775082      NAV-03775430        NAV-03777313       NAV-04587172
NAV-03775101      NAV-03775445        NAV-03777351       NAV-04587179
NAV-03775105      NAV-03775448        NAV-03777354       NAV-03782250
NAV-03775121      NAV-03775458        NAV-03777469       NAV-03782258
NAV-03775139      NAV-03775461        NAV-03777507       NAV-03782897
NAV-03775144      NAV-03775470        NAV-03777551       NAV-03782902
NAV-03775153      NAV-03775473        NAV-03777819       NAV-03782997
NAV-03775157      NAV-03775477        NAV-03778270       NAV-03783001
NAV-03775160      NAV-03775487        NAV-03778296       NAV-03783060
NAV-03775166      NAV-03775497        NAV-03778321       NAV-03783089
NAV-03775170      NAV-03775501        NAV-03778339       NAV-03783099
NAV-03775180      NAV-03775507        NAV-03778346       NAV-03783106
NAV-03775192      NAV-03775514        NAV-03778367       NAV-03783110
NAV-03775196      NAV-03775530        NAV-03778377       NAV-03783114
NAV-03775212      NAV-03775534        NAV-03778727       NAV-03783120
NAV-03775222      NAV-03775544        NAV-03778857       NAV-03783128
NAV-03775226      NAV-03775552        NAV-03779029       NAV-03783134
NAV-03775230      NAV-03775555        NAV-03779231       NAV-03783142
NAV-03775233      NAV-03775561        NAV-03779300       NAV-03783153
NAV-03775240      NAV-03775569        NAV-03779368       NAV-03783158
NAV-03775247      NAV-03775583        NAV-03779389       NAV-03783173
NAV-03775255      NAV-03775595        NAV-03779918       NAV-03783178
NAV-03775265      NAV-03775605        NAV-03780109       NAV-03783182
NAV-03775268      NAV-03775616        NAV-03780113       NAV-03783189
NAV-03775274      NAV-03775625        NAV-04583517       NAV-03783195
NAV-03775289      NAV-03775634        NAV-04584778       NAV-03783199
NAV-03775296      NAV-03775912        NAV-03780198       NAV-03783209
NAV-03775303      NAV-03775915        NAV-03780389       NAV-03783220
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 24 of 73



NAV-03783227      NAV-03783632        NAV-03784730       NAV-03785133
NAV-03783234      NAV-03783636        NAV-03784748       NAV-03785143
NAV-03783238      NAV-03783645        NAV-03784756       NAV-03785147
NAV-03783242      NAV-03783649        NAV-03784771       NAV-03785155
NAV-03783248      NAV-03783811        NAV-03784775       NAV-03785165
NAV-03783252      NAV-03784101        NAV-03784784       NAV-03785169
NAV-03783258      NAV-04587960        NAV-03784791       NAV-03785173
NAV-03783266      NAV-04588046        NAV-03784798       NAV-03785177
NAV-03783270      NAV-04588075        NAV-03784801       NAV-03785180
NAV-03783280      NAV-04588078        NAV-03784805       NAV-03785256
NAV-03783284      NAV-04588179        NAV-03784809       NAV-03785278
NAV-03783287      NAV-04588181        NAV-03784813       NAV-03785340
NAV-03783296      NAV-04588187        NAV-03784816       NAV-03785365
NAV-03783311      NAV-04588417        NAV-03784835       NAV-03785637
NAV-03783315      NAV-04588443        NAV-03784844       NAV-04589935
NAV-03783326      NAV-04588688        NAV-03784852       NAV-04590092
NAV-03783333      NAV-04589262        NAV-03784862       NAV-04590112
NAV-03783343      NAV-04589579        NAV-03784865       NAV-04590561
NAV-03783367      NAV-04589732        NAV-03784870       NAV-04590569
NAV-03783371      NAV-03784274        NAV-03784874       NAV-04591049
NAV-03783404      NAV-03784297        NAV-03784895       NAV-03786290
NAV-03783426      NAV-03784580        NAV-03784912       NAV-03786447
NAV-03783438      NAV-03784594        NAV-03784916       NAV-03786464
NAV-03783458      NAV-03784597        NAV-03784921       NAV-03786481
NAV-03783462      NAV-03784611        NAV-03784924       NAV-03786499
NAV-03783469      NAV-03784614        NAV-03784931       NAV-03786520
NAV-03783480      NAV-03784625        NAV-03784937       NAV-03786532
NAV-03783484      NAV-03784629        NAV-03784947       NAV-03786547
NAV-03783502      NAV-03784640        NAV-03784992       NAV-03786560
NAV-03783505      NAV-03784653        NAV-03785002       NAV-03786701
NAV-03783518      NAV-03784664        NAV-03785006       NAV-03786748
NAV-03783521      NAV-03784672        NAV-03785009       NAV-03786844
NAV-03783524      NAV-03784683        NAV-03785021       NAV-03786847
NAV-03783555      NAV-03784690        NAV-03785025       NAV-03786856
NAV-03783558      NAV-03784694        NAV-03785028       NAV-03786859
NAV-03783573      NAV-03784702        NAV-03785032       NAV-03786863
NAV-03783580      NAV-03784706        NAV-03785049       NAV-03786870
NAV-03783583      NAV-03784710        NAV-03785065       NAV-03786875
NAV-03783598      NAV-03784723        NAV-03785085       NAV-03786883
NAV-03783607      NAV-03784727        NAV-03785092       NAV-03786890
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 25 of 73



NAV-03786893      NAV-03787240        NAV-04592613       NAV-03788853
NAV-03786905      NAV-03787247        NAV-04592621       NAV-03788854
NAV-03786915      NAV-03787257        NAV-04592949       NAV-03788855
NAV-03786929      NAV-03787264        NAV-04592961       NAV-03788858
NAV-03786946      NAV-03787268        NAV-04593177       NAV-03788861
NAV-03786949      NAV-03787280        NAV-04593234       NAV-03788865
NAV-03786959      NAV-03787283        NAV-04593318       NAV-03788873
NAV-03786972      NAV-03787290        NAV-04593627       NAV-03788876
NAV-03786976      NAV-03787294        NAV-04593646       NAV-03788880
NAV-03786980      NAV-03787297        NAV-04593681       NAV-03789045
NAV-03786992      NAV-03787301        NAV-04593682       NAV-03789056
NAV-03787026      NAV-03787320        NAV-04593694       NAV-03789174
NAV-03787030      NAV-03787324        NAV-04593746       NAV-03789230
NAV-03787033      NAV-03787331        NAV-04594088       NAV-03789363
NAV-03787042      NAV-03787335        NAV-04594127       NAV-03789417
NAV-03787045      NAV-03787349        NAV-04594133       NAV-03789420
NAV-03787055      NAV-03787360        NAV-04594140       NAV-03789935
NAV-03787059      NAV-03787372        NAV-04594198       NAV-03790041
NAV-03787068      NAV-03787379        NAV-04594992       NAV-03790074
NAV-03787071      NAV-03787408        NAV-04595654       NAV-03790088
NAV-03787082      NAV-03787538        NAV-03788291       NAV-03790182
NAV-03787086      NAV-03787549        NAV-03788390       NAV-03790349
NAV-03787106      NAV-03787599        NAV-04596001       NAV-04599168
NAV-03787118      NAV-03787642        NAV-04596334       NAV-04599180
NAV-03787131      NAV-04591212        NAV-04596419       NAV-04599193
NAV-03787134      NAV-04591447        NAV-04596758       NAV-04599220
NAV-03787140      NAV-04591799        NAV-04596871       NAV-04599354
NAV-03787144      NAV-04591818        NAV-04596892       NAV-04599372
NAV-03787147      NAV-04591853        NAV-04597205       NAV-04599389
NAV-03787155      NAV-04591903        NAV-04597230       NAV-04600336
NAV-03787163      NAV-03787773        NAV-04597244       NAV-04600397
NAV-03787167      NAV-03787920        NAV-04597277       NAV-04600578
NAV-03787170      NAV-03787921        NAV-04597300       NAV-04600615
NAV-03787185      NAV-03787927        NAV-04597303       NAV-04600628
NAV-03787192      NAV-03787928        NAV-04597307       NAV-04600645
NAV-03787201      NAV-03787935        NAV-04597318       NAV-04600654
NAV-03787209      NAV-03788096        NAV-04597421       NAV-04600697
NAV-03787213      NAV-03788184        NAV-03788427       NAV-04600722
NAV-03787226      NAV-03788230        NAV-03788599       NAV-04600747
NAV-03787230      NAV-04592406        NAV-03788803       NAV-03790463
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 26 of 73



NAV-03790465      NAV-04603471        NAV-03812047       NAV-03816008
NAV-03790864      NAV-03797432        NAV-03812075       NAV-04626095
NAV-03790866      NAV-03797489        NAV-03812145       NAV-03816376
NAV-03791453      NAV-03798142        NAV-03812165       NAV-03816452
NAV-03791572      NAV-03798209        NAV-03812259       NAV-03816471
NAV-03791602      NAV-03798485        NAV-03812307       NAV-03816477
NAV-03791763      NAV-03798486        NAV-03812311       NAV-03816530
NAV-04600834      NAV-03798502        NAV-03812408       NAV-03816544
NAV-04601060      NAV-04604123        NAV-03812771       NAV-03816578
NAV-04601257      NAV-04604203        NAV-03812840       NAV-04627400
NAV-04601423      NAV-04604339        NAV-03812881       NAV-03816947
NAV-03792945      NAV-04604913        NAV-03812884       NAV-03816961
NAV-03792960      NAV-04605134        NAV-03812915       NAV-03816992
NAV-03793162      NAV-04605292        NAV-03813021       NAV-03817012
NAV-03793267      NAV-04605377        NAV-03813220       NAV-03817037
NAV-03793335      NAV-04605378        NAV-03813459       NAV-03817043
NAV-03793912      NAV-04605482        NAV-03813512       NAV-03817151
NAV-03794102      NAV-04605816        NAV-03813568       NAV-03817163
NAV-04602029      NAV-04605860        NAV-04619632       NAV-03817183
NAV-04602034      NAV-04605862        NAV-04621317       NAV-03817292
NAV-04602041      NAV-04605935        NAV-03813755       NAV-03817384
NAV-04602271      NAV-04605985        NAV-03813853       NAV-03817392
NAV-04602293      NAV-04607288        NAV-03813891       NAV-03817902
NAV-04602421      NAV-04608510        NAV-03813911       NAV-03818125
NAV-04602457      NAV-04608781        NAV-03813946       NAV-03818132
NAV-04602733      NAV-04609277        NAV-03814034       NAV-03818226
NAV-04602817      NAV-04609501        NAV-03814040       NAV-03818378
NAV-04603026      NAV-04609600        NAV-03814077       NAV-03818508
NAV-04603120      NAV-04610833        NAV-03814078       NAV-03818511
NAV-04603216      NAV-03808834        NAV-03814092       NAV-03818536
NAV-04603236      NAV-03808908        NAV-03814191       NAV-03819730
NAV-03794597      NAV-03809390        NAV-03815110       NAV-03819746
NAV-03794794      NAV-03809394        NAV-03815334       NAV-03820189
NAV-03795319      NAV-03809411        NAV-03815637       NAV-03820268
NAV-03795383      NAV-03809475        NAV-03815641       NAV-03820271
NAV-03795385      NAV-03809529        NAV-03815644       NAV-03820339
NAV-03796135      NAV-03810136        NAV-03815752       NAV-03820475
NAV-03797036      NAV-03811052        NAV-03815782       NAV-03820478
NAV-03797039      NAV-03811394        NAV-03815900       NAV-03821026
NAV-04603329      NAV-03811714        NAV-03815974       NAV-03822159
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 27 of 73



NAV-03822165      NAV-04686891        NAV-03830482       NAV-03837358
NAV-03822237      NAV-04687294        NAV-03832216       NAV-03837452
NAV-03822245      NAV-04690495        NAV-03832310       NAV-03837546
NAV-03822254      NAV-04690503        NAV-03832364       NAV-03837609
NAV-03822414      NAV-04690629        NAV-04698282       NAV-03837739
NAV-03822695      NAV-04690645        NAV-04698540       NAV-03837801
NAV-03822741      NAV-04690653        NAV-04698545       NAV-03837820
NAV-03822883      NAV-04690726        NAV-03832568       NAV-03837924
NAV-03822933      NAV-04690898        NAV-03832622       NAV-03838001
NAV-03823015      NAV-04691257        NAV-04700818       NAV-03838079
NAV-04652792      NAV-04691280        NAV-04700823       NAV-03838144
NAV-03823221      NAV-04691320        NAV-04700970       NAV-03838323
NAV-03823778      NAV-04691438        NAV-04701045       NAV-03838457
NAV-03823994      NAV-04691449        NAV-04701049       NAV-03838721
NAV-04656516      NAV-04691485        NAV-04701064       NAV-03839466
NAV-04659823      NAV-04691644        NAV-04701068       NAV-04703354
NAV-03825295      NAV-04691653        NAV-03833970       NAV-04704071
NAV-03827451      NAV-04692032        NAV-04701691       NAV-04705121
NAV-04668475      NAV-04692035        NAV-04702019       NAV-04705451
NAV-04668660      NAV-04692144        NAV-04702149       NAV-04705574
NAV-04668753      NAV-04692589        NAV-04702295       NAV-04705579
NAV-04669143      NAV-04694293        NAV-04702495       NAV-04706041
NAV-04670213      NAV-04694342        NAV-03834951       NAV-04706613
NAV-04676098      NAV-04694625        NAV-03834982       NAV-04706709
NAV-04676168      NAV-04695170        NAV-03835022       NAV-03839770
NAV-04676546      NAV-04695172        NAV-03835099       NAV-03840114
NAV-04676589      NAV-04695290        NAV-03835868       NAV-03840290
NAV-04676871      NAV-04695317        NAV-03836223       NAV-03840334
NAV-04684777      NAV-04695321        NAV-04702848       NAV-03840441
NAV-03827508      NAV-04695368        NAV-04702862       NAV-03841377
NAV-03827514      NAV-04695740        NAV-03837078       NAV-03841433
NAV-03827529      NAV-04695743        NAV-03837123       NAV-03841463
NAV-03827671      NAV-04695781        NAV-03837162       NAV-03841470
NAV-03828319      NAV-04695784        NAV-03837227       NAV-03841575
NAV-03828525      NAV-04695786        NAV-03837240       NAV-03841585
NAV-03828828      NAV-04695790        NAV-03837242       NAV-03841644
NAV-03829247      NAV-04695793        NAV-03837247       NAV-03841657
NAV-03829325      NAV-04695895        NAV-03837252       NAV-03841676
NAV-03829481      NAV-04697466        NAV-03837260       NAV-03841720
NAV-03829528      NAV-04697487        NAV-03837264       NAV-03841739
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 28 of 73



NAV-03841743      NAV-03843944        NAV-03859814       NAV-03860647
NAV-03842013      NAV-03843981        NAV-03859830       NAV-03860657
NAV-03842023      NAV-03844009        NAV-03859831       NAV-03860679
NAV-03842076      NAV-03844013        NAV-03859842       NAV-03860682
NAV-03842122      NAV-03844021        NAV-03859854       NAV-03860703
NAV-03842264      NAV-03844030        NAV-03859867       NAV-03860708
NAV-03842438      NAV-03844059        NAV-03859872       NAV-03860712
NAV-03842442      NAV-03844064        NAV-03859878       NAV-03860717
NAV-03842448      NAV-03844075        NAV-03859893       NAV-03860722
NAV-03842451      NAV-03844093        NAV-03859919       NAV-03860727
NAV-03842454      NAV-03844114        NAV-03859952       NAV-03860734
NAV-03842640      NAV-03844120        NAV-03859967       NAV-03860766
NAV-03842643      NAV-03844128        NAV-03859984       NAV-03860774
NAV-03842646      NAV-03844137        NAV-03859990       NAV-03860792
NAV-03842649      NAV-03844171        NAV-03859995       NAV-03860805
NAV-04707246      NAV-03844176        NAV-03860011       NAV-03860877
NAV-04707339      NAV-03844181        NAV-03860017       NAV-03860899
NAV-04709324      NAV-03844190        NAV-03860112       NAV-03860902
NAV-04709332      NAV-03844323        NAV-03860115       NAV-03860905
NAV-04709353      NAV-04711660        NAV-03860189       NAV-03860909
NAV-04709368      NAV-03844682        NAV-03860211       NAV-03860912
NAV-03842991      NAV-03844735        NAV-03860216       NAV-03860915
NAV-03843031      NAV-03844778        NAV-03860275       NAV-03860919
NAV-03843055      NAV-03844801        NAV-03860280       NAV-03860923
NAV-03843090      NAV-03844959        NAV-03860284       NAV-03860926
NAV-03843185      NAV-03844974        NAV-03860453       NAV-03860929
NAV-03843234      NAV-03845304        NAV-03860473       NAV-03860945
NAV-03843265      NAV-03845382        NAV-03860478       NAV-03860948
NAV-03843273      NAV-03849708        NAV-03860489       NAV-03860951
NAV-03843286      NAV-03849881        NAV-03860499       NAV-03861235
NAV-04709381      NAV-03850141        NAV-03860503       NAV-03861240
NAV-04709424      NAV-03850489        NAV-03860513       NAV-03861244
NAV-04710796      NAV-03858617        NAV-03860519       NAV-03861270
NAV-03843847      NAV-03858692        NAV-03860548       NAV-03861283
NAV-03843867      NAV-03858697        NAV-03860553       NAV-03861287
NAV-03843877      NAV-03859637        NAV-03860594       NAV-03861296
NAV-03843899      NAV-03859753        NAV-03860608       NAV-03861303
NAV-03843904      NAV-03859758        NAV-03860625       NAV-03861312
NAV-03843918      NAV-03859780        NAV-03860628       NAV-03861326
NAV-03843923      NAV-03859795        NAV-03860642       NAV-03861352
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NAV-03861369      NAV-03862959        NAV-03866596       NAV-03867842
NAV-03861373      NAV-03862997        NAV-03866605       NAV-03867847
NAV-03861383      NAV-03863008        NAV-03866611       NAV-03867866
NAV-03861396      NAV-03863095        NAV-03866620       NAV-03867897
NAV-03861407      NAV-03863180        NAV-03866623       NAV-03867929
NAV-03861491      NAV-03863186        NAV-03866628       NAV-03867934
NAV-03861514      NAV-03863194        NAV-03866634       NAV-03867948
NAV-03861744      NAV-03863576        NAV-03866645       NAV-03867962
NAV-03861760      NAV-03863628        NAV-03866648       NAV-03867992
NAV-03861860      NAV-03863681        NAV-03866651       NAV-03868005
NAV-03861869      NAV-03863697        NAV-03866657       NAV-03868034
NAV-03861961      NAV-03863747        NAV-03866660       NAV-03871991
NAV-03861968      NAV-03864025        NAV-03866712       NAV-03872047
NAV-03861990      NAV-03864193        NAV-03866718       NAV-03872053
NAV-03862015      NAV-03864346        NAV-03866723       NAV-03872058
NAV-03862046      NAV-03864567        NAV-03866736       NAV-03872067
NAV-03862063      NAV-03864582        NAV-03866750       NAV-03872082
NAV-03862093      NAV-03864588        NAV-03866754       NAV-03872089
NAV-03862164      NAV-03865181        NAV-03866757       NAV-03872092
NAV-03862174      NAV-03865226        NAV-03866760       NAV-03872095
NAV-03862187      NAV-03865268        NAV-03866763       NAV-03872100
NAV-03862193      NAV-03865311        NAV-03866773       NAV-03872110
NAV-03862199      NAV-03865673        NAV-03866778       NAV-03872116
NAV-03862207      NAV-03865695        NAV-03866784       NAV-03872120
NAV-03862215      NAV-03865702        NAV-03866787       NAV-03872123
NAV-03862221      NAV-04738069        NAV-03866791       NAV-03872126
NAV-03862228      NAV-04738293        NAV-03866794       NAV-03872224
NAV-03862239      NAV-04739570        NAV-03866890       NAV-03872235
NAV-03862245      NAV-04739653        NAV-03866901       NAV-03872237
NAV-03862263      NAV-04740207        NAV-03866972       NAV-03872244
NAV-03862269      NAV-04740469        NAV-03867515       NAV-03872258
NAV-03862279      NAV-03865957        NAV-03867520       NAV-03872320
NAV-03862285      NAV-03866490        NAV-03867564       NAV-03872438
NAV-03862290      NAV-03866494        NAV-03867569       NAV-03872543
NAV-03862295      NAV-03866501        NAV-03867579       NAV-03872707
NAV-03862301      NAV-03866509        NAV-03867594       NAV-03872825
NAV-03862613      NAV-03866514        NAV-03867730       NAV-03872932
NAV-03862840      NAV-03866520        NAV-03867789       NAV-03873044
NAV-03862876      NAV-03866528        NAV-03867796       NAV-03873159
NAV-03862881      NAV-03866583        NAV-03867827       NAV-03873638
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 30 of 73



NAV-03873758      NAV-03878284        NAV-03878991       NAV-03879397
NAV-03873879      NAV-03878302        NAV-03878996       NAV-03879430
NAV-03874025      NAV-03878317        NAV-03879003       NAV-03879432
NAV-03874040      NAV-03878331        NAV-03879012       NAV-03879435
NAV-03874045      NAV-03878340        NAV-03879017       NAV-03879438
NAV-03874054      NAV-03878341        NAV-03879021       NAV-03879457
NAV-03874084      NAV-03878359        NAV-03879090       NAV-03879461
NAV-03874138      NAV-03878375        NAV-03879093       NAV-03879464
NAV-03874156      NAV-03878388        NAV-03879096       NAV-03879467
NAV-03874161      NAV-03878394        NAV-03879103       NAV-03879591
NAV-03874176      NAV-03878399        NAV-03879115       NAV-03879608
NAV-03874320      NAV-03878410        NAV-03879119       NAV-03879641
NAV-03875310      NAV-03878426        NAV-03879132       NAV-03879647
NAV-03875375      NAV-03878451        NAV-03879138       NAV-03879688
NAV-03875761      NAV-03878456        NAV-03879141       NAV-03879696
NAV-03875800      NAV-03878471        NAV-03879156       NAV-03879713
NAV-03875847      NAV-03878484        NAV-03879163       NAV-03879730
NAV-03876324      NAV-03878489        NAV-03879168       NAV-03879753
NAV-03876527      NAV-03878495        NAV-03879205       NAV-03879765
NAV-04767220      NAV-03878515        NAV-03879212       NAV-03879780
NAV-04767250      NAV-03878533        NAV-03879215       NAV-03879784
NAV-04767686      NAV-03878550        NAV-03879218       NAV-03879802
NAV-03877164      NAV-03878581        NAV-03879223       NAV-03879812
NAV-03877170      NAV-03878607        NAV-03879226       NAV-03879816
NAV-03877314      NAV-03878615        NAV-03879245       NAV-03879820
NAV-03877490      NAV-03878676        NAV-03879259       NAV-03879840
NAV-03877779      NAV-03878707        NAV-03879270       NAV-03879853
NAV-04768133      NAV-03878723        NAV-03879279       NAV-03879864
NAV-04768136      NAV-03878749        NAV-03879344       NAV-03879872
NAV-03877944      NAV-03878753        NAV-03879347       NAV-03879889
NAV-03877947      NAV-03878760        NAV-03879351       NAV-03879899
NAV-03878162      NAV-03878764        NAV-03879355       NAV-03879904
NAV-03878171      NAV-03878771        NAV-03879362       NAV-03879940
NAV-03878177      NAV-03878785        NAV-03879370       NAV-03879944
NAV-03878203      NAV-04768282        NAV-03879378       NAV-03879951
NAV-03878209      NAV-03878947        NAV-03879383       NAV-03880011
NAV-03878220      NAV-03878954        NAV-03879386       NAV-03880019
NAV-03878246      NAV-03878967        NAV-03879389       NAV-03880022
NAV-03878262      NAV-03878976        NAV-03879391       NAV-03880039
NAV-03878279      NAV-03878986        NAV-03879394       NAV-03880049
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 31 of 73



NAV-03880054      NAV-04769435        NAV-04771513       NAV-03891393
NAV-03880072      NAV-04769469        NAV-04771582       NAV-04776764
NAV-03880076      NAV-04769473        NAV-04772045       NAV-04776959
NAV-03880233      NAV-03882771        NAV-04772195       NAV-04776998
NAV-03880240      NAV-03882779        NAV-04772201       NAV-04777125
NAV-03880256      NAV-03882797        NAV-04772238       NAV-04777204
NAV-03880279      NAV-03882867        NAV-04772272       NAV-04777278
NAV-03880285      NAV-03882876        NAV-03887568       NAV-04777287
NAV-03880292      NAV-03882881        NAV-03887683       NAV-04777381
NAV-03880299      NAV-03882915        NAV-03887969       NAV-04777384
NAV-03880312      NAV-03882960        NAV-03888001       NAV-04777394
NAV-03880320      NAV-03882990        NAV-03888256       NAV-04777817
NAV-03880758      NAV-03882999        NAV-03888327       NAV-04777826
NAV-03880813      NAV-03883022        NAV-03888430       NAV-04778117
NAV-03880867      NAV-03883056        NAV-04772587       NAV-04778148
NAV-03880874      NAV-03883066        NAV-04772802       NAV-04778187
NAV-03880880      NAV-03883077        NAV-04773127       NAV-04778193
NAV-03880885      NAV-03883098        NAV-04773238       NAV-04778272
NAV-03880892      NAV-03883103        NAV-04773766       NAV-03891682
NAV-03880904      NAV-03883127        NAV-04774308       NAV-03891722
NAV-03880935      NAV-03883206        NAV-04774316       NAV-03891793
NAV-03880964      NAV-03884273        NAV-03888679       NAV-03891890
NAV-03880967      NAV-03884278        NAV-03888853       NAV-03892073
NAV-03880970      NAV-03884284        NAV-03888957       NAV-03892078
NAV-03880976      NAV-03884291        NAV-04774758       NAV-03892084
NAV-03880980      NAV-03884338        NAV-04774897       NAV-03892092
NAV-03881073      NAV-03884367        NAV-04775824       NAV-03892334
NAV-03881352      NAV-03884376        NAV-04776253       NAV-04778530
NAV-03881366      NAV-03884575        NAV-04776611       NAV-04778709
NAV-03881650      NAV-03884630        NAV-04776619       NAV-03893035
NAV-03881731      NAV-03884674        NAV-04776667       NAV-03893039
NAV-03882154      NAV-03884725        NAV-03890880       NAV-03893638
NAV-03882735      NAV-03884763        NAV-03891102       NAV-03893927
NAV-03882744      NAV-03884801        NAV-03891110       NAV-04778791
NAV-04768349      NAV-03884855        NAV-03891122       NAV-04778849
NAV-04768447      NAV-03885750        NAV-03891147       NAV-04779003
NAV-04768815      NAV-03885816        NAV-03891156       NAV-04779022
NAV-04769237      NAV-04769633        NAV-03891210       NAV-04779142
NAV-04769254      NAV-04770658        NAV-03891246       NAV-04779161
NAV-04769333      NAV-04770715        NAV-03891377       NAV-04779332
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 32 of 73



NAV-04779400      NAV-03897049        NAV-03897305       NAV-04789566
NAV-04779416      NAV-04780426        NAV-04786492       NAV-04789592
NAV-04779481      NAV-04780546        NAV-04786529       NAV-04789632
NAV-04779616      NAV-04780558        NAV-04786546       NAV-04789678
NAV-04779714      NAV-04780872        NAV-04786551       NAV-04789716
NAV-04779808      NAV-04780967        NAV-04786560       NAV-04789819
NAV-04780007      NAV-04780975        NAV-04786565       NAV-04789857
NAV-04780063      NAV-04780991        NAV-04786641       NAV-04789914
NAV-03894585      NAV-04780998        NAV-04786660       NAV-04789981
NAV-03894764      NAV-04781152        NAV-04786777       NAV-04790008
NAV-03894797      NAV-04782008        NAV-04786796       NAV-04790104
NAV-03894861      NAV-04782120        NAV-03897322       NAV-04790128
NAV-03894937      NAV-04782194        NAV-04786924       NAV-04790133
NAV-03895162      NAV-04782467        NAV-04786935       NAV-04790393
NAV-03895220      NAV-04782471        NAV-04787037       NAV-04791654
NAV-03895392      NAV-04782485        NAV-04787128       NAV-04791683
NAV-03895393      NAV-04782562        NAV-04787189       NAV-04791735
NAV-03895431      NAV-04782663        NAV-04787290       NAV-04791750
NAV-03895499      NAV-04782792        NAV-04787309       NAV-04791951
NAV-03896301      NAV-04783425        NAV-04787501       NAV-04792132
NAV-03896351      NAV-04783535        NAV-04788023       NAV-04792355
NAV-03896536      NAV-04783606        NAV-04788129       NAV-04792360
NAV-03896557      NAV-04783617        NAV-04788227       NAV-04792916
NAV-03896596      NAV-04783637        NAV-04788315       NAV-04792955
NAV-03896605      NAV-04783822        NAV-04788326       NAV-04792987
NAV-03896630      NAV-04783968        NAV-04788337       NAV-04793143
NAV-03896653      NAV-04783972        NAV-04788340       NAV-04793175
NAV-03896723      NAV-04784129        NAV-04788474       NAV-04793490
NAV-03896728      NAV-04784192        NAV-04788522       NAV-04793674
NAV-03896736      NAV-04784227        NAV-04788527       NAV-04793853
NAV-03896743      NAV-04784238        NAV-04788531       NAV-04794459
NAV-03896793      NAV-04784257        NAV-04788535       NAV-04794672
NAV-03896798      NAV-04784275        NAV-04788755       NAV-04795686
NAV-03896816      NAV-04784347        NAV-04788777       NAV-04795726
NAV-03896885      NAV-04784458        NAV-04789433       NAV-04796216
NAV-03896908      NAV-04784805        NAV-04789446       NAV-04800409
NAV-03896920      NAV-04784884        NAV-04789468       NAV-04801168
NAV-03896961      NAV-04784922        NAV-04789504       NAV-04801185
NAV-03896968      NAV-04784926        NAV-04789516       NAV-04802685
NAV-03896975      NAV-04785040        NAV-04789523       NAV-04802898
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 33 of 73



NAV-04802997      NAV-04846795        NAV-03900034       NAV-04856692
NAV-04803002      NAV-04846943        NAV-03900059       NAV-04856714
NAV-04807751      NAV-04847165        NAV-03900092       NAV-04858196
NAV-04807798      NAV-04847218        NAV-03900105       NAV-04858417
NAV-04807805      NAV-04847761        NAV-03900110       NAV-04858512
NAV-04807811      NAV-03899773        NAV-03900121       NAV-04858577
NAV-04807817      NAV-03899775        NAV-03900130       NAV-03900566
NAV-04807824      NAV-03899920        NAV-03900149       NAV-03900590
NAV-04807827      NAV-03899935        NAV-04854762       NAV-03900598
NAV-04807839      NAV-03899955        NAV-04854866       NAV-03900613
NAV-04807845      NAV-03899965        NAV-04854945       NAV-03900637
NAV-04807850      NAV-03899977        NAV-04854950       NAV-03900642
NAV-04807868      NAV-03899985        NAV-04854987       NAV-03900689
NAV-04807872      NAV-04848276        NAV-04854991       NAV-03900948
NAV-04807876      NAV-04848478        NAV-04855007       NAV-03900964
NAV-04808009      NAV-04849263        NAV-04855015       NAV-03900967
NAV-04808425      NAV-04851105        NAV-04855020       NAV-03900985
NAV-04808718      NAV-04851116        NAV-04855152       NAV-03901007
NAV-04809576      NAV-04851136        NAV-04855221       NAV-03901053
NAV-04809582      NAV-04851138        NAV-04855230       NAV-03901070
NAV-04810318      NAV-04851153        NAV-04855295       NAV-03901107
NAV-04813413      NAV-04851178        NAV-04855299       NAV-03901128
NAV-04814136      NAV-04851408        NAV-04855303       NAV-03901303
NAV-04814380      NAV-04851421        NAV-04855315       NAV-03901327
NAV-04814442      NAV-04851431        NAV-04855320       NAV-04860057
NAV-04823165      NAV-04851443        NAV-04855330       NAV-03901505
NAV-03898330      NAV-04851528        NAV-04855353       NAV-04860491
NAV-03898477      NAV-04851539        NAV-04855396       NAV-04860524
NAV-03898501      NAV-04851715        NAV-04855525       NAV-04860534
NAV-03898652      NAV-04851960        NAV-04855529       NAV-04860669
NAV-03898711      NAV-04851987        NAV-04855533       NAV-04860679
NAV-04835893      NAV-04852000        NAV-04855541       NAV-04866085
NAV-04845104      NAV-04852023        NAV-04855546       NAV-04866191
NAV-04845452      NAV-04852371        NAV-04855554       NAV-04866281
NAV-04845564      NAV-04852379        NAV-04855591       NAV-04866316
NAV-04846309      NAV-04852403        NAV-04855670       NAV-04866329
NAV-04846766      NAV-04852647        NAV-04855687       NAV-04866819
NAV-04846770      NAV-04852864        NAV-04855695       NAV-04866852
NAV-04846781      NAV-04852993        NAV-04855932       NAV-04866858
NAV-04846785      NAV-04852996        NAV-04855974       NAV-04866866
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 34 of 73



NAV-04866996      NAV-03901847        NAV-03903231       NAV-03904485
NAV-04867129      NAV-03901858        NAV-03903236       NAV-03904490
NAV-04867993      NAV-03901898        NAV-03903244       NAV-03904497
NAV-04868013      NAV-03902015        NAV-03903248       NAV-03904504
NAV-04868015      NAV-03902092        NAV-03903263       NAV-03904509
NAV-04868090      NAV-03902352        NAV-03903351       NAV-03904515
NAV-04869154      NAV-03902361        NAV-03903355       NAV-03904540
NAV-04869179      NAV-03902381        NAV-03903360       NAV-03904544
NAV-04869196      NAV-03902388        NAV-03903370       NAV-03904550
NAV-04869225      NAV-03902427        NAV-03903378       NAV-03904554
NAV-04869241      NAV-03902435        NAV-03903396       NAV-03904557
NAV-04869257      NAV-03902453        NAV-03903558       NAV-03904561
NAV-04869277      NAV-03902497        NAV-03903568       NAV-03904567
NAV-04869411      NAV-03902524        NAV-03903587       NAV-03904570
NAV-04869445      NAV-03902530        NAV-04883271       NAV-03904582
NAV-04869514      NAV-03902552        NAV-03903782       NAV-03904586
NAV-04869548      NAV-03902563        NAV-03903962       NAV-03904589
NAV-04869570      NAV-03902580        NAV-03903979       NAV-03904599
NAV-04869587      NAV-03902605        NAV-03903998       NAV-03904605
NAV-04869592      NAV-03902610        NAV-03904015       NAV-03904610
NAV-04869608      NAV-03902693        NAV-03904023       NAV-03904614
NAV-04869628      NAV-03902697        NAV-03904054       NAV-03904635
NAV-04869645      NAV-03902705        NAV-03904083       NAV-03904654
NAV-04869660      NAV-03902710        NAV-04883778       NAV-03904663
NAV-04870093      NAV-03902717        NAV-03904280       NAV-03904666
NAV-04871247      NAV-03902915        NAV-03904290       NAV-03904673
NAV-04871472      NAV-03902957        NAV-04883967       NAV-03904683
NAV-04871539      NAV-03902971        NAV-04884022       NAV-03904686
NAV-04872022      NAV-03902986        NAV-03904352       NAV-03904693
NAV-04873316      NAV-03903023        NAV-03904367       NAV-03904699
NAV-04873323      NAV-03903026        NAV-03904372       NAV-03904702
NAV-03901611      NAV-03903043        NAV-03904379       NAV-03904720
NAV-03901638      NAV-03903047        NAV-03904388       NAV-03904749
NAV-03901643      NAV-03903087        NAV-03904391       NAV-03904756
NAV-03901660      NAV-03903118        NAV-03904409       NAV-03904759
NAV-03901679      NAV-03903140        NAV-03904413       NAV-03904763
NAV-03901690      NAV-03903144        NAV-03904419       NAV-03904768
NAV-03901753      NAV-03903150        NAV-03904460       NAV-03904773
NAV-03901781      NAV-03903158        NAV-03904465       NAV-03904778
NAV-03901804      NAV-03903162        NAV-03904481       NAV-03904834
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 35 of 73



NAV-03904842      NAV-03907982        NAV-03909541       NAV-03910116
NAV-03904852      NAV-03908016        NAV-03909551       NAV-03910126
NAV-03904858      NAV-04890064        NAV-03909562       NAV-03910128
NAV-03904908      NAV-04890821        NAV-03909575       NAV-03910130
NAV-03904912      NAV-04890838        NAV-03909588       NAV-03910132
NAV-03904940      NAV-03908571        NAV-03909605       NAV-03910134
NAV-03904965      NAV-03908597        NAV-03909634       NAV-03910142
NAV-03904972      NAV-03908608        NAV-03909639       NAV-03910144
NAV-03904979      NAV-03908624        NAV-03909644       NAV-03910148
NAV-03904982      NAV-03908627        NAV-03909649       NAV-03910151
NAV-03904989      NAV-03908675        NAV-03909654       NAV-03910162
NAV-03904995      NAV-03908701        NAV-03909660       NAV-03910174
NAV-03905001      NAV-03908742        NAV-03909666       NAV-03910187
NAV-03905011      NAV-03908744        NAV-03909670       NAV-03910190
NAV-03905022      NAV-03908748        NAV-03909676       NAV-03910197
NAV-03905104      NAV-03908763        NAV-03909721       NAV-03910204
NAV-03905112      NAV-03909098        NAV-03909728       NAV-03910262
NAV-03905120      NAV-03909103        NAV-03909762       NAV-03910271
NAV-03905128      NAV-03909110        NAV-03909783       NAV-04891371
NAV-03905134      NAV-03909137        NAV-03909791       NAV-04891414
NAV-03905296      NAV-03909142        NAV-03909823       NAV-04892367
NAV-03905644      NAV-03909158        NAV-03909838       NAV-04892391
NAV-03906229      NAV-03909176        NAV-03909857       NAV-04892506
NAV-04886490      NAV-03909196        NAV-03909901       NAV-04892650
NAV-04886756      NAV-03909247        NAV-03909908       NAV-03910379
NAV-03906715      NAV-03909256        NAV-03909942       NAV-03910385
NAV-03906728      NAV-03909260        NAV-03909985       NAV-03910392
NAV-03906932      NAV-03909264        NAV-03909988       NAV-03910404
NAV-03907140      NAV-03909268        NAV-03909992       NAV-03910411
NAV-03907153      NAV-03909272        NAV-03909996       NAV-03910425
NAV-03907167      NAV-03909276        NAV-03910000       NAV-03910430
NAV-03907576      NAV-03909283        NAV-03910004       NAV-03910433
NAV-03907679      NAV-03909325        NAV-03910014       NAV-03910437
NAV-03907790      NAV-03909448        NAV-03910017       NAV-03910475
NAV-03907817      NAV-03909454        NAV-03910020       NAV-03910504
NAV-03907826      NAV-03909463        NAV-03910031       NAV-03910668
NAV-03907872      NAV-03909468        NAV-03910042       NAV-03910695
NAV-03907890      NAV-03909478        NAV-03910061       NAV-03910697
NAV-03907911      NAV-03909488        NAV-03910091       NAV-03910701
NAV-03907913      NAV-03909518        NAV-03910106       NAV-03910775
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 36 of 73



NAV-03910780      NAV-03911642        NAV-03912420       NAV-03914803
NAV-03910786      NAV-03911645        NAV-03912453       NAV-03914854
NAV-03910793      NAV-03911648        NAV-03912456       NAV-03915133
NAV-03910831      NAV-03911650        NAV-03912458       NAV-03915151
NAV-03910838      NAV-03911678        NAV-03912483       NAV-03915160
NAV-03910850      NAV-03911684        NAV-03912495       NAV-03915172
NAV-03911325      NAV-03911714        NAV-03912497       NAV-03915175
NAV-03911327      NAV-03911720        NAV-03912504       NAV-04897703
NAV-03911329      NAV-03911756        NAV-03912535       NAV-04898967
NAV-03911332      NAV-03911790        NAV-03912736       NAV-04899074
NAV-03911336      NAV-03911804        NAV-03912753       NAV-04900003
NAV-03911338      NAV-03911830        NAV-03912758       NAV-03915183
NAV-03911340      NAV-03911849        NAV-03912762       NAV-03915194
NAV-03911342      NAV-03911851        NAV-03912786       NAV-03915196
NAV-03911344      NAV-03911853        NAV-03912792       NAV-03915200
NAV-03911346      NAV-03911856        NAV-03912797       NAV-03915318
NAV-03911348      NAV-03911858        NAV-04893861       NAV-03916961
NAV-03911428      NAV-03911863        NAV-04894309       NAV-03916963
NAV-03911431      NAV-03911875        NAV-04894617       NAV-03916965
NAV-03911434      NAV-03911981        NAV-04894635       NAV-03916967
NAV-03911437      NAV-03911982        NAV-04895564       NAV-03916969
NAV-03911440      NAV-03911984        NAV-04895709       NAV-03916971
NAV-03911443      NAV-03912144        NAV-04896376       NAV-03916973
NAV-03911446      NAV-03912159        NAV-04896686       NAV-03916975
NAV-03911458      NAV-03912169        NAV-03912817       NAV-03917152
NAV-03911462      NAV-03912176        NAV-03912831       NAV-03917488
NAV-03911472      NAV-03912179        NAV-03912889       NAV-03917491
NAV-03911521      NAV-03912183        NAV-03913202       NAV-03917580
NAV-03911526      NAV-03912196        NAV-03913673       NAV-03917752
NAV-03911539      NAV-03912215        NAV-03913676       NAV-04900394
NAV-03911550      NAV-03912217        NAV-03913682       NAV-04901518
NAV-03911557      NAV-03912225        NAV-03913764       NAV-04902155
NAV-03911565      NAV-03912228        NAV-03913767       NAV-04903397
NAV-03911569      NAV-03912243        NAV-03913776       NAV-03918161
NAV-03911574      NAV-03912267        NAV-03913780       NAV-03918167
NAV-03911578      NAV-03912308        NAV-03914391       NAV-03918173
NAV-03911582      NAV-03912329        NAV-03914506       NAV-03918191
NAV-03911620      NAV-03912349        NAV-03914779       NAV-03918195
NAV-03911630      NAV-03912370        NAV-03914790       NAV-03918203
NAV-03911640      NAV-03912395        NAV-03914800       NAV-03918211
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 37 of 73



NAV-03918224      NAV-03920243        NAV-03921626       NAV-03923292
NAV-03918256      NAV-03920247        NAV-03921632       NAV-03923298
NAV-03918320      NAV-03920256        NAV-03921639       NAV-03923793
NAV-03918335      NAV-03920264        NAV-03921645       NAV-03923803
NAV-03918339      NAV-03920266        NAV-03921650       NAV-03923974
NAV-03918348      NAV-03920268        NAV-03921655       NAV-03923989
NAV-03918358      NAV-03920270        NAV-03921660       NAV-03924029
NAV-03918369      NAV-03920319        NAV-03921666       NAV-03924033
NAV-03918410      NAV-03920386        NAV-03921671       NAV-03924037
NAV-03918650      NAV-03920987        NAV-03921677       NAV-03924041
NAV-03918838      NAV-03920991        NAV-03921682       NAV-03924408
NAV-03918844      NAV-03920998        NAV-03921687       NAV-03924430
NAV-03918854      NAV-03921004        NAV-03921694       NAV-03924440
NAV-03918860      NAV-03921007        NAV-03921777       NAV-03924443
NAV-03918864      NAV-03921018        NAV-04906317       NAV-03924451
NAV-03918870      NAV-03921077        NAV-04906985       NAV-03924522
NAV-03918880      NAV-03921086        NAV-04906993       NAV-03924585
NAV-03918895      NAV-03921103        NAV-03921814       NAV-03924629
NAV-03918944      NAV-03921107        NAV-03921827       NAV-03924644
NAV-03918959      NAV-03921131        NAV-03921831       NAV-03924659
NAV-03918968      NAV-03921132        NAV-03921835       NAV-03924705
NAV-03918973      NAV-03921154        NAV-03921840       NAV-03924789
NAV-03918982      NAV-03921384        NAV-03921853       NAV-04912871
NAV-03919370      NAV-03921386        NAV-03921858       NAV-03924807
NAV-03919766      NAV-03921390        NAV-03922488       NAV-03925248
NAV-03919771      NAV-03921415        NAV-03922496       NAV-03925296
NAV-03919776      NAV-03921419        NAV-03922512       NAV-03925303
NAV-03919781      NAV-03921422        NAV-03922542       NAV-03925503
NAV-03919787      NAV-03921477        NAV-03922560       NAV-03925517
NAV-03919792      NAV-03921487        NAV-03922568       NAV-03925533
NAV-03919797      NAV-03921534        NAV-03922575       NAV-03925542
NAV-03919803      NAV-03921537        NAV-03922647       NAV-03925548
NAV-03919809      NAV-03921543        NAV-03922698       NAV-03925553
NAV-03919814      NAV-03921557        NAV-03922712       NAV-03925562
NAV-04905195      NAV-03921576        NAV-03922726       NAV-03925575
NAV-03920115      NAV-03921582        NAV-03922731       NAV-03925602
NAV-03920127      NAV-03921595        NAV-03922736       NAV-03925615
NAV-03920227      NAV-03921609        NAV-03922741       NAV-03925620
NAV-03920232      NAV-03921615        NAV-03923276       NAV-03925634
NAV-03920239      NAV-03921621        NAV-03923282       NAV-03926208
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 38 of 73



NAV-03926217      NAV-03927660        NAV-03929376       NAV-03930574
NAV-03926222      NAV-03927679        NAV-03929515       NAV-03930580
NAV-03926232      NAV-03927754        NAV-03929559       NAV-03930613
NAV-03926246      NAV-03927760        NAV-03929564       NAV-03930621
NAV-03926255      NAV-03927783        NAV-03929570       NAV-03930644
NAV-03926281      NAV-03927829        NAV-03929591       NAV-03930647
NAV-03926403      NAV-03927849        NAV-03929616       NAV-03930652
NAV-03926421      NAV-03927852        NAV-03929649       NAV-03930655
NAV-03926424      NAV-03927858        NAV-03929663       NAV-03930658
NAV-03926489      NAV-03927862        NAV-03930100       NAV-03930661
NAV-03926520      NAV-03927866        NAV-03930113       NAV-03930692
NAV-03926588      NAV-03928094        NAV-03930117       NAV-03930697
NAV-03926701      NAV-03928133        NAV-03930120       NAV-03930739
NAV-03926707      NAV-03928137        NAV-03930128       NAV-03930751
NAV-03926717      NAV-03928145        NAV-03930137       NAV-03930760
NAV-03926724      NAV-03928151        NAV-03930142       NAV-03930770
NAV-03926742      NAV-03928173        NAV-03930148       NAV-03930775
NAV-03926941      NAV-03928181        NAV-03930154       NAV-03930778
NAV-03926959      NAV-03928188        NAV-03930246       NAV-03930781
NAV-03926972      NAV-03928207        NAV-03930264       NAV-03930788
NAV-03926989      NAV-03928235        NAV-03930288       NAV-03930811
NAV-03927000      NAV-03928382        NAV-03930299       NAV-03930852
NAV-03927014      NAV-03928462        NAV-03930333       NAV-03931717
NAV-03927020      NAV-03928567        NAV-03930338       NAV-03931744
NAV-03927027      NAV-03928631        NAV-03930344       NAV-03931854
NAV-03927031      NAV-03928637        NAV-03930350       NAV-03931950
NAV-03927062      NAV-03928640        NAV-03930355       NAV-03932005
NAV-03927076      NAV-03928895        NAV-03930408       NAV-03932040
NAV-03927084      NAV-03928897        NAV-03930423       NAV-03932053
NAV-03927102      NAV-03928944        NAV-03930433       NAV-03932073
NAV-03927528      NAV-03928985        NAV-03930440       NAV-03932076
NAV-03927534      NAV-03928991        NAV-03930480       NAV-03932107
NAV-03927571      NAV-03928996        NAV-03930483       NAV-03932120
NAV-03927597      NAV-03929008        NAV-03930511       NAV-03933398
NAV-03927605      NAV-03929304        NAV-03930514       NAV-03933411
NAV-03927610      NAV-03929323        NAV-03930519       NAV-03933559
NAV-03927617      NAV-03929330        NAV-03930524       NAV-03934353
NAV-03927656      NAV-03929346        NAV-03930531       NAV-03934478
NAV-04918195      NAV-03929365        NAV-03930534       NAV-03934623
NAV-04918206      NAV-03929374        NAV-03930569       NAV-03934629
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 39 of 73



NAV-03934634      NAV-03936364        NAV-04965940       NAV-03944905
NAV-03934639      NAV-03936473        NAV-04967159       NAV-03944923
NAV-03934644      NAV-03936485        NAV-04967859       NAV-03944935
NAV-03934650      NAV-03936517        NAV-04968091       NAV-03944949
NAV-03934668      NAV-03936870        NAV-04978571       NAV-04986443
NAV-03934678      NAV-03936896        NAV-04980628       NAV-03944976
NAV-03934768      NAV-03936901        NAV-04983917       NAV-03945008
NAV-03934927      NAV-04959085        NAV-04984043       NAV-03945019
NAV-03935154      NAV-03937000        NAV-03943130       NAV-03945032
NAV-03935164      NAV-03937008        NAV-03943145       NAV-03945036
NAV-03935295      NAV-03937055        NAV-03943152       NAV-03945079
NAV-03935299      NAV-03937078        NAV-03943165       NAV-03945103
NAV-03935302      NAV-03937097        NAV-03943805       NAV-03945113
NAV-03935323      NAV-03937110        NAV-03944008       NAV-03945119
NAV-03935375      NAV-03937124        NAV-03944019       NAV-03945145
NAV-03935508      NAV-03937143        NAV-03944022       NAV-03945155
NAV-03935600      NAV-03937163        NAV-03944029       NAV-03945200
NAV-03935606      NAV-03937239        NAV-03944045       NAV-03945334
NAV-03935705      NAV-03937277        NAV-03944054       NAV-03945670
NAV-03935710      NAV-03937282        NAV-03944187       NAV-03945899
NAV-03935725      NAV-03937287        NAV-03944204       NAV-03945904
NAV-04958999      NAV-03937292        NAV-03944216       NAV-03946300
NAV-03935735      NAV-03937302        NAV-03944285       NAV-03946458
NAV-03935739      NAV-03937306        NAV-03944401       NAV-03946603
NAV-03935820      NAV-03937322        NAV-03944579       NAV-03946895
NAV-03935821      NAV-03937327        NAV-03944582       NAV-03946909
NAV-03935828      NAV-03937361        NAV-03944592       NAV-03946912
NAV-03935859      NAV-03937375        NAV-03944617       NAV-03947241
NAV-03935864      NAV-03937381        NAV-03944626       NAV-03947308
NAV-03935869      NAV-03937386        NAV-03944651       NAV-03947339
NAV-03935879      NAV-03937390        NAV-03944664       NAV-03947350
NAV-03935902      NAV-03937396        NAV-03944684       NAV-03947354
NAV-03935931      NAV-03937406        NAV-03944752       NAV-03947369
NAV-03935934      NAV-03937452        NAV-03944797       NAV-03947378
NAV-03935938      NAV-03937594        NAV-03944806       NAV-03947394
NAV-03935951      NAV-03937603        NAV-03944822       NAV-03947399
NAV-03936047      NAV-03937614        NAV-03944839       NAV-03947414
NAV-03936090      NAV-04965072        NAV-03944857       NAV-03947420
NAV-03936177      NAV-04965129        NAV-03944867       NAV-03947424
NAV-03936228      NAV-04965211        NAV-03944891       NAV-03947430
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 40 of 73



NAV-03947607      NAV-03948886        NAV-03950575       NAV-03952226
NAV-03947612      NAV-03948888        NAV-03950580       NAV-03952231
NAV-03947617      NAV-03948891        NAV-03950586       NAV-03952240
NAV-03947836      NAV-03948897        NAV-03950592       NAV-03952252
NAV-03947839      NAV-03948901        NAV-03950594       NAV-03952256
NAV-03947847      NAV-03948905        NAV-03950599       NAV-03952259
NAV-03947931      NAV-03948908        NAV-03950602       NAV-04997246
NAV-03948000      NAV-03948911        NAV-03950605       NAV-04997501
NAV-03948239      NAV-03948915        NAV-03950608       NAV-04997601
NAV-03948357      NAV-03948920        NAV-03950612       NAV-04997635
NAV-03948360      NAV-03948923        NAV-03950615       NAV-04997685
NAV-03948368      NAV-03948926        NAV-03950619       NAV-04997935
NAV-03948383      NAV-03948929        NAV-03950622       NAV-04998070
NAV-03948443      NAV-03948932        NAV-03950629       NAV-04998207
NAV-03948470      NAV-03948936        NAV-03950634       NAV-04998362
NAV-03948493      NAV-03948951        NAV-03950637       NAV-04998542
NAV-03948498      NAV-03949035        NAV-04994254       NAV-04998582
NAV-03948506      NAV-03949144        NAV-03950979       NAV-03952290
NAV-03948510      NAV-03949287        NAV-03950991       NAV-03952294
NAV-03948520      NAV-03949295        NAV-03951006       NAV-03952315
NAV-03948536      NAV-03949305        NAV-03951016       NAV-03952323
NAV-03948545      NAV-03949310        NAV-03951025       NAV-03952330
NAV-03948582      NAV-03949322        NAV-03951031       NAV-03952358
NAV-03948723      NAV-03949332        NAV-03951036       NAV-03952404
NAV-03948820      NAV-03949339        NAV-03951047       NAV-03952417
NAV-03948832      NAV-03949355        NAV-03951052       NAV-03952461
NAV-03948834      NAV-03949361        NAV-03951056       NAV-03952493
NAV-03948840      NAV-03949391        NAV-03951071       NAV-03952502
NAV-03948843      NAV-03949422        NAV-03951076       NAV-03952510
NAV-03948846      NAV-03949431        NAV-03951081       NAV-03952555
NAV-03948850      NAV-03949830        NAV-03951086       NAV-03952975
NAV-03948853      NAV-03949836        NAV-03951870       NAV-03953616
NAV-03948856      NAV-03949844        NAV-03951875       NAV-03953628
NAV-03948860      NAV-03949849        NAV-03952100       NAV-03953639
NAV-03948864      NAV-03949854        NAV-03952155       NAV-03953648
NAV-03948869      NAV-03949855        NAV-03952159       NAV-03953653
NAV-03948872      NAV-03949860        NAV-03952165       NAV-03953659
NAV-03948876      NAV-03950025        NAV-03952175       NAV-03953697
NAV-03948880      NAV-03950043        NAV-03952187       NAV-03953717
NAV-03948883      NAV-03950572        NAV-03952195       NAV-04998676
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 41 of 73



NAV-04998872      NAV-03956478        NAV-05014079       NAV-05039633
NAV-04999798      NAV-03956489        NAV-05014268       NAV-05039639
NAV-04999925      NAV-03956504        NAV-03959024       NAV-05039642
NAV-03953906      NAV-03956532        NAV-03959044       NAV-05039648
NAV-03954306      NAV-03956541        NAV-03959070       NAV-05039651
NAV-03954313      NAV-03956547        NAV-03959076       NAV-05039654
NAV-03954428      NAV-03956551        NAV-03959080       NAV-03961715
NAV-03954432      NAV-03956579        NAV-03959085       NAV-03961981
NAV-03954436      NAV-03956692        NAV-03959089       NAV-03961992
NAV-03954441      NAV-03956745        NAV-03959108       NAV-03962170
NAV-03954445      NAV-03956748        NAV-03959570       NAV-05054934
NAV-03954459      NAV-05011751        NAV-03960246       NAV-05055126
NAV-03954485      NAV-05011760        NAV-03960248       NAV-05055223
NAV-03954862      NAV-03957202        NAV-03960250       NAV-05055320
NAV-03954865      NAV-03957219        NAV-03960273       NAV-05055417
NAV-03954923      NAV-03957247        NAV-03960600       NAV-05055813
NAV-03955014      NAV-03957335        NAV-03960729       NAV-05056011
NAV-03955134      NAV-03957340        NAV-05020235       NAV-05056110
NAV-03955145      NAV-03957369        NAV-03960908       NAV-05056209
NAV-03955547      NAV-03957378        NAV-03961001       NAV-05056308
NAV-03955551      NAV-03957398        NAV-03961043       NAV-05056407
NAV-03955556      NAV-03957405        NAV-03961109       NAV-05056506
NAV-03955561      NAV-03957422        NAV-03961238       NAV-05056605
NAV-03955589      NAV-03957428        NAV-03961243       NAV-05056704
NAV-03955606      NAV-03957511        NAV-03961517       NAV-05057166
NAV-03955610      NAV-03957701        NAV-05039562       NAV-05057365
NAV-03955651      NAV-03957707        NAV-05039564       NAV-05057464
NAV-03955655      NAV-03958431        NAV-05039566       NAV-05057822
NAV-03955659      NAV-03958440        NAV-05039568       NAV-05069689
NAV-03955715      NAV-03958526        NAV-05039570       NAV-05070281
NAV-03955720      NAV-03958533        NAV-05039572       NAV-05070314
NAV-03955727      NAV-03958539        NAV-05039574       NAV-05070319
NAV-03955796      NAV-03958561        NAV-05039578       NAV-03970272
NAV-03955801      NAV-03958584        NAV-05039580       NAV-03971279
NAV-03955807      NAV-03958792        NAV-05039582       NAV-03971336
NAV-03955825      NAV-03958794        NAV-05039584       NAV-03971666
NAV-03955858      NAV-03958797        NAV-05039621       NAV-03972046
NAV-03955869      NAV-03958833        NAV-05039624       NAV-03972102
NAV-03955875      NAV-03958871        NAV-05039627       NAV-03972402
NAV-03955904      NAV-05014070        NAV-05039630       NAV-03972638
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 42 of 73



NAV-05100413      NAV-03974421        NAV-05171260       NAV-05172416
NAV-05100947      NAV-03974429        NAV-05171263       NAV-05172526
NAV-05102264      NAV-03974448        NAV-05171267       NAV-05172580
NAV-03973052      NAV-03974464        NAV-05171270       NAV-05172584
NAV-03973618      NAV-03974474        NAV-05171274       NAV-05172586
NAV-03973624      NAV-03974483        NAV-05171300       NAV-05172589
NAV-03973713      NAV-03974524        NAV-05171304       NAV-05172607
NAV-03973715      NAV-03974537        NAV-05171402       NAV-05172615
NAV-05152759      NAV-03974544        NAV-05171519       NAV-05172764
NAV-05153659      NAV-03974569        NAV-05171529       NAV-05172782
NAV-05153664      NAV-03974591        NAV-05171545       NAV-05172807
NAV-05153670      NAV-03974609        NAV-05171608       NAV-05172817
NAV-05153678      NAV-03974620        NAV-05171611       NAV-05172824
NAV-05154754      NAV-03974631        NAV-05171663       NAV-05172828
NAV-05155378      NAV-03974644        NAV-05171670       NAV-05172850
NAV-03973915      NAV-03974664        NAV-05171675       NAV-05172878
NAV-03974014      NAV-03974784        NAV-05171688       NAV-05172884
NAV-03974031      NAV-03974789        NAV-05171788       NAV-05172888
NAV-03974082      NAV-03974801        NAV-05171790       NAV-05172894
NAV-05160597      NAV-03974831        NAV-05171831       NAV-05172899
NAV-03974099      NAV-03975153        NAV-05171832       NAV-05172901
NAV-03974119      NAV-05168459        NAV-05171845       NAV-05172908
NAV-03974123      NAV-05168900        NAV-05171934       NAV-05172915
NAV-03974132      NAV-05170291        NAV-05171938       NAV-05173113
NAV-03974138      NAV-05170302        NAV-05171945       NAV-05173132
NAV-03974141      NAV-05170309        NAV-05171949       NAV-05173148
NAV-03974149      NAV-05170322        NAV-05171964       NAV-03975769
NAV-03974154      NAV-05170334        NAV-05171970       NAV-05173777
NAV-03974175      NAV-05170366        NAV-05171976       NAV-05173858
NAV-03974202      NAV-05170370        NAV-05171987       NAV-05173867
NAV-03974279      NAV-05170377        NAV-05171993       NAV-05173871
NAV-03974290      NAV-05170555        NAV-03975704       NAV-05173875
NAV-03974298      NAV-05170564        NAV-05172019       NAV-05174138
NAV-03974330      NAV-05170569        NAV-05172076       NAV-05174139
NAV-03974358      NAV-05170580        NAV-05172099       NAV-05174146
NAV-03974363      NAV-03975565        NAV-05172117       NAV-05174403
NAV-03974367      NAV-05170753        NAV-05172126       NAV-05174815
NAV-03974373      NAV-05170790        NAV-05172140       NAV-05175304
NAV-03974378      NAV-05170827        NAV-05172165       NAV-05175308
NAV-03974413      NAV-05171256        NAV-05172379       NAV-05175532
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 43 of 73



NAV-05175536      NAV-05190845        NAV-05204913       NAV-03987184
NAV-05176659      NAV-05190988        NAV-05204916       NAV-03987423
NAV-05177537      NAV-05191198        NAV-03983250       NAV-03987443
NAV-05177590      NAV-05193002        NAV-05205812       NAV-03987512
NAV-05177618      NAV-05193010        NAV-05205813       NAV-03987514
NAV-05178533      NAV-03976575        NAV-05205817       NAV-05213503
NAV-05178680      NAV-03977022        NAV-05205820       NAV-05213751
NAV-05178682      NAV-05195018        NAV-05205823       NAV-05214223
NAV-05179311      NAV-05195048        NAV-05205863       NAV-05214239
NAV-03975993      NAV-05195191        NAV-05205868       NAV-05214275
NAV-03975996      NAV-05195256        NAV-05206339       NAV-05214329
NAV-03976006      NAV-05195370        NAV-05206721       NAV-05214340
NAV-05183529      NAV-05195605        NAV-05206784       NAV-05214372
NAV-05183581      NAV-03979217        NAV-05206831       NAV-05214416
NAV-03976157      NAV-05198195        NAV-05206900       NAV-03987997
NAV-03976166      NAV-05198201        NAV-05207119       NAV-03988173
NAV-05185090      NAV-05198391        NAV-03983422       NAV-03988356
NAV-05185484      NAV-03979587        NAV-03984135       NAV-05214757
NAV-03976201      NAV-03979641        NAV-03984183       NAV-05215327
NAV-03976279      NAV-03980262        NAV-03984199       NAV-05215332
NAV-03976297      NAV-03980282        NAV-03984217       NAV-05216326
NAV-05186074      NAV-05200279        NAV-03984227       NAV-05216434
NAV-05186417      NAV-05200281        NAV-05209788       NAV-05216501
NAV-05187242      NAV-03980456        NAV-05209792       NAV-03990006
NAV-05187256      NAV-03980462        NAV-05209965       NAV-03990152
NAV-05187290      NAV-03981001        NAV-05210139       NAV-05216971
NAV-05188616      NAV-03981004        NAV-05210636       NAV-05217237
NAV-05188638      NAV-03981006        NAV-05210646       NAV-05217244
NAV-03976373      NAV-05201011        NAV-05210758       NAV-05217248
NAV-03976411      NAV-05201013        NAV-03987137       NAV-05217256
NAV-03976490      NAV-05202071        NAV-05211846       NAV-05217347
NAV-03976510      NAV-03981396        NAV-05212243       NAV-05217452
NAV-03976527      NAV-03981461        NAV-05212253       NAV-05217881
NAV-05189709      NAV-05202107        NAV-05212263       NAV-05218310
NAV-05189715      NAV-05203722        NAV-05212364       NAV-05218318
NAV-05189718      NAV-05203727        NAV-05212498       NAV-05218324
NAV-05189724      NAV-05203729        NAV-05212718       NAV-03990310
NAV-05189727      NAV-05203747        NAV-05212723       NAV-03990531
NAV-05189953      NAV-05204333        NAV-05212730       NAV-03990657
NAV-05190682      NAV-05204450        NAV-03987168       NAV-03990742
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 44 of 73



NAV-03990758      NAV-05225071        NAV-04000966       NAV-04005113
NAV-05218370      NAV-05225085        NAV-04001059       NAV-04005145
NAV-05218401      NAV-05225112        NAV-04001226       NAV-04005151
NAV-05218406      NAV-05225124        NAV-04001289       NAV-05248512
NAV-05220101      NAV-05225131        NAV-04001297       NAV-05248518
NAV-05220194      NAV-05225587        NAV-04001298       NAV-05249359
NAV-05220215      NAV-05225632        NAV-05238334       NAV-05249371
NAV-05220641      NAV-05225638        NAV-04001457       NAV-05249376
NAV-03990991      NAV-05225972        NAV-05241482       NAV-05249379
NAV-03991411      NAV-05225978        NAV-05241526       NAV-05249384
NAV-03991423      NAV-05226071        NAV-05241542       NAV-05249387
NAV-03991435      NAV-05226074        NAV-04002430       NAV-05249412
NAV-03991514      NAV-05226078        NAV-04002511       NAV-05249423
NAV-03991519      NAV-05226085        NAV-04002565       NAV-04005330
NAV-03991535      NAV-05226135        NAV-04002598       NAV-04005339
NAV-03991542      NAV-05226242        NAV-04002607       NAV-04005361
NAV-05221312      NAV-05227001        NAV-04002614       NAV-05249637
NAV-05222313      NAV-05227071        NAV-04003641       NAV-05249677
NAV-05222319      NAV-05229130        NAV-05242529       NAV-05249705
NAV-05222635      NAV-05230843        NAV-05242555       NAV-05250798
NAV-05222824      NAV-05230880        NAV-05244956       NAV-04005802
NAV-05222990      NAV-05231123        NAV-05245070       NAV-04005806
NAV-05222991      NAV-05231299        NAV-05245281       NAV-04005808
NAV-05223006      NAV-05231382        NAV-05245719       NAV-04005863
NAV-05223009      NAV-05231387        NAV-05245756       NAV-04005925
NAV-05223240      NAV-05231661        NAV-04003923       NAV-04005935
NAV-05223344      NAV-05231666        NAV-04004456       NAV-04006162
NAV-05223545      NAV-05231750        NAV-04004523       NAV-05250823
NAV-05223920      NAV-05232994        NAV-05247151       NAV-05250848
NAV-05223922      NAV-05232995        NAV-05247152       NAV-05250855
NAV-05223945      NAV-05232999        NAV-05247174       NAV-05251185
NAV-03992801      NAV-05233098        NAV-05247273       NAV-05251448
NAV-05224305      NAV-05233643        NAV-05247293       NAV-05251454
NAV-05224648      NAV-05233648        NAV-05247561       NAV-04006365
NAV-05224705      NAV-05233669        NAV-05247564       NAV-04006370
NAV-05224787      NAV-05235725        NAV-05247567       NAV-04006382
NAV-05224810      NAV-04000419        NAV-05248259       NAV-04006461
NAV-05224906      NAV-04000501        NAV-04005062       NAV-04006573
NAV-05225064      NAV-04000541        NAV-04005083       NAV-05253756
NAV-05225065      NAV-04000926        NAV-04005106       NAV-05253895
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 45 of 73



NAV-05253902      NAV-04009830        NAV-04011407       NAV-04011647
NAV-04007015      NAV-04009875        NAV-04011425       NAV-04011651
NAV-04007017      NAV-04010011        NAV-04011428       NAV-04011659
NAV-05254316      NAV-04010171        NAV-04011431       NAV-04011663
NAV-05254371      NAV-04010730        NAV-04011447       NAV-04011670
NAV-05254376      NAV-04010754        NAV-04011451       NAV-04011678
NAV-05254385      NAV-04010918        NAV-04011482       NAV-04011685
NAV-05254400      NAV-04011131        NAV-05259129       NAV-04011689
NAV-05254407      NAV-04011140        NAV-05259299       NAV-04011703
NAV-04007087      NAV-04011147        NAV-05259402       NAV-04011710
NAV-04007173      NAV-04011152        NAV-05259423       NAV-04011724
NAV-04007189      NAV-04011159        NAV-05259432       NAV-04011733
NAV-04007254      NAV-04011174        NAV-05259526       NAV-04011744
NAV-04007256      NAV-04011177        NAV-05259537       NAV-04011748
NAV-04007262      NAV-04011181        NAV-05259541       NAV-04011881
NAV-05254598      NAV-04011194        NAV-05259682       NAV-04012093
NAV-05254624      NAV-04011208        NAV-05259731       NAV-04012320
NAV-04007382      NAV-04011222        NAV-05259780       NAV-04012327
NAV-04007611      NAV-04011230        NAV-05259794       NAV-05262329
NAV-04007754      NAV-04011238        NAV-05259806       NAV-05262394
NAV-04007772      NAV-04011249        NAV-05259809       NAV-05262475
NAV-04007822      NAV-04011261        NAV-05259886       NAV-05262562
NAV-04007866      NAV-04011264        NAV-05260176       NAV-05262616
NAV-05254856      NAV-04011286        NAV-05260185       NAV-05262643
NAV-05254861      NAV-04011298        NAV-05260192       NAV-05262763
NAV-04008048      NAV-04011301        NAV-04011490       NAV-04012433
NAV-04008301      NAV-04011320        NAV-04011516       NAV-04012442
NAV-04008486      NAV-04011327        NAV-04011534       NAV-04012566
NAV-05256132      NAV-04011331        NAV-04011538       NAV-04012619
NAV-05256139      NAV-04011335        NAV-04011544       NAV-04012707
NAV-04008643      NAV-04011338        NAV-04011549       NAV-05262815
NAV-04008681      NAV-04011345        NAV-04011554       NAV-05262822
NAV-04008749      NAV-04011355        NAV-04011561       NAV-05262923
NAV-04009322      NAV-04011361        NAV-04011585       NAV-05262938
NAV-05256862      NAV-04011376        NAV-04011592       NAV-05263191
NAV-05256870      NAV-04011380        NAV-04011601       NAV-04012888
NAV-04009766      NAV-04011383        NAV-04011610       NAV-05264568
NAV-04009778      NAV-04011390        NAV-04011615       NAV-05264575
NAV-04009785      NAV-04011393        NAV-04011618       NAV-05265132
NAV-04009819      NAV-04011397        NAV-04011631       NAV-05265140
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 46 of 73



NAV-05265383      NAV-04014613        NAV-04016406       NAV-04018005
NAV-05265388      NAV-04014625        NAV-04016410       NAV-04018021
NAV-05265393      NAV-04014858        NAV-04016419       NAV-04018025
NAV-05265607      NAV-04015710        NAV-04016433       NAV-04018040
NAV-05265642      NAV-04015746        NAV-04016450       NAV-04018084
NAV-05265718      NAV-04015802        NAV-04016454       NAV-04018089
NAV-05265810      NAV-04015882        NAV-04016457       NAV-04018094
NAV-05265814      NAV-04015928        NAV-04016461       NAV-04018108
NAV-05265818      NAV-04016029        NAV-04016494       NAV-04018113
NAV-05265821      NAV-04016032        NAV-04016500       NAV-04018117
NAV-05265825      NAV-04016036        NAV-04016503       NAV-04018122
NAV-05265828      NAV-04016040        NAV-04016517       NAV-04018130
NAV-05265832      NAV-04016051        NAV-04016521       NAV-04018135
NAV-05265995      NAV-04016076        NAV-04016528       NAV-04018149
NAV-04012983      NAV-04016107        NAV-04016534       NAV-04018153
NAV-04013868      NAV-04016139        NAV-04016538       NAV-04018157
NAV-05267782      NAV-04016150        NAV-04016542       NAV-04018168
NAV-05267794      NAV-04016163        NAV-04016546       NAV-04018173
NAV-05267806      NAV-04016175        NAV-04016553       NAV-04018181
NAV-05267808      NAV-04016188        NAV-04016557       NAV-04018196
NAV-05269805      NAV-04016205        NAV-04016566       NAV-04018204
NAV-05269810      NAV-04016226        NAV-04016570       NAV-04018207
NAV-05269815      NAV-04016238        NAV-04016581       NAV-04018257
NAV-05269825      NAV-04016245        NAV-04016589       NAV-04018262
NAV-05269844      NAV-04016261        NAV-04016611       NAV-05277197
NAV-05270027      NAV-04016268        NAV-04016614       NAV-05277321
NAV-05270031      NAV-04016275        NAV-04016802       NAV-05277328
NAV-05270035      NAV-04016287        NAV-04016945       NAV-05277335
NAV-05270039      NAV-04016293        NAV-05275682       NAV-05277346
NAV-05270150      NAV-04016297        NAV-05275714       NAV-04018489
NAV-05270288      NAV-04016307        NAV-05275777       NAV-04018502
NAV-05270324      NAV-04016329        NAV-05275856       NAV-04018514
NAV-05270327      NAV-04016339        NAV-04017275       NAV-04018528
NAV-04014084      NAV-04016353        NAV-04017713       NAV-04018680
NAV-04014109      NAV-04016357        NAV-04017931       NAV-04018693
NAV-04014152      NAV-04016365        NAV-04017934       NAV-05278610
NAV-04014213      NAV-04016370        NAV-04017937       NAV-05278615
NAV-04014402      NAV-04016379        NAV-04017948       NAV-04018856
NAV-04014541      NAV-04016388        NAV-04017960       NAV-04018864
NAV-04014608      NAV-04016403        NAV-04017992       NAV-04018949
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 47 of 73



NAV-04018987      NAV-05286517        NAV-04026660       NAV-05303435
NAV-04019006      NAV-05286521        NAV-04026974       NAV-05303437
NAV-05279411      NAV-05286806        NAV-04027475       NAV-05303456
NAV-05280047      NAV-05287005        NAV-05296299       NAV-05303484
NAV-05280051      NAV-05287212        NAV-05296420       NAV-05303741
NAV-04019222      NAV-05288187        NAV-04027641       NAV-04030158
NAV-04019234      NAV-05288198        NAV-04028131       NAV-04030579
NAV-04023523      NAV-04026211        NAV-05297312       NAV-04030639
NAV-04023705      NAV-04026307        NAV-04028529       NAV-04030646
NAV-05282067      NAV-05288662        NAV-04028600       NAV-04030681
NAV-05282250      NAV-05288672        NAV-04028821       NAV-05304235
NAV-05282256      NAV-05288681        NAV-04028957       NAV-05304266
NAV-05282264      NAV-05288689        NAV-04029158       NAV-05304282
NAV-05282538      NAV-05288703        NAV-04029329       NAV-05304396
NAV-05282571      NAV-05288713        NAV-05298117       NAV-05304406
NAV-05283271      NAV-05288727        NAV-05298309       NAV-05304851
NAV-05283407      NAV-05288736        NAV-05298313       NAV-05306662
NAV-05283417      NAV-05289350        NAV-05300117       NAV-05307223
NAV-05283427      NAV-05289354        NAV-05300121       NAV-05307522
NAV-05283438      NAV-05289932        NAV-05300722       NAV-05307757
NAV-05283938      NAV-05289957        NAV-05300724       NAV-05307936
NAV-04024277      NAV-04026345        NAV-05300802       NAV-05307973
NAV-04024451      NAV-05291785        NAV-05301040       NAV-05308250
NAV-04026070      NAV-05293096        NAV-05301339       NAV-05308353
NAV-05284714      NAV-05293117        NAV-05301403       NAV-05308755
NAV-05284727      NAV-05294162        NAV-05301415       NAV-04031387
NAV-05284734      NAV-05294168        NAV-05301646       NAV-05308895
NAV-05285098      NAV-05294371        NAV-05301835       NAV-05309082
NAV-05285298      NAV-05294981        NAV-05301946       NAV-05309322
NAV-05285450      NAV-05295067        NAV-05301948       NAV-05309326
NAV-05285454      NAV-05295599        NAV-05301960       NAV-05309330
NAV-05285808      NAV-05295607        NAV-05302014       NAV-05309333
NAV-05285864      NAV-05295610        NAV-05302023       NAV-05309336
NAV-05285882      NAV-05295724        NAV-04029554       NAV-05309342
NAV-05285906      NAV-05295732        NAV-04030088       NAV-05309346
NAV-05285920      NAV-05295741        NAV-05302097       NAV-05309349
NAV-05285934      NAV-05295744        NAV-05302508       NAV-05309353
NAV-05285961      NAV-05295935        NAV-05302510       NAV-05309358
NAV-05286067      NAV-05295992        NAV-05303046       NAV-05309404
NAV-05286477      NAV-04026623        NAV-05303160       NAV-04031497
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 48 of 73



NAV-04031541      NAV-05310262        NAV-04032856       NAV-04035985
NAV-04031573      NAV-05310488        NAV-04033108       NAV-04036159
NAV-05309536      NAV-05310561        NAV-04033143       NAV-04036187
NAV-05309548      NAV-05310564        NAV-05311042       NAV-04036198
NAV-05309777      NAV-05310570        NAV-05311115       NAV-04036202
NAV-05309780      NAV-04032190        NAV-04034434       NAV-05317062
NAV-04031748      NAV-04032193        NAV-04034438       NAV-05317799
NAV-04031836      NAV-04032203        NAV-04034476       NAV-05318072
NAV-04031840      NAV-04032207        NAV-05311286       NAV-05318095
NAV-04031844      NAV-04032213        NAV-05311933       NAV-05318228
NAV-04031855      NAV-04032228        NAV-05311942       NAV-05318234
NAV-04031862      NAV-04032232        NAV-05312473       NAV-05318243
NAV-04031865      NAV-04032246        NAV-05312626       NAV-05318246
NAV-04031877      NAV-04032250        NAV-04034780       NAV-05318312
NAV-04031907      NAV-04032253        NAV-04034806       NAV-05318321
NAV-04031934      NAV-04032259        NAV-04034939       NAV-05318347
NAV-04031945      NAV-04032273        NAV-04034975       NAV-05318874
NAV-04031956      NAV-04032287        NAV-04035002       NAV-05318998
NAV-04031962      NAV-04032291        NAV-04035146       NAV-05319335
NAV-04031965      NAV-04032298        NAV-04035178       NAV-05319780
NAV-04031972      NAV-04032302        NAV-04035182       NAV-05319820
NAV-04031979      NAV-04032306        NAV-04035312       NAV-05319992
NAV-04031982      NAV-04032310        NAV-04035325       NAV-05320010
NAV-04031990      NAV-04032318        NAV-04035348       NAV-05320059
NAV-04032002      NAV-04032336        NAV-04035393       NAV-05320071
NAV-04032006      NAV-04032343        NAV-05312809       NAV-04036342
NAV-04032029      NAV-04032346        NAV-05314313       NAV-04036735
NAV-04032041      NAV-04032353        NAV-05314361       NAV-04036896
NAV-04032062      NAV-04032370        NAV-04035585       NAV-04036909
NAV-04032069      NAV-04032374        NAV-04035709       NAV-04037067
NAV-04032083      NAV-04032382        NAV-05314416       NAV-04037076
NAV-04032097      NAV-04032395        NAV-05315506       NAV-04037166
NAV-04032104      NAV-04032405        NAV-05316524       NAV-04037301
NAV-04032133      NAV-04032414        NAV-05316546       NAV-04037545
NAV-04032145      NAV-04032422        NAV-05316579       NAV-04037567
NAV-04032151      NAV-04032433        NAV-05316673       NAV-05326726
NAV-04032161      NAV-04032536        NAV-05316927       NAV-05326738
NAV-04032169      NAV-04032620        NAV-05316947       NAV-05326808
NAV-04032176      NAV-04032784        NAV-05316949       NAV-05327231
NAV-04032184      NAV-04032796        NAV-04035845       NAV-05327279
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 49 of 73



NAV-05327568      NAV-05334262        NAV-04040428       NAV-04043007
NAV-04037652      NAV-05334265        NAV-05350858       NAV-04043014
NAV-05329752      NAV-05335020        NAV-05350862       NAV-05365136
NAV-05329888      NAV-05335467        NAV-04040751       NAV-05365380
NAV-05330180      NAV-05336523        NAV-04040993       NAV-05365865
NAV-05330527      NAV-05336583        NAV-05351171       NAV-05365875
NAV-05330553      NAV-05336979        NAV-05351196       NAV-04043835
NAV-05330556      NAV-05337024        NAV-05351200       NAV-04043935
NAV-05330586      NAV-05337132        NAV-04041012       NAV-05366743
NAV-05330620      NAV-05337390        NAV-05353822       NAV-05366975
NAV-05330646      NAV-05337505        NAV-05353864       NAV-05367150
NAV-05330749      NAV-05337619        NAV-05353893       NAV-05367213
NAV-05330815      NAV-05337689        NAV-04041239       NAV-05367574
NAV-05330828      NAV-05337851        NAV-04041246       NAV-05367581
NAV-05330903      NAV-05337973        NAV-05354260       NAV-05368301
NAV-05330956      NAV-05338190        NAV-04041665       NAV-05368545
NAV-05331036      NAV-05338437        NAV-04041691       NAV-05368925
NAV-05331112      NAV-05338687        NAV-05355094       NAV-05368969
NAV-05331156      NAV-05341430        NAV-04041800       NAV-05368987
NAV-05331459      NAV-05343889        NAV-05356419       NAV-05370491
NAV-05331473      NAV-05343893        NAV-05360907       NAV-05370849
NAV-05331485      NAV-05343907        NAV-05363142       NAV-05371888
NAV-05331850      NAV-05343914        NAV-05363145       NAV-05372764
NAV-05331923      NAV-05345163        NAV-05363348       NAV-05373993
NAV-04038631      NAV-05345166        NAV-05363475       NAV-05374250
NAV-04038636      NAV-05345517        NAV-05363481       NAV-05374253
NAV-04038661      NAV-05345802        NAV-05363490       NAV-05374863
NAV-05332045      NAV-05346342        NAV-05363615       NAV-05375055
NAV-05333447      NAV-05346350        NAV-05363616       NAV-05375087
NAV-05333461      NAV-05346370        NAV-05363744       NAV-05375190
NAV-05333467      NAV-05346771        NAV-05363904       NAV-05375368
NAV-05333533      NAV-05347028        NAV-05364032       NAV-05375560
NAV-05333875      NAV-05347035        NAV-05364072       NAV-04043962
NAV-05333880      NAV-05347042        NAV-05364297       NAV-04043973
NAV-04038687      NAV-05347746        NAV-05364300       NAV-05377008
NAV-05333979      NAV-05347981        NAV-05364560       NAV-05377577
NAV-05334021      NAV-04040350        NAV-04042112       NAV-05377874
NAV-05334022      NAV-05348780        NAV-05364887       NAV-05378797
NAV-05334200      NAV-05349327        NAV-05364931       NAV-05378934
NAV-05334203      NAV-05349618        NAV-05364940       NAV-05379075
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 50 of 73



NAV-05379086      NAV-05390308        NAV-05398253       NAV-05400784
NAV-05379423      NAV-05390567        NAV-05398261       NAV-05400794
NAV-04044358      NAV-05391103        NAV-05398531       NAV-05400797
NAV-04044366      NAV-05391380        NAV-05398576       NAV-05400876
NAV-04044369      NAV-05391441        NAV-05398721       NAV-05400886
NAV-04044374      NAV-04046256        NAV-05398729       NAV-05400902
NAV-05381073      NAV-05392647        NAV-05398732       NAV-05401089
NAV-05381171      NAV-05392720        NAV-05398840       NAV-05401160
NAV-05382059      NAV-05393039        NAV-05398909       NAV-05401235
NAV-05382061      NAV-05393299        NAV-05398911       NAV-05401305
NAV-04045239      NAV-05393497        NAV-05398964       NAV-05401340
NAV-05382222      NAV-05394906        NAV-05398970       NAV-05401343
NAV-05382756      NAV-05394923        NAV-05399013       NAV-05401356
NAV-05383016      NAV-05394933        NAV-05399202       NAV-05401370
NAV-05383093      NAV-05395316        NAV-05399307       NAV-05401577
NAV-05383415      NAV-05395439        NAV-05399309       NAV-05401614
NAV-05383644      NAV-04047187        NAV-05399397       NAV-05401621
NAV-05383795      NAV-05395611        NAV-05399534       NAV-05401637
NAV-04045281      NAV-04047497        NAV-05399539       NAV-05401650
NAV-04045305      NAV-05395754        NAV-05399632       NAV-05401694
NAV-04045394      NAV-05395910        NAV-05399635       NAV-05401859
NAV-05383961      NAV-05395976        NAV-05399636       NAV-05401878
NAV-05384420      NAV-05395991        NAV-05399638       NAV-05401882
NAV-05384761      NAV-05396385        NAV-05399660       NAV-05401891
NAV-05385120      NAV-05396519        NAV-05399738       NAV-05401917
NAV-05385219      NAV-05396522        NAV-05399927       NAV-05401924
NAV-05385526      NAV-05396660        NAV-05400065       NAV-05401931
NAV-05385718      NAV-05397086        NAV-05400151       NAV-05401982
NAV-05385821      NAV-05397243        NAV-05400156       NAV-05402020
NAV-05385853      NAV-05397324        NAV-05400269       NAV-05402023
NAV-05386066      NAV-05397473        NAV-05400363       NAV-05402032
NAV-05388747      NAV-05397487        NAV-05400423       NAV-05402421
NAV-04046139      NAV-05397501        NAV-05400432       NAV-05402430
NAV-05389250      NAV-05397514        NAV-05400438       NAV-05402616
NAV-05389263      NAV-05397867        NAV-05400454       NAV-05402871
NAV-05389592      NAV-04047806        NAV-05400456       NAV-05402917
NAV-05389798      NAV-04047919        NAV-05400553       NAV-05403155
NAV-05389843      NAV-04048356        NAV-05400556       NAV-05403178
NAV-05390021      NAV-05397932        NAV-05400573       NAV-05403383
NAV-05390037      NAV-05398116        NAV-05400586       NAV-05403460
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 51 of 73



NAV-04048560      NAV-05407975        NAV-05409312       NAV-05413330
NAV-05403513      NAV-05407986        NAV-05409316       NAV-05413338
NAV-05403554      NAV-05407988        NAV-05409317       NAV-05413344
NAV-05403617      NAV-05408028        NAV-05409320       NAV-05413826
NAV-05403893      NAV-05408035        NAV-05409324       NAV-04053177
NAV-05404266      NAV-05408044        NAV-05409354       NAV-04054334
NAV-05404271      NAV-05408112        NAV-05409964       NAV-05413851
NAV-05404344      NAV-05408127        NAV-05409981       NAV-05413867
NAV-05404531      NAV-05408138        NAV-05410097       NAV-05413953
NAV-05404563      NAV-05408147        NAV-05410103       NAV-05414111
NAV-05404978      NAV-05408184        NAV-05410110       NAV-05414118
NAV-05404979      NAV-05408254        NAV-05410114       NAV-05414129
NAV-05405116      NAV-05408496        NAV-05410135       NAV-05414367
NAV-05405215      NAV-05408611        NAV-05410184       NAV-04054444
NAV-05405247      NAV-05408631        NAV-05410250       NAV-04054508
NAV-05405249      NAV-05408632        NAV-04050897       NAV-04054513
NAV-05405320      NAV-05408641        NAV-05410688       NAV-04054520
NAV-05405486      NAV-05408664        NAV-05410816       NAV-04054536
NAV-05405492      NAV-05408669        NAV-05410895       NAV-04054549
NAV-05405609      NAV-05408671        NAV-05410986       NAV-04054565
NAV-04049237      NAV-05408672        NAV-05411189       NAV-04054568
NAV-04049410      NAV-05408697        NAV-05411232       NAV-04055030
NAV-05405658      NAV-05408702        NAV-05411251       NAV-05414660
NAV-05405662      NAV-05408704        NAV-05411286       NAV-05414666
NAV-05405835      NAV-05408718        NAV-05411365       NAV-05414955
NAV-05406034      NAV-05408723        NAV-05411452       NAV-05414958
NAV-05406036      NAV-04050535        NAV-05411683       NAV-05414967
NAV-05406231      NAV-04050543        NAV-05411688       NAV-05414970
NAV-05406315      NAV-05408987        NAV-05411693       NAV-05415036
NAV-05406575      NAV-05409029        NAV-05411699       NAV-05415053
NAV-05406754      NAV-05409074        NAV-05411712       NAV-05415072
NAV-05406787      NAV-05409089        NAV-05411717       NAV-05415388
NAV-05406801      NAV-05409170        NAV-04051858       NAV-05415390
NAV-05406814      NAV-05409174        NAV-04052090       NAV-05415403
NAV-05406849      NAV-05409176        NAV-05412348       NAV-05415428
NAV-05406967      NAV-05409185        NAV-04053086       NAV-05415445
NAV-05407008      NAV-05409188        NAV-05412554       NAV-05415454
NAV-05407958      NAV-05409249        NAV-05412564       NAV-05415521
NAV-05407963      NAV-05409284        NAV-05412582       NAV-05415523
NAV-05407972      NAV-05409299        NAV-05412599       NAV-05415654
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 52 of 73



NAV-05415683      NAV-05417844        NAV-05419319       NAV-05422551
NAV-05415687      NAV-05417890        NAV-05419359       NAV-05422842
NAV-05415698      NAV-05417898        NAV-05419364       NAV-05422903
NAV-05415811      NAV-05417902        NAV-05419367       NAV-05422906
NAV-05416615      NAV-05417917        NAV-05419369       NAV-05422997
NAV-05416624      NAV-05417996        NAV-05419370       NAV-05423002
NAV-05416651      NAV-05418211        NAV-05419393       NAV-05423078
NAV-05416690      NAV-05418214        NAV-05419395       NAV-05423079
NAV-05416780      NAV-05418238        NAV-05419396       NAV-05423095
NAV-05416911      NAV-05418266        NAV-05419406       NAV-05423100
NAV-05416915      NAV-05418269        NAV-05419409       NAV-04055650
NAV-05416918      NAV-05418271        NAV-05419579       NAV-04055657
NAV-05416934      NAV-05418273        NAV-05419764       NAV-04056012
NAV-05416936      NAV-05418285        NAV-05419774       NAV-04056023
NAV-05417072      NAV-05418287        NAV-05419779       NAV-04056030
NAV-05417077      NAV-05418342        NAV-05419907       NAV-04056045
NAV-05417087      NAV-05418349        NAV-05419916       NAV-05423389
NAV-04055424      NAV-05418357        NAV-05419919       NAV-05423396
NAV-04055535      NAV-05418372        NAV-05419942       NAV-05423399
NAV-05417317      NAV-05418375        NAV-05419952       NAV-05423403
NAV-05417366      NAV-05418378        NAV-05419961       NAV-05423418
NAV-05417404      NAV-05418389        NAV-05419963       NAV-05423453
NAV-05417425      NAV-05418395        NAV-05419982       NAV-05423582
NAV-05417432      NAV-05418423        NAV-05419987       NAV-05423591
NAV-05417439      NAV-05418438        NAV-05420008       NAV-05423605
NAV-05417449      NAV-05418493        NAV-05420068       NAV-05424079
NAV-05417675      NAV-05418550        NAV-05420348       NAV-05424100
NAV-05417686      NAV-05418608        NAV-05420548       NAV-05424161
NAV-05417694      NAV-05418685        NAV-05420573       NAV-05424241
NAV-05417709      NAV-05418790        NAV-05420590       NAV-05424379
NAV-05417711      NAV-05418836        NAV-05420627       NAV-05424402
NAV-05417720      NAV-05418952        NAV-05420637       NAV-05424414
NAV-05417732      NAV-05418956        NAV-05420641       NAV-05424505
NAV-05417745      NAV-05418959        NAV-05420946       NAV-05424574
NAV-05417770      NAV-05419056        NAV-05421029       NAV-05424585
NAV-05417776      NAV-05419067        NAV-05421035       NAV-05424755
NAV-05417785      NAV-05419107        NAV-05421054       NAV-05424761
NAV-05417815      NAV-05419126        NAV-05421223       NAV-05424783
NAV-05417828      NAV-05419150        NAV-05422527       NAV-05424915
NAV-05417839      NAV-05419164        NAV-05422550       NAV-05424948
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 53 of 73



NAV-05424950      NAV-05427791        NAV-05429592       NAV-05432843
NAV-05425073      NAV-05427880        NAV-05429647       NAV-05432858
NAV-05425730      NAV-05427935        NAV-05429651       NAV-05432869
NAV-05425743      NAV-05427943        NAV-05429678       NAV-05432892
NAV-05425760      NAV-05427947        NAV-05429692       NAV-05432901
NAV-05425772      NAV-05428042        NAV-05429708       NAV-05432910
NAV-05425780      NAV-05428044        NAV-05429719       NAV-05432918
NAV-05425893      NAV-05428056        NAV-05430595       NAV-05432932
NAV-05425940      NAV-05428060        NAV-05430612       NAV-05432936
NAV-05426060      NAV-05428080        NAV-05430648       NAV-05432942
NAV-05426091      NAV-05428107        NAV-04057344       NAV-05432955
NAV-05426203      NAV-05428119        NAV-05431533       NAV-05432960
NAV-05426206      NAV-05428128        NAV-05431540       NAV-05433121
NAV-05426296      NAV-05428182        NAV-05431548       NAV-05433140
NAV-05426302      NAV-05428189        NAV-05431568       NAV-05433253
NAV-05426362      NAV-05428283        NAV-05431707       NAV-05433313
NAV-05426365      NAV-05428289        NAV-05431712       NAV-04057431
NAV-05426545      NAV-05428352        NAV-05431719       NAV-04057434
NAV-05426557      NAV-05428359        NAV-05431775       NAV-05433321
NAV-04056147      NAV-05428498        NAV-05431876       NAV-05433334
NAV-05426671      NAV-05428568        NAV-05431912       NAV-05433341
NAV-05426680      NAV-05428581        NAV-05431917       NAV-05433444
NAV-05426733      NAV-05428585        NAV-05432315       NAV-05433461
NAV-05426777      NAV-05428592        NAV-05432350       NAV-05433596
NAV-05426787      NAV-05428683        NAV-05432357       NAV-05433599
NAV-05426796      NAV-05428725        NAV-05432363       NAV-05433603
NAV-05426800      NAV-05428737        NAV-05432381       NAV-05433759
NAV-05426801      NAV-05428742        NAV-05432592       NAV-05434019
NAV-05426802      NAV-05428766        NAV-05432601       NAV-05434147
NAV-05426808      NAV-05428779        NAV-05432604       NAV-05434152
NAV-05426823      NAV-05428810        NAV-05432643       NAV-05434195
NAV-05426864      NAV-05428813        NAV-05432650       NAV-05434282
NAV-05426888      NAV-05428815        NAV-05432658       NAV-04057748
NAV-05427130      NAV-05428825        NAV-05432662       NAV-04057881
NAV-05427148      NAV-05428830        NAV-05432666       NAV-05434289
NAV-05427188      NAV-05428844        NAV-05432686       NAV-05434397
NAV-05427279      NAV-05428849        NAV-05432739       NAV-05434402
NAV-05427312      NAV-05429109        NAV-05432795       NAV-05434467
NAV-05427364      NAV-05429116        NAV-05432808       NAV-05434471
NAV-05427785      NAV-05429446        NAV-05432824       NAV-05434477
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 54 of 73



NAV-05434521      NAV-05437056        NAV-05439411       NAV-05441144
NAV-05434527      NAV-05437060        NAV-05439489       NAV-05441148
NAV-05434596      NAV-05437118        NAV-05439552       NAV-05441162
NAV-05434605      NAV-05437201        NAV-05439674       NAV-05441175
NAV-05434613      NAV-05437354        NAV-05439677       NAV-05441188
NAV-05434617      NAV-05437356        NAV-05439716       NAV-05441203
NAV-05434661      NAV-05437363        NAV-05439846       NAV-05441342
NAV-05434677      NAV-05437398        NAV-05439852       NAV-05441380
NAV-05434908      NAV-05437401        NAV-05439861       NAV-05441396
NAV-05434953      NAV-05437462        NAV-05439922       NAV-05441420
NAV-05435191      NAV-05437726        NAV-05439924       NAV-05441424
NAV-05435231      NAV-05437739        NAV-05439996       NAV-05441426
NAV-05435247      NAV-05437761        NAV-05440275       NAV-05441432
NAV-05435249      NAV-05437779        NAV-05440277       NAV-05441461
NAV-05435254      NAV-05437805        NAV-05440286       NAV-05441484
NAV-05435363      NAV-05437811        NAV-05440296       NAV-05441494
NAV-05435403      NAV-05437818        NAV-05440303       NAV-05441498
NAV-05435407      NAV-05437826        NAV-05440326       NAV-05441509
NAV-05435419      NAV-04058492        NAV-05440330       NAV-05441522
NAV-05435421      NAV-04058626        NAV-05440341       NAV-05441529
NAV-05435433      NAV-04058679        NAV-05440346       NAV-05441537
NAV-05435544      NAV-04058685        NAV-05440385       NAV-05441542
NAV-05435776      NAV-05438737        NAV-05440400       NAV-05441544
NAV-05435805      NAV-05438744        NAV-05440472       NAV-05441548
NAV-05436413      NAV-05438756        NAV-05440486       NAV-05441590
NAV-05436441      NAV-05438763        NAV-05440490       NAV-05441641
NAV-05436445      NAV-05438803        NAV-05440732       NAV-05441790
NAV-05436692      NAV-05438813        NAV-05440767       NAV-05441838
NAV-05436704      NAV-05438829        NAV-05440802       NAV-05441845
NAV-05436709      NAV-05438841        NAV-05440805       NAV-05442022
NAV-05436714      NAV-05438850        NAV-05440905       NAV-05442043
NAV-05436728      NAV-05438855        NAV-05440914       NAV-05442047
NAV-05436737      NAV-05438884        NAV-05440981       NAV-05442052
NAV-05436739      NAV-05438926        NAV-05440985       NAV-05442054
NAV-05436772      NAV-05438965        NAV-05440990       NAV-05442059
NAV-05436814      NAV-05439246        NAV-05441005       NAV-05442064
NAV-05436831      NAV-05439381        NAV-05441020       NAV-05442068
NAV-05436948      NAV-05439387        NAV-05441036       NAV-05442079
NAV-05437047      NAV-05439392        NAV-05441125       NAV-05442093
NAV-05437051      NAV-05439405        NAV-05441130       NAV-05442102
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 55 of 73



NAV-05442119      NAV-05444818        NAV-04059968       NAV-05449180
NAV-05442150      NAV-05444832        NAV-04060078       NAV-05449817
NAV-05442168      NAV-05444844        NAV-04060253       NAV-05449822
NAV-05442175      NAV-05445015        NAV-04060255       NAV-05449828
NAV-05442179      NAV-05445046        NAV-04060260       NAV-05449836
NAV-05442332      NAV-05445082        NAV-04060593       NAV-05449838
NAV-05442634      NAV-05445192        NAV-04060618       NAV-05449843
NAV-05442691      NAV-05445202        NAV-05448304       NAV-05449846
NAV-05442744      NAV-05445213        NAV-05448327       NAV-05449848
NAV-05443250      NAV-05445220        NAV-05448334       NAV-05449866
NAV-05443338      NAV-05445228        NAV-05448354       NAV-05449869
NAV-05443365      NAV-05445244        NAV-05448464       NAV-05449948
NAV-05443377      NAV-05445270        NAV-05448618       NAV-05449955
NAV-05443389      NAV-05445277        NAV-05448706       NAV-05450020
NAV-05443404      NAV-05445304        NAV-05448762       NAV-05450044
NAV-05443411      NAV-05445471        NAV-05448765       NAV-05450250
NAV-05443432      NAV-05445474        NAV-05448767       NAV-05450260
NAV-05443437      NAV-05445510        NAV-05448794       NAV-05450345
NAV-05443662      NAV-05445575        NAV-05448816       NAV-05450356
NAV-05443728      NAV-05445713        NAV-05448827       NAV-05450366
NAV-05443808      NAV-05445716        NAV-05448837       NAV-05450373
NAV-05443810      NAV-05445802        NAV-05448856       NAV-05450384
NAV-05443821      NAV-05445899        NAV-05448881       NAV-05450396
NAV-04058879      NAV-05446001        NAV-05448927       NAV-05450440
NAV-05444295      NAV-05446007        NAV-05448934       NAV-05450446
NAV-05444432      NAV-05446198        NAV-05448945       NAV-05450450
NAV-05444436      NAV-05446294        NAV-05448955       NAV-05450666
NAV-05444443      NAV-05446600        NAV-05448962       NAV-05450740
NAV-05444448      NAV-05446626        NAV-05448966       NAV-05450772
NAV-05444536      NAV-05446629        NAV-05448975       NAV-05450943
NAV-05444561      NAV-05446714        NAV-05449011       NAV-05450960
NAV-05444571      NAV-05446739        NAV-05449015       NAV-05450972
NAV-05444575      NAV-05446743        NAV-05449024       NAV-05450982
NAV-05444608      NAV-05446746        NAV-05449028       NAV-05451060
NAV-05444646      NAV-05446779        NAV-05449030       NAV-05451300
NAV-05444649      NAV-05446801        NAV-05449102       NAV-05451427
NAV-05444656      NAV-05446821        NAV-05449108       NAV-05451430
NAV-05444673      NAV-05446899        NAV-05449127       NAV-05451531
NAV-05444809      NAV-05447185        NAV-05449157       NAV-05451533
NAV-05444812      NAV-05447225        NAV-05449163       NAV-05451667
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 56 of 73



NAV-05451899      NAV-05453576        NAV-05455206       NAV-05456624
NAV-05451931      NAV-05453581        NAV-05455210       NAV-05456659
NAV-05451935      NAV-05453590        NAV-05455214       NAV-05456700
NAV-05452298      NAV-05453602        NAV-05455365       NAV-05456718
NAV-05452371      NAV-05453605        NAV-05455404       NAV-05456722
NAV-05452380      NAV-05453645        NAV-05455412       NAV-05456733
NAV-05452392      NAV-05453647        NAV-05455442       NAV-05456899
NAV-05452491      NAV-05453649        NAV-05455451       NAV-05458284
NAV-05452558      NAV-05453762        NAV-05455608       NAV-04061103
NAV-05452562      NAV-05453772        NAV-05455613       NAV-05458387
NAV-05452591      NAV-05453782        NAV-05455626       NAV-05458458
NAV-05452635      NAV-05453901        NAV-05455687       NAV-05458600
NAV-05452893      NAV-05454215        NAV-05455940       NAV-05458612
NAV-05452896      NAV-05454218        NAV-05455948       NAV-04061266
NAV-05452930      NAV-05454245        NAV-05455960       NAV-04061881
NAV-05452939      NAV-05454260        NAV-05455964       NAV-04061915
NAV-05452998      NAV-05454264        NAV-05455971       NAV-04062016
NAV-05453036      NAV-05454287        NAV-05455983       NAV-05458736
NAV-05453041      NAV-05454291        NAV-05455998       NAV-05458924
NAV-05453063      NAV-05454308        NAV-05456020       NAV-04062907
NAV-05453078      NAV-05454311        NAV-05456038       NAV-05459812
NAV-05453136      NAV-05454317        NAV-05456056       NAV-05460532
NAV-05453145      NAV-05454329        NAV-05456169       NAV-04063983
NAV-05453169      NAV-05454345        NAV-05456224       NAV-04064161
NAV-05453245      NAV-05454633        NAV-05456239       NAV-04064330
NAV-05453247      NAV-05454636        NAV-05456257       NAV-04064534
NAV-05453278      NAV-05454710        NAV-05456263       NAV-04064658
NAV-05453283      NAV-05454722        NAV-05456272       NAV-05460857
NAV-05453297      NAV-05454734        NAV-05456278       NAV-05460867
NAV-05453363      NAV-05454775        NAV-05456284       NAV-05460889
NAV-05453373      NAV-05454904        NAV-05456339       NAV-05460894
NAV-05453379      NAV-05454912        NAV-05456343       NAV-05460900
NAV-05453388      NAV-05454934        NAV-05456366       NAV-05461145
NAV-05453397      NAV-05454939        NAV-05456370       NAV-05461158
NAV-05453423      NAV-05454944        NAV-05456396       NAV-04064896
NAV-05453427      NAV-05454952        NAV-05456558       NAV-04065074
NAV-05453440      NAV-05454956        NAV-05456583       NAV-04065235
NAV-05453450      NAV-05454967        NAV-05456590       NAV-05461394
NAV-05453459      NAV-05455076        NAV-05456615       NAV-05461403
NAV-05453541      NAV-05455201        NAV-05456619       NAV-04065324
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 57 of 73



NAV-04065498      NAV-04068927        NAV-04079956       NAV-04080275
NAV-04065806      NAV-05474357        NAV-04079967       NAV-04080289
NAV-04065844      NAV-04069107        NAV-04079988       NAV-04080306
NAV-04066020      NAV-04069212        NAV-04079991       NAV-04080321
NAV-05461905      NAV-05474632        NAV-04079999       NAV-04080330
NAV-04066078      NAV-04070084        NAV-04080017       NAV-04080371
NAV-04066091      NAV-04070091        NAV-04080023       NAV-04080381
NAV-04066115      NAV-04070149        NAV-04080025       NAV-04080383
NAV-04066178      NAV-04070150        NAV-04080032       NAV-04080385
NAV-04066190      NAV-04070305        NAV-04080038       NAV-04080394
NAV-04066194      NAV-04070417        NAV-04080041       NAV-04080397
NAV-04066210      NAV-04070441        NAV-04080050       NAV-04080437
NAV-04066253      NAV-04070442        NAV-04080052       NAV-04080443
NAV-04066336      NAV-04070443        NAV-04080054       NAV-04080482
NAV-04066340      NAV-04070451        NAV-04080062       NAV-04080486
NAV-04066435      NAV-04070454        NAV-04080068       NAV-04080490
NAV-04066447      NAV-04070462        NAV-04080070       NAV-04080499
NAV-04066467      NAV-05474860        NAV-04080078       NAV-04080502
NAV-04066577      NAV-04070938        NAV-04080098       NAV-05478761
NAV-04066648      NAV-05474950        NAV-04080118       NAV-04081568
NAV-04066741      NAV-05475239        NAV-04080129       NAV-04082500
NAV-04067018      NAV-05475483        NAV-04080131       NAV-04082581
NAV-04067075      NAV-05475880        NAV-04080137       NAV-04082583
NAV-04067090      NAV-05476419        NAV-04080143       NAV-05478859
NAV-04067276      NAV-05476444        NAV-04080145       NAV-04082784
NAV-05468673      NAV-05477542        NAV-05478261       NAV-04082795
NAV-05468765      NAV-05477577        NAV-05478436       NAV-04083923
NAV-05468880      NAV-05477597        NAV-05478439       NAV-04084447
NAV-05468887      NAV-05477610        NAV-05478466       NAV-04084495
NAV-05468889      NAV-05477613        NAV-04080162       NAV-04084808
NAV-05469162      NAV-05477644        NAV-04080168       NAV-04084871
NAV-05469328      NAV-05477933        NAV-04080172       NAV-04085103
NAV-05469456      NAV-05478095        NAV-04080174       NAV-04085126
NAV-05469982      NAV-04079091        NAV-04080180       NAV-04085129
NAV-04068136      NAV-04079257        NAV-04080186       NAV-04085429
NAV-04068149      NAV-04079439        NAV-04080200       NAV-05479118
NAV-04068224      NAV-04079443        NAV-04080218       NAV-05479405
NAV-05470736      NAV-04079920        NAV-04080224       NAV-05479424
NAV-05470898      NAV-04079937        NAV-04080239       NAV-05479586
NAV-04068442      NAV-04079943        NAV-04080259       NAV-04085746
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 58 of 73



NAV-04086017      NAV-04092462        NAV-05485622       NAV-04093055
NAV-04086519      NAV-05485013        NAV-05485630       NAV-05487368
NAV-04086537      NAV-05485316        NAV-05485644       NAV-05487799
NAV-04086815      NAV-05485321        NAV-05485648       NAV-04093168
NAV-04086904      NAV-05485328        NAV-05485656       NAV-04093208
NAV-05480534      NAV-05485331        NAV-05485660       NAV-04093212
NAV-05480597      NAV-05485334        NAV-05485667       NAV-04093322
NAV-05480761      NAV-05485338        NAV-05485677       NAV-04093586
NAV-05480771      NAV-05485345        NAV-05485688       NAV-04093645
NAV-05480931      NAV-05485349        NAV-05485692       NAV-05488100
NAV-05481143      NAV-05485353        NAV-05485695       NAV-04094032
NAV-05481293      NAV-05485364        NAV-05485698       NAV-05488440
NAV-05482244      NAV-05485372        NAV-05485706       NAV-05488598
NAV-05482269      NAV-05485384        NAV-05485715       NAV-05488654
NAV-05482314      NAV-05485388        NAV-05485718       NAV-05488673
NAV-04087169      NAV-05485413        NAV-05485726       NAV-05488757
NAV-04087359      NAV-05485429        NAV-05485733       NAV-05488918
NAV-05482602      NAV-05485433        NAV-05485745       NAV-05488926
NAV-04087753      NAV-05485440        NAV-05485749       NAV-05489321
NAV-04089112      NAV-05485449        NAV-05485778       NAV-04094785
NAV-05482762      NAV-05485460        NAV-05485783       NAV-04094826
NAV-05482818      NAV-05485465        NAV-05485789       NAV-04094857
NAV-05483485      NAV-05485468        NAV-05485795       NAV-04094865
NAV-04089285      NAV-05485484        NAV-05485810       NAV-04094876
NAV-04090592      NAV-05485505        NAV-05485816       NAV-04094884
NAV-04090625      NAV-05485508        NAV-05485824       NAV-04094897
NAV-04091070      NAV-05485515        NAV-05485831       NAV-04094953
NAV-05483500      NAV-05485523        NAV-05485838       NAV-04094956
NAV-05483509      NAV-05485535        NAV-05485851       NAV-04094975
NAV-05483554      NAV-05485539        NAV-05485854       NAV-04094979
NAV-04091554      NAV-05485542        NAV-05485872       NAV-04094991
NAV-05483627      NAV-05485555        NAV-05485880       NAV-04095001
NAV-05483928      NAV-05485558        NAV-05485883       NAV-04095007
NAV-05483933      NAV-05485562        NAV-05485887       NAV-04095028
NAV-05484037      NAV-05485566        NAV-05485891       NAV-05489559
NAV-05484093      NAV-05485579        NAV-05485895       NAV-05489573
NAV-05484098      NAV-05485586        NAV-05485942       NAV-04096275
NAV-04092239      NAV-05485592        NAV-04092714       NAV-04096307
NAV-04092245      NAV-05485595        NAV-04092770       NAV-05490382
NAV-05484917      NAV-05485599        NAV-04092842       NAV-04096910
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 59 of 73



NAV-04096959      NAV-04103629        NAV-05496717       NAV-04117836
NAV-05490829      NAV-04103648        NAV-04112091       NAV-04118058
NAV-04097014      NAV-04103653        NAV-04112130       NAV-04118085
NAV-04097110      NAV-04104721        NAV-05497490       NAV-04118174
NAV-05490955      NAV-04104938        NAV-05497514       NAV-05508753
NAV-05490987      NAV-04106583        NAV-05498551       NAV-05508837
NAV-04097579      NAV-04106591        NAV-04112184       NAV-05512193
NAV-04097622      NAV-04106597        NAV-04112206       NAV-04119281
NAV-04097652      NAV-05493305        NAV-04112322       NAV-04119316
NAV-04097763      NAV-05493520        NAV-05499146       NAV-04119393
NAV-04097768      NAV-05493581        NAV-05499547       NAV-04119408
NAV-04097805      NAV-04106777        NAV-05500038       NAV-04119410
NAV-04098807      NAV-04107936        NAV-05500064       NAV-04119411
NAV-05491149      NAV-04107952        NAV-05500074       NAV-05512431
NAV-05491188      NAV-05493670        NAV-05500378       NAV-04119483
NAV-04098983      NAV-05493714        NAV-05500391       NAV-04119583
NAV-04099020      NAV-05493722        NAV-05500402       NAV-04119703
NAV-04099023      NAV-05493723        NAV-05500499       NAV-04119843
NAV-04099104      NAV-04108279        NAV-05500539       NAV-04119849
NAV-04099105      NAV-05493782        NAV-05500611       NAV-05512645
NAV-04099624      NAV-05493821        NAV-05500626       NAV-05513311
NAV-04099631      NAV-04108524        NAV-05500761       NAV-05513323
NAV-04099739      NAV-04108979        NAV-05500796       NAV-04119917
NAV-04099741      NAV-04109076        NAV-05502145       NAV-04120375
NAV-04099775      NAV-04109339        NAV-05502312       NAV-04120467
NAV-04100043      NAV-04109490        NAV-05502644       NAV-04120620
NAV-05491363      NAV-04109496        NAV-05502720       NAV-05514371
NAV-04101086      NAV-04109503        NAV-05502737       NAV-05514524
NAV-04101242      NAV-04109949        NAV-05503872       NAV-05514528
NAV-04102319      NAV-04109959        NAV-05503896       NAV-05514781
NAV-04102583      NAV-05494453        NAV-05503950       NAV-05514865
NAV-04102586      NAV-05494455        NAV-05503995       NAV-04122025
NAV-04102611      NAV-05494642        NAV-05503997       NAV-04122043
NAV-04103089      NAV-05494658        NAV-05505323       NAV-05515165
NAV-04103092      NAV-05494943        NAV-05505397       NAV-04122105
NAV-04103317      NAV-05496183        NAV-04114043       NAV-04122185
NAV-05491949      NAV-04111329        NAV-05505978       NAV-04122202
NAV-05492139      NAV-04111985        NAV-04114428       NAV-04122435
NAV-05493070      NAV-05496426        NAV-05507083       NAV-04122631
NAV-04103424      NAV-05496542        NAV-05507253       NAV-04123024
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 60 of 73



NAV-04123137      NAV-05527505        NAV-05537881       NAV-04138717
NAV-04123197      NAV-05528019        NAV-05537951       NAV-04138726
NAV-04123331      NAV-05528100        NAV-05539698       NAV-04138840
NAV-05516885      NAV-05528247        NAV-05541103       NAV-05545773
NAV-05516967      NAV-05528365        NAV-05541166       NAV-05546426
NAV-05517096      NAV-04131079        NAV-05541288       NAV-05546534
NAV-05517151      NAV-05529116        NAV-05541439       NAV-05546804
NAV-05517919      NAV-05529149        NAV-05541731       NAV-05546898
NAV-04125038      NAV-05529331        NAV-05541751       NAV-05547177
NAV-04125121      NAV-05530700        NAV-05542193       NAV-05547203
NAV-05518076      NAV-05530900        NAV-05543026       NAV-05547207
NAV-05519825      NAV-05531019        NAV-05543029       NAV-05547236
NAV-05519991      NAV-05532775        NAV-05543184       NAV-05547431
NAV-04125230      NAV-04132027        NAV-05543205       NAV-05547464
NAV-05520083      NAV-05533521        NAV-05543344       NAV-05547759
NAV-05520278      NAV-05533528        NAV-05543373       NAV-05547772
NAV-05520334      NAV-05533577        NAV-05543379       NAV-05548615
NAV-05520351      NAV-05533587        NAV-05544449       NAV-05548621
NAV-05520487      NAV-05533591        NAV-05544764       NAV-05548625
NAV-05520815      NAV-05533595        NAV-05544946       NAV-05548629
NAV-05521035      NAV-05533598        NAV-05545127       NAV-05548637
NAV-05521411      NAV-05533631        NAV-05545282       NAV-05548641
NAV-05521423      NAV-05533662        NAV-05545425       NAV-05548645
NAV-05521453      NAV-05533689        NAV-04138173       NAV-05548650
NAV-05521913      NAV-05533731        NAV-04138181       NAV-05548653
NAV-05522936      NAV-05533740        NAV-04138188       NAV-05548986
NAV-05522959      NAV-05533817        NAV-04138497       NAV-05549274
NAV-05524205      NAV-05533977        NAV-04138506       NAV-05549424
NAV-05524287      NAV-04133183        NAV-04138519       NAV-05550270
NAV-05524788      NAV-05534191        NAV-04138561       NAV-04139445
NAV-05524895      NAV-05534350        NAV-04138576       NAV-05551082
NAV-05524988      NAV-05534412        NAV-04138597       NAV-05551085
NAV-04128907      NAV-05535225        NAV-04138633       NAV-05551136
NAV-04129122      NAV-04135510        NAV-04138649       NAV-04139595
NAV-04129578      NAV-04135648        NAV-04138664       NAV-05551594
NAV-05526039      NAV-05535624        NAV-04138675       NAV-05551617
NAV-05526762      NAV-05535731        NAV-04138692       NAV-05551714
NAV-05526883      NAV-05537070        NAV-04138696       NAV-05551791
NAV-05526961      NAV-05537072        NAV-04138700       NAV-05552000
NAV-05527305      NAV-05537239        NAV-04138712       NAV-05552004
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 61 of 73



NAV-05552043      NAV-04142565        NAV-05570276       NAV-05576479
NAV-05552060      NAV-04142578        NAV-05570549       NAV-05576487
NAV-05552061      NAV-04142605        NAV-05570563       NAV-05576698
NAV-05552088      NAV-04142628        NAV-05571146       NAV-05576805
NAV-05552633      NAV-04142649        NAV-05571284       NAV-05577389
NAV-04139746      NAV-04142656        NAV-04143852       NAV-05577712
NAV-04139753      NAV-05561108        NAV-04144045       NAV-05577808
NAV-05552840      NAV-05561257        NAV-04144049       NAV-05577986
NAV-05552847      NAV-05561349        NAV-04144055       NAV-05578549
NAV-05552848      NAV-05561374        NAV-04144059       NAV-05579014
NAV-05552849      NAV-05561394        NAV-05572180       NAV-05579085
NAV-05553373      NAV-05561402        NAV-05572205       NAV-04144357
NAV-05553399      NAV-04143001        NAV-05572213       NAV-05579534
NAV-05553412      NAV-04143005        NAV-05572219       NAV-05579536
NAV-04140211      NAV-04143011        NAV-05572228       NAV-04144741
NAV-05553650      NAV-05565013        NAV-05572242       NAV-04144752
NAV-05553677      NAV-05565065        NAV-05572246       NAV-04144761
NAV-05553693      NAV-05565442        NAV-05572256       NAV-04144779
NAV-05554053      NAV-05565484        NAV-04144151       NAV-05579828
NAV-05554109      NAV-05566220        NAV-05572617       NAV-05580106
NAV-04140325      NAV-05566305        NAV-05572628       NAV-05580197
NAV-04140331      NAV-05566724        NAV-05572639       NAV-04145377
NAV-04140336      NAV-05566844        NAV-05572644       NAV-04145807
NAV-04140347      NAV-05566962        NAV-05572648       NAV-04145919
NAV-05554783      NAV-05567045        NAV-05572674       NAV-05580314
NAV-05555415      NAV-05567518        NAV-05572692       NAV-04146629
NAV-05555416      NAV-05567636        NAV-05572696       NAV-04146784
NAV-05555650      NAV-05567637        NAV-05572718       NAV-04146788
NAV-05558829      NAV-05567643        NAV-05572740       NAV-04146799
NAV-05558855      NAV-05568486        NAV-05572744       NAV-04146808
NAV-04140789      NAV-05568949        NAV-05572755       NAV-05582861
NAV-04140792      NAV-05568998        NAV-05572759       NAV-05583383
NAV-04140801      NAV-05569014        NAV-05572766       NAV-05583390
NAV-05559730      NAV-05569384        NAV-05572771       NAV-05583409
NAV-05560298      NAV-05569451        NAV-05572776       NAV-04147330
NAV-05560541      NAV-05569501        NAV-05572780       NAV-05584710
NAV-04142184      NAV-05569678        NAV-05572784       NAV-05584852
NAV-05560852      NAV-05570197        NAV-05575710       NAV-04147775
NAV-05560868      NAV-05570257        NAV-05575729       NAV-04147907
NAV-04142560      NAV-05570258        NAV-05575934       NAV-04147937
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 62 of 73



NAV-04147991      NAV-04151703        NAV-04152901       NAV-05603139
NAV-04147995      NAV-05588381        NAV-04152906       NAV-05603160
NAV-04148012      NAV-05588398        NAV-05602756       NAV-05603163
NAV-04148017      NAV-05588856        NAV-05602876       NAV-05603166
NAV-04148035      NAV-04151810        NAV-05602915       NAV-05603170
NAV-04148042      NAV-04151829        NAV-05602922       NAV-05603174
NAV-04148063      NAV-05589184        NAV-05602925       NAV-05603214
NAV-05584970      NAV-05589223        NAV-05602928       NAV-05603239
NAV-05584981      NAV-05589353        NAV-05602931       NAV-05603243
NAV-04148943      NAV-05589415        NAV-05602934       NAV-05603247
NAV-05586223      NAV-05589505        NAV-05602945       NAV-05603251
NAV-04148989      NAV-05589517        NAV-05602949       NAV-05603255
NAV-04148999      NAV-05589558        NAV-05602953       NAV-05603259
NAV-04149022      NAV-05589567        NAV-05602957       NAV-05603263
NAV-05586868      NAV-05589878        NAV-05602965       NAV-05603304
NAV-05586903      NAV-05590211        NAV-05602969       NAV-05603308
NAV-05587551      NAV-05590326        NAV-05602975       NAV-05603311
NAV-05587971      NAV-05590704        NAV-05602981       NAV-05603315
NAV-05588007      NAV-05591167        NAV-05602985       NAV-05603426
NAV-05588132      NAV-05591183        NAV-05602989       NAV-05603458
NAV-05588212      NAV-04152546        NAV-05602996       NAV-05603465
NAV-04150459      NAV-05596061        NAV-05603000       NAV-05603743
NAV-04150520      NAV-05596124        NAV-05603004       NAV-05603755
NAV-04150528      NAV-05596189        NAV-05603008       NAV-05603800
NAV-04150541      NAV-05596191        NAV-05603022       NAV-05604150
NAV-04150579      NAV-05596252        NAV-05603026       NAV-05604189
NAV-04150938      NAV-05598135        NAV-05603029       NAV-05604200
NAV-05588225      NAV-05598574        NAV-05603073       NAV-05604212
NAV-04151291      NAV-05598708        NAV-05603078       NAV-05604233
NAV-04151323      NAV-05598820        NAV-05603085       NAV-05605846
NAV-04151351      NAV-05598888        NAV-05603101       NAV-05605878
NAV-04151370      NAV-05598906        NAV-05603104       NAV-05605925
NAV-04151473      NAV-05598912        NAV-05603107       NAV-05606028
NAV-04151478      NAV-05598926        NAV-05603110       NAV-05606033
NAV-04151517      NAV-05602307        NAV-05603114       NAV-05606063
NAV-04151531      NAV-04152788        NAV-05603118       NAV-05606072
NAV-04151550      NAV-04152810        NAV-05603121       NAV-05606086
NAV-04151568      NAV-04152823        NAV-05603128       NAV-05606105
NAV-04151585      NAV-04152835        NAV-05603132       NAV-05606123
NAV-04151591      NAV-04152896        NAV-05603136       NAV-05606140
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 63 of 73



NAV-05606146      NAV-04155167        NAV-05618511       NAV-05618890
NAV-05606258      NAV-05614888        NAV-05618515       NAV-05618894
NAV-05607205      NAV-05614900        NAV-05618518       NAV-05618898
NAV-05607282      NAV-05614927        NAV-05618521       NAV-05618901
NAV-05607283      NAV-04155236        NAV-05618528       NAV-05618908
NAV-05607312      NAV-04155241        NAV-05618534       NAV-05618911
NAV-04153542      NAV-04155244        NAV-05618544       NAV-05618914
NAV-04153552      NAV-05615053        NAV-05618549       NAV-05618921
NAV-05607339      NAV-05615255        NAV-05618553       NAV-05619045
NAV-05607388      NAV-05615280        NAV-05618557       NAV-05619055
NAV-05607533      NAV-05615380        NAV-05618582       NAV-05619120
NAV-05607774      NAV-04155268        NAV-05618587       NAV-05619402
NAV-05608032      NAV-05618064        NAV-05618594       NAV-05619417
NAV-05608069      NAV-04155385        NAV-05618602       NAV-05619710
NAV-05608105      NAV-05618321        NAV-05618606       NAV-05620823
NAV-05608270      NAV-05618327        NAV-05618636       NAV-05620829
NAV-05608368      NAV-05618338        NAV-05618645       NAV-05620953
NAV-05608373      NAV-05618343        NAV-05618648       NAV-04155640
NAV-04153847      NAV-05618347        NAV-05618662       NAV-05621073
NAV-04153854      NAV-05618350        NAV-05618665       NAV-05621086
NAV-04153858      NAV-05618353        NAV-05618682       NAV-05621166
NAV-04153904      NAV-05618358        NAV-05618685       NAV-05621228
NAV-04153909      NAV-05618362        NAV-05618702       NAV-04157370
NAV-04153912      NAV-05618371        NAV-05618715       NAV-04157378
NAV-04153931      NAV-05618382        NAV-05618726       NAV-05621326
NAV-05608612      NAV-05618385        NAV-05618732       NAV-05621414
NAV-05608683      NAV-05618391        NAV-05618753       NAV-05621605
NAV-05609287      NAV-05618407        NAV-05618780       NAV-04157438
NAV-05609424      NAV-05618421        NAV-05618790       NAV-04157461
NAV-04154716      NAV-05618425        NAV-05618801       NAV-05622518
NAV-04154743      NAV-05618428        NAV-05618805       NAV-05622581
NAV-04154746      NAV-05618432        NAV-05618809       NAV-05622628
NAV-04154803      NAV-05618435        NAV-05618813       NAV-05622641
NAV-04154809      NAV-05618443        NAV-05618840       NAV-05622656
NAV-05613889      NAV-05618447        NAV-05618844       NAV-05622714
NAV-05613898      NAV-05618451        NAV-05618851       NAV-04160261
NAV-05613993      NAV-05618472        NAV-05618866       NAV-05625407
NAV-05614041      NAV-05618476        NAV-05618878       NAV-05628050
NAV-05614099      NAV-05618480        NAV-05618882       NAV-05628053
NAV-05614158      NAV-05618491        NAV-05618886       NAV-05628092
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 64 of 73



NAV-05628299      NAV-05637586        NAV-05646504       NAV-05651281
NAV-05628329      NAV-05637852        NAV-05646583       NAV-05651286
NAV-04160412      NAV-05637943        NAV-05646662       NAV-05651489
NAV-05630076      NAV-05638112        NAV-05646754       NAV-05651510
NAV-05630084      NAV-05638140        NAV-05646815       NAV-05651517
NAV-05630102      NAV-05638142        NAV-05646878       NAV-05651520
NAV-05630201      NAV-05641306        NAV-05646985       NAV-05651533
NAV-05630643      NAV-05641370        NAV-05647069       NAV-05651536
NAV-04160470      NAV-05641371        NAV-05647172       NAV-05651539
NAV-04160476      NAV-05641404        NAV-05647256       NAV-05651542
NAV-05633639      NAV-05641487        NAV-05647338       NAV-05651614
NAV-05633663      NAV-05642020        NAV-05647443       NAV-04191129
NAV-04160573      NAV-05642099        NAV-05647450       NAV-05651679
NAV-05633826      NAV-05642320        NAV-05647536       NAV-04194459
NAV-05633956      NAV-05642512        NAV-05647647       NAV-04195124
NAV-05633972      NAV-05642606        NAV-05647752       NAV-04195229
NAV-05634139      NAV-05642683        NAV-05647838       NAV-05653164
NAV-05634147      NAV-05642727        NAV-04179667       NAV-05657514
NAV-05634243      NAV-05642748        NAV-05647943       NAV-05657704
NAV-05634474      NAV-05642853        NAV-04182718       NAV-05657782
NAV-05634492      NAV-05643111        NAV-04185730       NAV-05658011
NAV-05634580      NAV-05643141        NAV-05648132       NAV-05658096
NAV-05634673      NAV-05643269        NAV-05648318       NAV-04196514
NAV-05634911      NAV-04176115        NAV-04186428       NAV-04196545
NAV-05635121      NAV-05643646        NAV-04187093       NAV-04196646
NAV-05635157      NAV-05643723        NAV-04187753       NAV-04196714
NAV-05635202      NAV-05643898        NAV-05648422       NAV-04196719
NAV-05635496      NAV-05643963        NAV-05648612       NAV-04196723
NAV-05635669      NAV-05644035        NAV-05648695       NAV-04196771
NAV-05635727      NAV-05644114        NAV-05648802       NAV-04196774
NAV-05636037      NAV-05644822        NAV-05648903       NAV-04196846
NAV-04168963      NAV-05644906        NAV-05649072       NAV-04196918
NAV-05636574      NAV-05644988        NAV-05649104       NAV-04196920
NAV-05636909      NAV-05645048        NAV-04189935       NAV-04196989
NAV-05636917      NAV-05645301        NAV-05649471       NAV-04197008
NAV-05637178      NAV-05645796        NAV-05649665       NAV-04197027
NAV-05637197      NAV-05645810        NAV-04190913       NAV-04197726
NAV-05637208      NAV-05645902        NAV-05650156       NAV-04197729
NAV-05637426      NAV-05646356        NAV-05650842       NAV-04197759
NAV-05637505      NAV-05646412        NAV-05650885       NAV-04197809
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 65 of 73



NAV-04197894      NAV-04203444        NAV-04208620       NAV-04212452
NAV-04197978      NAV-04203475        NAV-04209313       NAV-04212460
NAV-04198090      NAV-04203485        NAV-05666089       NAV-04212479
NAV-04198211      NAV-04203528        NAV-05666275       NAV-05667187
NAV-04198394      NAV-04203541        NAV-05666425       NAV-05667329
NAV-05658970      NAV-04203551        NAV-04209454       NAV-05667676
NAV-05659275      NAV-04203609        NAV-04209460       NAV-05667794
NAV-05659347      NAV-04203630        NAV-04209467       NAV-05668470
NAV-05659460      NAV-04203641        NAV-04209754       NAV-05668760
NAV-05659491      NAV-04203670        NAV-04209758       NAV-04212752
NAV-04199706      NAV-04203698        NAV-04209761       NAV-04212760
NAV-04199797      NAV-05662977        NAV-04210783       NAV-04212792
NAV-04199902      NAV-04204373        NAV-04210946       NAV-04212804
NAV-04200478      NAV-04204377        NAV-04211120       NAV-04212821
NAV-04201691      NAV-04204384        NAV-04211130       NAV-04212826
NAV-04201893      NAV-04205162        NAV-04211177       NAV-04212870
NAV-04201897      NAV-04205194        NAV-04211187       NAV-04212889
NAV-04201933      NAV-04205222        NAV-04211406       NAV-04212912
NAV-04201977      NAV-04205241        NAV-04211501       NAV-04212934
NAV-04202021      NAV-04205344        NAV-04211504       NAV-04212974
NAV-04202028      NAV-04205349        NAV-04211527       NAV-04213147
NAV-04202055      NAV-04205388        NAV-04211565       NAV-04213152
NAV-04202108      NAV-04205421        NAV-04211585       NAV-04213168
NAV-04202167      NAV-04205439        NAV-04211623       NAV-04213173
NAV-04202173      NAV-04205456        NAV-04211626       NAV-04213217
NAV-04202195      NAV-04205462        NAV-04211650       NAV-04213222
NAV-04202198      NAV-04205574        NAV-04211730       NAV-04213234
NAV-04202210      NAV-04205657        NAV-04211737       NAV-05669190
NAV-04202228      NAV-04205784        NAV-04211788       NAV-04213645
NAV-04202242      NAV-04205880        NAV-04211931       NAV-04214013
NAV-04202505      NAV-04205954        NAV-04212145       NAV-04214116
NAV-04202529      NAV-05663916        NAV-04212188       NAV-05669625
NAV-05659561      NAV-05664567        NAV-04212237       NAV-05669883
NAV-04202633      NAV-05665171        NAV-04212277       NAV-05670134
NAV-04203051      NAV-05665537        NAV-04212328       NAV-05670938
NAV-04203336      NAV-05665815        NAV-04212348       NAV-05671422
NAV-04203348      NAV-05665977        NAV-04212351       NAV-04214630
NAV-04203376      NAV-04206947        NAV-04212357       NAV-04214708
NAV-04203408      NAV-04207579        NAV-04212369       NAV-05671634
NAV-04203433      NAV-04208617        NAV-04212436       NAV-05671927
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 66 of 73



NAV-05672003      NAV-05679462        NAV-04224004       NAV-04235540
NAV-04215095      NAV-05679524        NAV-05682184       NAV-04235620
NAV-04215185      NAV-05679977        NAV-04224264       NAV-04236289
NAV-04215318      NAV-05680064        NAV-04225608       NAV-04236746
NAV-05674077      NAV-05680214        NAV-04225746       NAV-05683205
NAV-05674141      NAV-05680221        NAV-04225878       NAV-05683235
NAV-05674933      NAV-05680334        NAV-04226007       NAV-05683346
NAV-05674941      NAV-05680338        NAV-04226684       NAV-04241520
NAV-05675417      NAV-05680341        NAV-04226697       NAV-04241571
NAV-05675593      NAV-04220777        NAV-04226718       NAV-04242037
NAV-05676423      NAV-05681336        NAV-04226725       NAV-04243613
NAV-05676878      NAV-05681345        NAV-04227137       NAV-04243641
NAV-05677563      NAV-05681700        NAV-04227149       NAV-04243667
NAV-05677578      NAV-05681779        NAV-04227220       NAV-04243695
NAV-05677581      NAV-04221479        NAV-04227225       NAV-04243723
NAV-05677585      NAV-04221505        NAV-04227231       NAV-04243749
NAV-05677732      NAV-04221511        NAV-04227251       NAV-04243787
NAV-05677787      NAV-04221620        NAV-04227257       NAV-04243912
NAV-05677838      NAV-04221626        NAV-04227516       NAV-04244397
NAV-05677970      NAV-04221703        NAV-04228556       NAV-04244833
NAV-05677973      NAV-04221710        NAV-04228561       NAV-04244932
NAV-05678045      NAV-04221731        NAV-04228567       NAV-04245020
NAV-05678179      NAV-04221735        NAV-04228585       NAV-04245974
NAV-05678199      NAV-04221781        NAV-04228588       NAV-04246002
NAV-05678253      NAV-04221783        NAV-04228593       NAV-04246047
NAV-05678274      NAV-05682043        NAV-04228598       NAV-04246095
NAV-05678292      NAV-04222746        NAV-04228607       NAV-04246170
NAV-05678461      NAV-04222750        NAV-04228749       NAV-04246253
NAV-05678724      NAV-04222752        NAV-04229148       NAV-04246388
NAV-05678890      NAV-04222753        NAV-04229156       NAV-04246457
NAV-05678894      NAV-04222755        NAV-04229183       NAV-04246735
NAV-05678896      NAV-04222960        NAV-04229531       NAV-04246879
NAV-05678970      NAV-04223044        NAV-04229717       NAV-04246891
NAV-05678981      NAV-04223046        NAV-05682704       NAV-04246907
NAV-05678993      NAV-04223233        NAV-05682946       NAV-04246912
NAV-04218496      NAV-04223713        NAV-04231729       NAV-04247296
NAV-04220241      NAV-04223763        NAV-05683127       NAV-04247315
NAV-05679411      NAV-04223764        NAV-04232060       NAV-04247415
NAV-05679420      NAV-04223810        NAV-04232382       NAV-04247429
NAV-05679455      NAV-04223818        NAV-04232610       NAV-04247452
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 67 of 73



NAV-04247468      NAV-04250124        NAV-04253530       NAV-05685482
NAV-04247515      NAV-04250135        NAV-04253541       NAV-04263592
NAV-04247640      NAV-04250141        NAV-04253554       NAV-04263624
NAV-04247641      NAV-04250155        NAV-04253574       NAV-04263630
NAV-04247958      NAV-04250160        NAV-04253770       NAV-04263655
NAV-04248834      NAV-04250171        NAV-04253795       NAV-04263977
NAV-04248935      NAV-04250187        NAV-04253804       NAV-04263993
NAV-04248965      NAV-04250216        NAV-04253842       NAV-04264117
NAV-04248970      NAV-04250247        NAV-04253847       NAV-04264136
NAV-04249125      NAV-04250385        NAV-04253853       NAV-04264146
NAV-04249339      NAV-04250390        NAV-04253917       NAV-04265186
NAV-04249347      NAV-04250502        NAV-04253928       NAV-04265220
NAV-04249482      NAV-04250545        NAV-04254893       NAV-04265552
NAV-04249537      NAV-04250572        NAV-04254895       NAV-04265577
NAV-04249578      NAV-04250577        NAV-04254983       NAV-04265906
NAV-04249613      NAV-04250602        NAV-04255019       NAV-05685737
NAV-04249648      NAV-04250627        NAV-04255042       NAV-04266356
NAV-04249656      NAV-04250636        NAV-04255055       NAV-04266392
NAV-04249700      NAV-04250658        NAV-04255475       NAV-04266454
NAV-04249710      NAV-04250685        NAV-04255483       NAV-04266468
NAV-04249720      NAV-04250696        NAV-04255489       NAV-04266512
NAV-04249807      NAV-04250698        NAV-04255779       NAV-04266552
NAV-04249834      NAV-04251075        NAV-04256534       NAV-04267161
NAV-04249839      NAV-04251626        NAV-04256854       NAV-04267272
NAV-04249856      NAV-04251634        NAV-04257607       NAV-04267276
NAV-04249870      NAV-04251640        NAV-04257726       NAV-04267285
NAV-04249875      NAV-04251743        NAV-04258536       NAV-04267292
NAV-04249886      NAV-04252579        NAV-04259037       NAV-04267303
NAV-04249892      NAV-04252751        NAV-04259274       NAV-04267320
NAV-04249903      NAV-04252781        NAV-04260995       NAV-04267329
NAV-04249923      NAV-04252804        NAV-04261059       NAV-04267382
NAV-04249932      NAV-04252835        NAV-04261346       NAV-04267386
NAV-04249948      NAV-04252870        NAV-04261511       NAV-04267390
NAV-04249950      NAV-04252898        NAV-04261897       NAV-04267394
NAV-04249958      NAV-04252949        NAV-04263012       NAV-04267398
NAV-04249962      NAV-04253014        NAV-04263122       NAV-04267414
NAV-04249976      NAV-04253019        NAV-04263182       NAV-04267420
NAV-04249995      NAV-04253221        NAV-04263490       NAV-04267428
NAV-04250092      NAV-04253338        NAV-05685457       NAV-04267438
NAV-04250119      NAV-04253397        NAV-05685476       NAV-04267447
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 68 of 73



NAV-04267464      NAV-04267808        NAV-04272913       NAV-04283885
NAV-04267467      NAV-04267811        NAV-04272936       NAV-04283910
NAV-04267471      NAV-04267837        NAV-04272954       NAV-05691928
NAV-04267477      NAV-04267852        NAV-04273062       NAV-04283989
NAV-04267487      NAV-04267855        NAV-04273090       NAV-04284019
NAV-04267491      NAV-04267859        NAV-04273898       NAV-04284072
NAV-04267547      NAV-04267863        NAV-04273923       NAV-04284253
NAV-04267553      NAV-04267895        NAV-04273981       NAV-04285036
NAV-04267564      NAV-04267924        NAV-04274086       NAV-04285354
NAV-04267568      NAV-05686315        NAV-05690808       NAV-04287065
NAV-04267572      NAV-05686341        NAV-04274857       NAV-04287588
NAV-04267576      NAV-05686349        NAV-04275084       NAV-04287622
NAV-04267581      NAV-05687800        NAV-04275145       NAV-05692103
NAV-05686151      NAV-05687949        NAV-04275336       NAV-05692140
NAV-05686162      NAV-05687957        NAV-04275461       NAV-05692158
NAV-05686182      NAV-05688112        NAV-04275634       NAV-04288880
NAV-04267588      NAV-05688121        NAV-04275874       NAV-04289682
NAV-04267615      NAV-05688445        NAV-04277043       NAV-04289686
NAV-04267629      NAV-05689359        NAV-05691005       NAV-05692350
NAV-04267633      NAV-05689423        NAV-04277632       NAV-04289737
NAV-04267640      NAV-05689704        NAV-04278001       NAV-04289742
NAV-04267649      NAV-05689712        NAV-04278159       NAV-04289781
NAV-04267656      NAV-05689728        NAV-05691261       NAV-04289784
NAV-04267666      NAV-05689758        NAV-04278248       NAV-04289834
NAV-04267677      NAV-04269348        NAV-04278750       NAV-04289837
NAV-04267684      NAV-04269924        NAV-05691484       NAV-04289848
NAV-04267706      NAV-04269995        NAV-05691654       NAV-04289902
NAV-04267713      NAV-04270092        NAV-04282375       NAV-04289938
NAV-04267717      NAV-05690335        NAV-05691717       NAV-04289969
NAV-04267726      NAV-05690430        NAV-04282974       NAV-04290084
NAV-04267737      NAV-05690462        NAV-04283171       NAV-04290086
NAV-04267741      NAV-05690480        NAV-04283387       NAV-04290094
NAV-04267762      NAV-04270560        NAV-04283630       NAV-04290098
NAV-04267767      NAV-04270766        NAV-04283660       NAV-04290103
NAV-04267770      NAV-04271675        NAV-04283683       NAV-04290430
NAV-04267774      NAV-04271692        NAV-04283716       NAV-04290570
NAV-04267777      NAV-04272139        NAV-04283744       NAV-04290655
NAV-04267780      NAV-04272143        NAV-04283799       NAV-04290768
NAV-04267789      NAV-04272376        NAV-04283831       NAV-04290976
NAV-04267793      NAV-04272636        NAV-04283860       NAV-04291693
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 69 of 73



NAV-04291704      NAV-05693619        NAV-04316014       NAV-04319105
NAV-04291756      NAV-05693622        NAV-04316137       NAV-04319122
NAV-04291795      NAV-05693625        NAV-04316635       NAV-05698045
NAV-04291825      NAV-05693627        NAV-04316761       NAV-05698094
NAV-04292316      NAV-04308280        NAV-04316849       NAV-05698207
NAV-04292327      NAV-04308296        NAV-04317004       NAV-05698238
NAV-04292380      NAV-04308326        NAV-04317006       NAV-04321311
NAV-04292385      NAV-05693857        NAV-04317510       NAV-04321506
NAV-04292435      NAV-04311823        NAV-04317628       NAV-04322209
NAV-04292437      NAV-04311824        NAV-05694967       NAV-04322366
NAV-04292455      NAV-04311827        NAV-05695013       NAV-05698295
NAV-04292472      NAV-04311840        NAV-05695019       NAV-05698377
NAV-04292606      NAV-04312180        NAV-04317767       NAV-05698380
NAV-04292614      NAV-04312279        NAV-04318164       NAV-05698748
NAV-04292621      NAV-05694551        NAV-04318171       NAV-05698762
NAV-04292822      NAV-05694563        NAV-04318873       NAV-05698774
NAV-04292840      NAV-05694569        NAV-04318907       NAV-05699129
NAV-04293292      NAV-05694584        NAV-04318915       NAV-04322691
NAV-04293749      NAV-05694684        NAV-05695036       NAV-04322718
NAV-04293893      NAV-05694718        NAV-05695124       NAV-04322877
NAV-04294011      NAV-04314462        NAV-05695233       NAV-05699850
NAV-04294052      NAV-04314470        NAV-05695312       NAV-04322951
NAV-04294280      NAV-04314477        NAV-05695334       NAV-04322961
NAV-04294282      NAV-04314487        NAV-05695543       NAV-04322970
NAV-04294392      NAV-04314489        NAV-05695691       NAV-04322981
NAV-04294476      NAV-04314576        NAV-05695839       NAV-04322991
NAV-04294482      NAV-04314661        NAV-05696063       NAV-04322999
NAV-04294501      NAV-04315458        NAV-05696084       NAV-04323243
NAV-04294589      NAV-04315525        NAV-05696104       NAV-04323282
NAV-04294594      NAV-05694748        NAV-05696400       NAV-04323332
NAV-04295339      NAV-05694807        NAV-05696502       NAV-05700204
NAV-04299637      NAV-05694816        NAV-05696504       NAV-05700207
NAV-04301054      NAV-05694826        NAV-05696639       NAV-04323539
NAV-05693090      NAV-05694928        NAV-05696802       NAV-04323578
NAV-05693095      NAV-04315858        NAV-05696811       NAV-04323584
NAV-04302823      NAV-04315866        NAV-05696814       NAV-04323594
NAV-04303010      NAV-04315877        NAV-05696919       NAV-04323603
NAV-04304527      NAV-04315888        NAV-05697143       NAV-04323614
NAV-04307151      NAV-04315897        NAV-05697170       NAV-04323624
NAV-05693585      NAV-04315907        NAV-05697193       NAV-04323632
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 70 of 73



NAV-04323643      NAV-04328173        NAV-04332883       NAV-04344929
NAV-04323849      NAV-04328336        NAV-05703359       NAV-05709804
NAV-05700280      NAV-04328355        NAV-05703410       NAV-05710001
NAV-05700353      NAV-04328686        NAV-05703431       NAV-05710009
NAV-05700924      NAV-04329141        NAV-05703486       NAV-05710070
NAV-05701095      NAV-05702379        NAV-04333158       NAV-05710487
NAV-05701135      NAV-05702462        NAV-04333591       NAV-05710509
NAV-05701161      NAV-05702957        NAV-04333934       NAV-05711076
NAV-05701216      NAV-05703000        NAV-04334208       NAV-05711089
NAV-05701345      NAV-05703004        NAV-04334266       NAV-05714378
NAV-05701407      NAV-04329443        NAV-04334454       NAV-05715605
NAV-04324216      NAV-04329553        NAV-04337849       NAV-05717845
NAV-04324305      NAV-04329555        NAV-04337858       NAV-05724303
NAV-04324585      NAV-04329557        NAV-04337871       NAV-05726627
NAV-04324593      NAV-04329560        NAV-04337882       NAV-05727111
NAV-04324789      NAV-04329562        NAV-04337890       NAV-05727129
NAV-04324793      NAV-04329791        NAV-04337898       NAV-05730413
NAV-05701846      NAV-04329794        NAV-04338133       NAV-05730918
NAV-04325504      NAV-04329899        NAV-04338296       NAV-05731012
NAV-04325652      NAV-04329932        NAV-04338805       NAV-05732574
NAV-04325664      NAV-04330350        NAV-04339505       NAV-05732645
NAV-04325820      NAV-04330696        NAV-04339641       NAV-05732653
NAV-04326018      NAV-04330871        NAV-04340593       NAV-05732974
NAV-04326050      NAV-04330893        NAV-04340606       NAV-05733320
NAV-04326078      NAV-04331108        NAV-04342174       NAV-05733693
NAV-04326097      NAV-04331110        NAV-04342513       NAV-05734476
NAV-04326200      NAV-04331813        NAV-04342528       NAV-05734984
NAV-04326205      NAV-04331844        NAV-04343108       NAV-05735008
NAV-04326235      NAV-04331926        NAV-04344125       NAV-05735894
NAV-04326244      NAV-04332001        NAV-04344224       NAV-05736711
NAV-04326258      NAV-04332196        NAV-04344228       NAV-05739544
NAV-04326277      NAV-04332211        NAV-04344292       NAV-05740220
NAV-04326289      NAV-04332352        NAV-04344428       NAV-05740300
NAV-04326306      NAV-04332395        NAV-04344432       NAV-05740848
NAV-04326312      NAV-04332406        NAV-04344435       NAV-05741929
NAV-04326432      NAV-04332431        NAV-04344456       NAV-05742657
NAV-04326589      NAV-04332532        NAV-04344681       NAV-05742872
NAV-04327051      NAV-04332595        NAV-04344699       NAV-05743966
NAV-04327262      NAV-04332756        NAV-04344702       NAV-05746578
NAV-04327608      NAV-04332763        NAV-04344819       NAV-05746775
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 71 of 73



NAV-05746932      NAV-05757796        NAV-05773874       NAV-05789488
NAV-05746945      NAV-05757804        NAV-05773934       NAV-05789505
NAV-05747428      NAV-05757878        NAV-05773943       NAV-05789537
NAV-05747797      NAV-05758545        NAV-05773960       NAV-05789568
NAV-05747903      NAV-05758770        NAV-05774009       NAV-05789603
NAV-05747911      NAV-05758810        NAV-05774505       NAV-05789619
NAV-05747920      NAV-05758864        NAV-05774817       NAV-05789620
NAV-05747931      NAV-05759541        NAV-05775637       NAV-05789621
NAV-05747936      NAV-05760053        NAV-05779305       NAV-05789634
NAV-05747983      NAV-05760057        NAV-05779307       NAV-05789642
NAV-05748289      NAV-05760613        NAV-05781770       NAV-05789644
NAV-05748324      NAV-05760941        NAV-05781771       NAV-05789655
NAV-05748663      NAV-05761002        NAV-05781784       NAV-05789759
NAV-05749357      NAV-05761356        NAV-05782436       NAV-05790577
NAV-05749954      NAV-05761358        NAV-05782442       NAV-05790848
NAV-05750839      NAV-05761917        NAV-05782680       NAV-05790935
NAV-05750903      NAV-05763370        NAV-05782700       NAV-05790940
NAV-05750906      NAV-05763410        NAV-05782707       NAV-05791091
NAV-05750937      NAV-05763637        NAV-05783074       NAV-05791136
NAV-05750941      NAV-05763742        NAV-05783545       NAV-05791853
NAV-05752977      NAV-05763748        NAV-05785073       NAV-05792129
NAV-05752995      NAV-05763786        NAV-05785227       NAV-05792618
NAV-05753354      NAV-05764081        NAV-05785396       NAV-05792806
NAV-05753716      NAV-05764570        NAV-05785556       NAV-05793140
NAV-05754116      NAV-05764946        NAV-05785759       NAV-05793171
NAV-05754639      NAV-05764985        NAV-05785909       NAV-05793180
NAV-05754642      NAV-05767429        NAV-05786068       NAV-05793198
NAV-05754904      NAV-05768635        NAV-05786094       NAV-05793640
NAV-05755023      NAV-05769012        NAV-05786142       NAV-05797552
NAV-05755510      NAV-05769083        NAV-05786682       NAV-05797989
NAV-05755727      NAV-05769312        NAV-05786744       NAV-05797998
NAV-05756437      NAV-05769564        NAV-05788353       NAV-05798077
NAV-05756576      NAV-05769569        NAV-05788374       NAV-05798140
NAV-05757053      NAV-05769579        NAV-05788394       NAV-05798222
NAV-05757084      NAV-05771015        NAV-05788408       NAV-05798278
NAV-05757096      NAV-05771797        NAV-05789028       NAV-05798441
NAV-05757182      NAV-05772022        NAV-05789078       NAV-05798449
NAV-05757191      NAV-05772057        NAV-05789177       NAV-05798495
NAV-05757260      NAV-05772071        NAV-05789254       NAV-05798530
NAV-05757779      NAV-05773599        NAV-05789442       NAV-05798839
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 72 of 73



NAV-05798845      NAV-05806053        NAV-05816610       NAV-05822954
NAV-05799108      NAV-05806073        NAV-05818009       NAV-05823338
NAV-05799159      NAV-05806078        NAV-05818026       NAV-05823579
NAV-05799185      NAV-05806228        NAV-05818044       NAV-05823814
NAV-05799416      NAV-05806237        NAV-05818058       NAV-05824048
NAV-05799421      NAV-05806449        NAV-05818326       NAV-05824282
NAV-05799495      NAV-05806677        NAV-05818338       NAV-05824516
NAV-05799760      NAV-05806692        NAV-05818342       NAV-05824750
NAV-05799840      NAV-05806717        NAV-05818552       NAV-05825423
NAV-05799846      NAV-05806736        NAV-05818559       NAV-05825427
NAV-05800992      NAV-05807517        NAV-05818569       NAV-05825431
NAV-05801019      NAV-05807538        NAV-05818586       NAV-05825595
NAV-05801023      NAV-05807557        NAV-05818713       NAV-05825598
NAV-05801087      NAV-05807974        NAV-05818754       NAV-05825631
NAV-05801215      NAV-05807981        NAV-05818832       NAV-05825670
NAV-05801843      NAV-05808541        NAV-05818849       NAV-05826690
NAV-05801861      NAV-05808986        NAV-05819166       NAV-05827681
NAV-05801866      NAV-05809011        NAV-05820295       NAV-05827994
NAV-05801872      NAV-05809561        NAV-05820338       NAV-05828438
NAV-05801896      NAV-05809689        NAV-05820982       NAV-05828727
NAV-05802158      NAV-05809715        NAV-05821358       NAV-05829610
NAV-05803436      NAV-05809901        NAV-05821579       NAV-05829668
NAV-05803519      NAV-05811907        NAV-05822165       NAV-05829691
NAV-05803582      NAV-05812359        NAV-05822183       NAV-05829692
NAV-05803590      NAV-05812654        NAV-05822188       NAV-05829708
NAV-05803594      NAV-05812663        NAV-05822191       NAV-05830091
NAV-05803613      NAV-05812898        NAV-05822198       NAV-05830103
NAV-05803900      NAV-05813132        NAV-05822203       NAV-05830108
NAV-05804121      NAV-05813366        NAV-05822215       NAV-05830115
NAV-05804290      NAV-05813600        NAV-05822220       NAV-05830122
NAV-05804968      NAV-05813834        NAV-05822226       NAV-05830124
NAV-05804978      NAV-05814336        NAV-05822233       NAV-05830543
NAV-05805131      NAV-05816026        NAV-05822236       NAV-05830576
NAV-05805159      NAV-05816036        NAV-05822241       NAV-05830593
NAV-05805276      NAV-05816520        NAV-05822248       NAV-05830620
NAV-05805395      NAV-05816528        NAV-05822253       NAV-05830641
NAV-05805458      NAV-05816532        NAV-05822256       NAV-05830648
NAV-05805698      NAV-05816539        NAV-05822281       NAV-05830652
NAV-05805734      NAV-05816563        NAV-05822370       NAV-05830664
NAV-05805936      NAV-05816573        NAV-05822409       NAV-05830670
   Case 3:17-cv-00101-RDM Document 236-1 Filed 02/26/19 Page 73 of 73



NAV-05830678
NAV-05830681
NAV-05830687
NAV-05830704
NAV-05830709
NAV-05830715
NAV-05830725
NAV-05830728
NAV-05830736
NAV-05830746
NAV-05830751
NAV-05830763
NAV-05830769
NAV-05830786
NAV-05830795
NAV-05830799
NAV-05830801
NAV-05830822
NAV-05830824
NAV-05830841
NAV-05831045
NAV-05831509
NAV-05831764
NAV-05832002
NAV-05832176
NAV-05832304
NAV-05845468
NAV-05845594
NAV-05845662
NAV-05845835
NAV-05850055
NAV-05850129
NAV-05850707
NAV-05851161
NAV-05851331
NAV-05851333
NAV-05852427
NAV-05853336
NAV-05853339
